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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

RICKEY DONNELL CUMMINGS,                         §
                                                 §
                 Petitioner,                     §
                                                 §
v.                                               § CAUSE NO. 6:18-cv-00125-ADA
                                                 §
LORIE DAVIS, Director, Texas Department          §
of Criminal Justice, Correctional Institutions   § CASE INVOLVING THE DEATH
Division,                                        § PENALTY
                                                 §
                 Respondent.                     §

                        PETITION FOR WRIT OF HABEAS CORPUS
                          BY A PRISONER IN STATE CUSTODY
                             PURSUANT TO 28 U.S.C. § 2254



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                               INTRODUCTORY STATEMENT

       The evidence that Rickey Donnell Cummings murdered Keenan Hubert and Tyus Sneed,

derived from rumor and circumstance, was always paper-thin. Cummings carried a gun, but the

ballistics evidence did not link him to the shooting. Cummings was in the housing complex the

night of the murders, but no one identified him as a shooter. The State eked out its conviction and

death sentence using three categories of evidence: (1) inculpatory text messages about destroying

evidence and finding alibis; (2) pictures and testimony suggesting the murders were motivated by

gang affiliation and revenge; and (3) testimony from witnesses who saw Cummings at the

apartment complex before and after the shooting. As it turns out, and as this Petition shows,

Cummings did not send the most incriminating text messages, the prosecution falsely characterized

him a gang member (Bloods) in order to amplify the cultural gulf between an all-white jury and a

black defendant, and law enforcement induced false testimony from its witnesses. No reasonable

jury would convict Cummings today.

       The evidence that the jury heard bore little relationship to reality because prosecutorial

misconduct and deficient defense representation degraded the truth-finding function of the

criminal trial. Among other things, prosecutors used unlawful grand jury proceedings to harass

and threaten witnesses, and to spy on the defense team; prosecutors hid the fact that Cummings

did not write crucial text messages—and then told the jury he did; and prosecutors failed to disclose

major sources of bias affecting each of their two most important witnesses (one of whom has

recanted). Playing their own part in the wrongful conviction and sentence, defense counsel

inexplicably failed to move for suppression of the text messages, bungled its challenge to racially

discriminatory peremptory strikes, failed to follow multiple pieces of evidence pointing to alternate

suspects, and allowed the State to falsely portray the solidarity in East Waco’s black community

as evidence that Cummings was in a gang.


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       In some cases, when law enforcement cuts corners, it has little effect on the fairness and

reliability of the trial. In other cases, when the defense falls down on the job, there can still be

confidence that the outcome was just and accurate. Not here.

                             JURISDICTIONAL ALLEGATIONS

       Petitioner Cummings, by and through undersigned counsel, hereby petitions this Court to

issue a Writ of Habeas Corpus on the grounds that he is held in custody in violation of the

Constitution, laws, or treaties of the United States, and as specifically set forth herein. Cummings

is being held by Respondent Lorie Davis, Director of the Institutions Division of the Texas

Department of Criminal Justice. Respondent has custody of Cummings pursuant to the judgment

entered against him on November 13, 2008, in State of Texas v. Rickey Donnell Cummings, No.

2011-1513-C1 (Tex. 19th Dist. Ct.—McLennan County), which was affirmed on December 17,

2014. See Cummings v. State, No. AP-76,923, 2014 WL 12713256 (Tex. Crim. App. 2014). This

Court has jurisdiction pursuant to 28 U.S.C. §§ 2241, 2254, and venue is appropriate in the Western

District of Texas, Waco Division.




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                                   STATEMENT OF FACTS

       On March 28, 2011, in East Waco, Texas, Tyus Sneed and Keenan Hubert were killed, and

Deontrae Majors and Marion Bible were injured, when their car was ambushed by multiple

gunmen in the parking lot of the Lakewood Villas Apartments (“the Villas”). Neighborhood

rumors quickly generated a theory centering on Rickey Cummings and several accomplices, who

could have been seeking retaliation against Hubert for what Cummings believed to be Hubert’s

role in the murder of Cummings’ friend, Emuel Bowers, in April 2010. The official investigation

piggy-backed on that theory, and the police ultimately arrested five people: Rickey Cummings, his

younger brother D’Arvis Cummings, his older brother Tyrece Richards, Kennedy Hardaway, and

Albert Love. There were no eyewitnesses to the shooting, and there was no forensic evidence

connecting Cummings to the crime. The State eventually dismissed the charges against Richards

and Hardaway.

I.     TRIAL

       Cummings was arrested on April 1, 2011. On April 2, the trial court appointed Russell

Hunt, Sr. and Walter Reeves, Jr. to represent him. 1 CR 15. Michelle Tuegel, a recent law school

graduate and newly licensed attorney, later joined the defense team as Hunt’s associate. 5 WRR

132-33. Hunt and Reeves eventually rounded out the defense team by hiring cell phone expert

Michael O’Kelley and investigator Ed McElyea, upon whom the lawyers relied heavily. 1 CR 58;

1 CR 16-18.

       On June 29, 2011, a grand jury indicted Cummings for the capital murders of Hubert and

Sneed. 1 CR 9. On July 22, Cummings was arraigned and entered a plea of not guilty, 1 CR 21,

and the State announced its intent to seek the death penalty on November 10. 3 RR4.

       Unbeknownst to Cummings, starting on January 12, 2012, and continuing throughout the

calendar year, the prosecution haled various witnesses before a grand jury. See e.g., In the Interest


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Shacira Love (Grand Jury of McLennan County. Jan. 18, 2012); In the Interest of Richard Thomas

(Grand Jury of McLennan County. Jan. 18, 2012); In the Matter of Takelia Love (Grand Jury of

McLennan County. Aug. 17, 2012); In the Matter of Sheronica Patterson (Grand Jury of

McLennan County. Aug. 17, 2012); In the Interest of Jasmine Davison (Grand Jury of McLennan

County. Sept. 5, 2012). These witnesses were not questioned for the purposes of charging anyone,

but instead so that the prosecution could extract helpful information for trial, seek information

about the defense team’s preparation, and issue threats for communicating with the defense.

       Voir dire in the Cummings case commenced on July 20, 2012, and concluded on August

29. 9 RR 5 to 28 RR 124. The State obtained an all-white jury by exercising peremptory strikes on

every black panelist who the defense did not agree to dismiss.

       A.      Guilt Phase

       The guilt phase of the trial began on October 22, 2012 and concluded on November 2. The

State advanced its Bowers-retaliation theory by presenting various witnesses to establish that

Bowers had been shot and killed on April 8, 2010. 30 RR 61-75, 76-131. Prosecutors elicited

testimony showing that Bowers’ family was frustrated and angry that his homicide remained

unsolved almost a year later, and that some in the community believed Hubert was Bowers’ killer.

30 RR 134-51, 158-211. In its opening, the State emphasized that the Cummings’ retaliatory

motive explained the homicides, telling the jury that the close relationship between Cummings and

Bowers, combined with the fact that Cummings “held Keenan Hubert responsible,” drove

Cummings to “take justice into [his] own hands” when the investigation into Bowers’ murder

stalled. 30 RR 24, 28-29.

       The State showed that, on March 28, 2011, Bible, Hubert, Majors, and Sneed were parked

in a blue Mercury Grand Marquis in the Villas parking lot when they were ambushed from the rear

by gunfire. Majors and Bible escaped to safety in nearby Apartment 81, but Hubert and Sneed died


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in the car. 33 RR 104-19, 123-35. Hundreds of people converged on the crime scene, but there

were no eyewitnesses to the shooting. 30 RR 214-32; 31 RR 17-18, 46-47. In addition to the

damage from gunfire to the car itself, Apartment 81 had damage to an exterior wall and behind the

living room couch. (A projectile was recovered from the couch.) There was one unfired .45 caliber

cartridge recovered from the dining room floor (underneath a mop) in the apartment. 31 RR 32-

44, 258-59, 265, 289; 32 RR 33.

       Law enforcement also recovered various empty cartridge casings from around the vehicle

and surrounding areas, including casings from multiple pistol calibers, as well as automatic rifle

casings. 30 RR 231-32. The majority of the casings recovered were 7.62 x 39 caliber, which were

consistent with an AK-47 or SKS assault rifle. Law enforcement also found .40 caliber shell

casings and .38 caliber rounds, 30 RR 231-33; 31 RR 28, 238-50, 294, but recovered no weapons

from the scene, 31 RR 287. A .45 caliber pistol belonging to Cummings was recovered from the

car of his younger brother, D’Arvis Cummings, who was stopped by police shortly after the

shooting. 1 When Rickey Cummings was arrested three days later, police recovered a .40 caliber

Ruger pistol from his vehicle. 32 RR 143-65. After ballistic comparisons, neither the .45 caliber

pistol recovered from D’Arvis’ Cummings’ car nor the .40 caliber Ruger recovered from Ricky

Cummings’ car matched projectiles and casings at the crime scene. 32 RR 180, 184-86; 36 RR 45.

       Because there were no eyewitnesses who saw the shooting and because there was no

inculpatory physical evidence, the case against Rickey Cummings was built almost entirely around

(1) the implied revenge motive laced with innuendo about gang affiliations, (2) a set of text

messages attributed to Cummings that, as it turns out, he did not write, 2 and (3) inferences from



1
  D’Arvis Cummings was stopped because he drove a car of the same make and model as the one
involved in the shooting. 32 RR 55-61, 63, 70.
2
  See infra at Claims II, III, and IV.

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witnesses who saw Cummings at the Villas before and after the shooting. (Cummings’

grandmother and numerous friends lived at the complex, and he visited them regularly.) 31 RR

74-82, 95-109; 32 RR 208-17; 33 RR 14-16, 25-29, 30-36, 73-75; 34 RR 84-96.

               1.      The Gang-Revenge Narrative

       The prosecution developed a narrative in which Cummings, his alleged co-conspirators,

and Bowers were all part of a (non-existent) local Bloods set. In this telling, Cummings

masterminded the shooting as gangland-style retaliation for the killing of Bowers a year earlier—

believing that Hubert had been Bowers’ killer. Among other things, the State used irrelevant gang

evidence to racialize the proceeding, repeatedly alluding to Cummings’ putative Bloods

membership. In the very first seconds of its opening statement to the all-white jury, the prosecution

intoned:

       Ladies and gentlemen, in just a few moments we’re going to enter into a world that
       to many of us is quite foreign. It’s a world where people go by street names. It’s a
       world where people organize into neighborhood clicks [sic]. It’s a world where the
       street word, the word on the street, rumors, are very powerful things in this world.
       Unfortunately, as you’ll see, it’s also a world in which men commit brutal,
       premeditated murders.

30 RR 21-22 (emphasis added). The prosecution told the all-white jury that the “foreign” world

was organized into “neighborhood cli[ques]” full of people with “street names,” but everyone

understood what that meant. The State went on to question three out of its first four witnesses

about whether Cummings was part of or otherwise connected to a gang.

       Theresa Salazar was the first witness the State called, so that she could testify about the

Bowers murder. 30 RR 63. Specifically, she testified that she called Cummings when she noticed

something looked wrong with Bowers, knowing that Cummings and Bowers were friends. 30 RR

66-67. On re-direct examination, the State began to imply a black gang affiliation by eliciting

testimony from Salazar about what she saw Cummings wearing at the Bowers funeral: red and



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black clothes. 30 RR 73-74. (The shirts were selected by Bowers’ mother. 35 RR 36-38.) After

Salazar stated that Cummings was likely among the many attendees wearing “red and black”

outfits, the State continued to question her about whether those attendees wore “combat” badges

and whether their clothes had a “military” feel—with the obvious intent of suggesting black gang

membership to the all-white jury. 30 RR 74.

       Paul Hall was the second witness the State called. 30 RR 76. Hall had been negotiating a

marijuana transaction with Bowers in the days prior to Bowers’ murder. 30 RR 80-83. Hall testified

that Cummings was one of about nine people that came to his house the night of the Bowers

murder, accusing Hall of the killing. 30 RR 91. Hall explained that Cummings was not the leader

but that Cummings was the one that he talked to that evening. 30 RR 92-93. The two had a normal

conversation, and things calmed down quickly. The State would later insinuate that Hall acquired

a weapon because he felt threatened by Cummings, 37 RR 28, but Hall testified expressly that he

was not afraid that Cummings was going to hurt him; he got the weapon because he knew rumors

about his involvement were circulating everywhere. 30 RR 103-104. Of the first four witnesses,

Hall was the only one from which the State did not elicit testimony about gang membership.

       Shaniese Iglehart, Bowers’ girlfriend at the time of his death and the mother to his son, was

the third witness to testify in the State’s case-in-chief. She testified that Cummings was part of a

larger group that was friends with Bowers—a group that included Cummings’ brother D’Arvis

and Albert Love. 30 RR 130, 148. Also pressed by the State about the attire at Bowers’ funeral—

another instance in which the prosecution gratuitously questioned witnesses to imply black gang

membership—she explained that Bowers’ mother had picked out red shirts that Bowers and many

of the mourners, including Cummings and Love, would wear. 30 RR 129, 146-47, 155-56. The

State again insinuated Bloods membership by asking her about a music video that played at a




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fundraising benefit for Bowers’ son after Bowers’ murder (“Starch it Down, Flame it Up”)—a

video in which Cummings did not appear and had no involvement. (The video would become a

crucial piece of evidence in the case.) Iglehart clarified that Bowers had written the lyrics in high

school, 30 RR 133, 147, which was consistent with the testimony of other witnesses. See, e.g., 35

RR 33 (Shelia Bowers), 37 RR 34-35 (Cummings). She also stated that Hubert had approached

her to tell her that he was not responsible for Bowers’ death, and that Bowers’ family eventually

became frustrated with the lack of progress on the investigation. 30 RR 131-32, 138-39, 141, 143.

       As its fourth witness, the prosecution called Waco Police Department (“WPD”) Detective

Michael Alston, who had been the lead detective on the Bowers murder. The State used Alston as

a vehicle to characterize pictures from Bowers’ funeral as proof of Cummings’ gang membership.

Reviewing group photographs admitted into evidence of assembled mourners at Bowers’ funeral,

the State questioned Alston about the red color and distinctive military-type design of the

mourners’ clothing. 30 RR 171, 174-175. The State also questioned Alston about whether he

thought that hand gestures displayed by mourners at Bowers’ funeral—as well as hand gestures

made by Bowers himself, in other pictures—were gang signs. 30 RR 171-175. (Trial counsel

objected to none of these questions, even though Alston was not a gang expert. 30 RR 170-171.)

       During Cummings’ case-in-chief, the defense called Shelia Bowers, Emanuel Bowers’

mother. She testified that Cummings was friends with Bowers, but was not one of his very best

friends. 35 RR 30. (Albert Love’s brother, Lawrence Love, was among the closest to Bowers. 35

RR 30.) Shelia testified that red had been her son’s favorite color, and that she had selected the

shirts worn by Bowers’ friends at his funeral—a choice that the State had used to suggest

Cummings’ gang membership—from a local store. 35 RR 31, 36. The shirts had originally been

selected for the pallbearers, but a number of others decided to dress the same way to show their




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support for Bowers—including the pastor who delivered the funeral’s sermon. 35 RR 36-38, 55.

She also explained that the hand gestures in the photographs and in the video were an “E” for

“[Waco’s] Eastside.” 35 RR 34-35. Shelia Bowers denied that there was any gang significance

either to the shirts or to the hand gestures in many of the photos. 35 RR 33-38. She explained that

the music video in question was based on a song Bowers had written in high school—Bowers was

a rapper who went by “T-Bucks”—and the video was produced after he died, to raise money for

his young son. 35 RR 32, 51. Shelia Bowers herself had appeared in the video, though Cummings

had not. 35 RR 32-33. As to Hubert, she testified that she knew he was one of several people

rumored to be responsible for Bowers’ death. 35 RR 40-41. She explained, however, that she

actually became estranged from Cummings because Cummings was not particularly hostile to

Hubert. 35 RR 41-42. (Rickey Cummings, testifying in his own defense, also spoke to his

relationship with Shelia Bowers, including their temporary estrangement resulting from her anger

that Cummings and Hubert had maintained a friendly relationship. 36 RR 80.).

       Perceiving his defense team’s failure to contest key issues, including his gang membership,

Cummings decided to take the stand as a surrebuttal witness. Cummings himself testified about

the Bowers murder, describing the events on the day Bowers was killed, including the conversation

he had with Hall. 36 RR 74-78. Cummings acknowledged that he knew he was a suspect in the

Villas shooting because of the neighborhood rumors and his connection to Bowers, but he

emphatically denied having anything to do with the crime. 36 RR at 101-02. Because the defense

had put on no witnesses to testify as to Cummings’ gang membership, and needing to respond to

the State’s seemingly limitless interest in presenting the all-white jury with the suggestion that

Cummings was a Blood, defense counsel opened the door by asking Cummings whether he was a

gang member. 36 RR 73-74. Cummings categorically denied it. 36 RR 74.




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       At the start of the second day of Cummings’ surrebuttal testimony, and outside the presence

of the jury, the State announced its intent to introduce: photographs of the tattoos on Cummings’

back, a photograph of Cummings with his two brothers (who were making hand gestures that the

State intended to use to show gang membership), and a downloaded copy of the video, “Starch It

Down, Flame It Up,” that had been played at Bowers’ funeral. The defense objected to none of

this material, even though given the opportunity to lodge any objections outside the jury’s

presence. 37 RR 7 (defense counsel confirming no objection). The defense made a best-evidence

objection to a fourth exhibit, the transcription of the lyrics in the video. 37 RR 8. Aided by the

three uncontested exhibits, the State used its cross-examination to paint Cummings as a member

of a Waco Bloods set, repeatedly calling attention to, among other things, his tattoos, the hand

signs of people posing in pictures with him, and his spelling in text messages. In the climactic

moment, the State played and dissected the incendiary music video before the all-white jury—

using its lyrics and images to suggest that Cummings was a member of a menacing Waco Bloods

set. 37 RR 30-37.

               2.     The Text Messages

       Significant pieces of non-testimonial evidence the State used in its case against Cummings

were text messages recovered from his cell phone, as well as messages which had been deleted

from the phone’s memory but which were still reflected in the wireless service provider’s master

listing. The State obtained messages in the latter category—those retrieved from the wireless

provider—without a warrant. Among the text messages obtained from the provider was one in

which the sender instructed someone to “[t]ake dem bullets out the house,” which was sent from

Cummings’ cell phone approximately twelve hours after the shooting—at 11:00 a.m. on March

29, 2011. 34 RR 71. During the guilt/innocence phase of Cummings’ trial, and despite knowing

that the text message was actually sent by Albert Love, the State repeatedly misattributed it to


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Cummings, 3 suggesting that Cummings was trying to cover up his role in the shooting. 36 RR 101,

37 RR 158, 38 RR 34.

       The first mention of the “dem bullets” message came in the State’s redirect examination of

WPD computer forensic lab Detective James Owens, II, a cell phone specialist asked to explain

how to interpret the data retrieved from Cummings’ cell phone:

       Q. Let’s look at those for a moment. We see the text message of 303 here that comes
       from Righthand Man here, “Were yall at,” but the next message is coming – is sent
       from the target telephone belonging to Rickey Cummings, isn’t it, sir –
       A. Yes, sir.
       Q. – to another number here, and the message reads, “Take dem bullets out the
       house.” Is that right?
       A. Yes, sir.
       Q. Approximately three minutes later, the individual to whom that message was
       sent at 11:00 a.m. responds back to Rickey Cummings’ telephone and says, “U
       late did that last night baby am on top of it u good love u,” with a tag of
       “Mrz.bloody.” Correct?
       A. Yes, sir.
       Q. And then at 11:12, that same sender sends another message to Rickey
       Cummings’ telephone saying, “What u want me to do with her,” and again with
       the tag of “Mrz.bloody.” Correct?
       A. Yes, sir.
       Q. And then some 16 minutes later at 11:28 a.m., Rickey Cummings sends a
       message back to that same recipient of, “Straight up love u too and wit who.” And
       approximately one minute later 254-229-1881 sends a message back stating, “The
       caps u know what that is,” again with the tag of “Mrz.bloody.” Correct?
       A. Yes, sir.

34 RR at 70-72 (emphasis added).

       The State similarly elicited testimony from Owens regarding text messages retrieved from

the wireless provider in which the sender talks about getting an alibi. 34 RR 75 (Q: And the next

message, again, from the individual identified as “5hakira” about a minute later back to Rickey

Cummings says, “Yea ii kno bt ii gt antha alabi tu ima cll u in a sec.” That message is not in your



3
  In separate grand jury proceedings before Cummings trial, and at Albert Love’s trial, the State
disclosed its knowledge that the text messages were composed by Albert Love. See infra at
SECTION II.A.1.

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report because that message was also deleted from Rickey Cummings’ telephone, wasn’t it? A:

Yes, sir.”) (emphasis added).

       In short, despite Cummings’ (accurate) denial that he had not composed the inculpatory

text messages, 4 the State created the impression that Cummings had done so. And when the State

made its closing argument, it simply and expressly attributed the messages about hiding evidence

to Cummings. 38 RR 34. Maximizing the impact of these messages, the State used them to show

that he committed the crime, covered it up, and was not a credible witness:

       But you know why Rickey Donnell Cummings did it, because he’s not an innocent
       man. Does an innocent man tell others to get rid of evidence after the fact? No. But
       we know he did. Does an innocent man delete text messages, selective deletions, as
       you see it, the most incriminating things after this offense? No, they don’t do that,
       because they don’t have to, because they don’t have text messages like this. Rickey
       Donnell Cummings did because, again, he’s not an innocent man.

38 RR 75.

               3.     Villas Testimony

       The prosecution presented several witnesses that had seen Cummings at the Villas before

and after the murders, and two were crucial. The first critical witness was Miche’al Atkins, a high

school student who had been spending the night with his father at his father’s girlfriend’s Villas

apartment. 34 RR 83-87. Atkins testified that Cummings and Atkins’ father were hanging out in

the apartment’s living room before the shooting, smoking a joint, and that Atkins was in one of

the bedrooms. 34 RR 90. Atkins testified that he overheard Cummings utter that “he was going to

shoot somebody.” 34 RR 90-91. Atkins stated that he believed that gunshots began about twenty

minutes after Cummings left the apartment. 34 RR 91-92.




4
  Cummings explained that his friends often used his phone, and it would not have been unusual
for one of them to have sent a text message from it. 36 RR 100-01.

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       The surviving victims, Majors and Bible, both testified for the State as to the night’s events

and to their interactions with Cummings before the shooting. Majors testified that he had driven

his blue Grand Marquis to the Villas and was parked in the lot. Bible joined him and they hung

out in the car, listening to music and talking. 31 RR 137-141. Over the next hour, Sneed and Hubert

joined them. 31 RR 141-143. Majors stated that, about an hour later, Cummings walked by the car,

“mean-mugging” the occupants (which Majors described as a glaring, pronounced stare). 31 RR

145-146. Majors testified that he had no issues with Cummings, and didn’t think anyone else did,

either. 31 RR 147. A couple of minutes later, Cummings walked by the car again. 31 RR 148.

About half an hour after that, the car was hit with gunfire. 31 RR 149.

       Bible also testified that the four men were hanging out in Majors’ car in the Villas lot,

smoking marijuana and watching music videos. 31 RR 202-206. Bible testified that, when

Cummings walked by, Hubert sang some mocking rap lyrics. 31 RR 207-209. Bible said he was

tired of hearing about Hubert having to watch his back. 31 RR 209. The gunfire started sometime

after that, shattering the car’s back window before Bible fled the car and ran for cover. 31 RR 210-

211.

       The State also relied heavily on the account of Nickoll Henry, the second crucial witness

and the aunt of Bible’s girlfriend, to implicate Cummings. Henry lived in Villas Apartment 81. At

trial, she testified that, on March 28, she had been asleep on her living room couch with a

“pounding” headache when she awoke to the sound of gunfire. 32 RR 232. She stated that her front

door flew open and she saw someone run into the house. 32 RR 234. Henry testified that she

peeped out the front door and saw Cummings holding a gun, which had apparently jammed. 32

RR 235. She stated that she made eye contact with Cummings, who was wearing a black hoodie,

before slamming and locking the door. 32 RR 236-238. She explained that she had heard a rumor




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that, earlier in the day, “Lockie and the Cummings boys were in a beef.” 32 RR 236. Though Henry

was familiar with Cummings, she initially stated that she did not really “know” him, and was much

better acquainted with Cummings’ older brother, Tyrece Richards. 32 RR 239.

       After closing her front door, Henry called 9-1-1. 5 32 RR 238. She then ran down the

hallway of her apartment and found Majors and Bible bleeding in the bathroom. 32 RR 242. Henry

testified that she did not talk to police officers that night about what she had seen, because she was

scared of doing so. 32 RR 245-246. Later that evening, Henry saw Cummings in the parking lot

while the police were still there; she stated that he was not wearing a black hoodie at that time. 31

RR at 244-245. The next day, Henry found empty bullet casings and a live round on her doorsill

and considered them to be a threat. 32 RR 246. She gave the ammunition to Detective Steven

January, the lead detective on the case, and only then told him she had seen Cummings. 32 RR

247. 6 When Henry told January that she had seen Cummings outside in her entryway, she

simultaneously gave a description of motive that clearly derived from rumors circulating in the

community. 7 App. 29. Henry then looked at a photographic line-up prepared by Detective January

and identified Cummings from it. 32 RR at 247-248. Though at the time she testified, Henry was

on misdemeanor probation for an offense that was originally charged as a felony, 32 RR 262, and



5
  Mr. Cummings’ post-conviction counsel was unable to obtain from the State working copies of
9-1-1 call from the night of the crime. App. 157-160; App. 165-169. Undersigned counsel also
attempted to obtain the recordings from the State, but were likewise told that the State does not
have them. App. 161. Undersigned counsel also requested the recordings from McLennan County
and the City of Waco, per the Public Information Act, but were told that they no longer exist. App.
163; App. 164.
6
  Henry testified that this was the next day, 32 RR 246, but Detective January’s report reflect that
she came to see him two days later, on March 30, 2011. App. 27-30.
7
  Multiple witnesses testified about the rampant and rapidly spreading rumors surrounding the
shooting. See 32 RR 224 (“Rumors float[ed] that same night.”); 31 RR 91-92 (“Yeah, I heard
rumors.”); 35 RR 101 (Cummings’ girlfriend at the time of the shooting confirming that “rumors
were floating around about who was involved” and that Cummings had received a text that
concerned him).

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although her probation for a separate offense had not been revoked notwithstanding a serious

probation violation, 32 RR 252, 276, she denied that she had received any special treatment in her

own case in exchange for her testimony. 32 RR 279-280.

       On cross-examination, Henry denied that she initially told people she had seen Tyrece

Richards, not Rickey Cummings, outside her door. 32 RR 249-250. Cummings’ attorneys further

questioned Henry at length as to her psychiatric diagnoses and history of drug use, 32 RR 250-

253, as well as her probation violation through drug use. 32 RR 275-276. Trial counsel later

specified that Henry’s arrest was for an aggravated assault, which was then reduced to a

misdemeanor prior to her placement on probation. 32 RR 282-283. Trial counsel also walked

Henry through her account of her and her children’s positioning in their apartment the night of the

crime, and the placement and number of bullet holes that Henry was able to observe in the walls

when she briefly returned for clothing the next morning. 32 RR 276-278. Henry testified that the

man she saw on her doorstep was 10 feet away from her door. 32 RR 281-282.

       During its case-in-chief, the defense presented evidence attempting to impeach Henry,

including a psychologist who testified that Henry suffered from borderline personality disorder,

35 RR at 16-18, as well as Alan Bennett, an attorney who represented Henry on a felony charge

of aggravated assault with a deadly weapon in April 2011. 35 RR 75. Bennett testified that the

judge assigned to Henry’s case approved lowering or keeping her bond the same knowing she was

a witness in a capital murder case. 35 RR 78-79. Ultimately, Henry’s charge was reduced to a

Class A misdemeanor. 35 RR at 79-80. Bennett testified that he believed her status as a witness

had played a part in that offer. 35 RR 86. However, Bennett denied that Henry’s testimony against

Cummings had been offered in exchange for the plea deal. 35 RR 88.




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       When he eventually testified, Cummings provided a detailed narrative recounting the

events of the night in question and his presence at the Villas. He testified that he had spent most

of March 28 at a friend’s house, smoking and playing a video game. 36 RR 85. He then drove his

burgundy Impala to the Villas in order to check on his grandmother, as he often did. 36 RR at 85-

88. Cummings also corroborated the interactions he had had with the witnesses who testified for

the State, including those who saw him walk past the blue Grand Marquis in the parking lot. 36

RR 89-91.

       While still at the Villas, Cummings called his brother D’Arvis for a ride. D’Arvis picked

him up in his car—coincidentally, also a blue Grand Marquis—and Cummings got in the back

seat. 36 RR 93. Cummings explained that he got in the back because the front seat might have

been wet and because D’Arvis was only taking him a short distance. 36 RR 93-94. He took out his

gun, a .45 Warthog, and put it in the pocket behind the passenger seat. D’Arvis took Cummings

0.7 miles away, to Clay Street, because Cummings planned to sell drugs. 36 RR 92-94.

       While Cummings was on Clay Street, someone drove through and said there was a blue

Grand Marquis shot up at the Villas. 36 RR 95. Because D’Arvis drove a blue Grand Marquis,

Cummings feared his brother had been hurt. 36 RR 95. Cummings ran the 0.7 miles back to the

apartments, went through the first gate and then through the breezeway where everyone else was

standing around. 36 RR at 95-96. He interacted with several people, including Brittany Snell, who

told him which car was involved and who had been fatally shot. 36 RR 97. Cummings took Snell

into her apartment to get her a drink of water and calm her down. 36 RR 98. He used the

apartment’s restroom and, as there was no soap beside the restroom sink, went to the kitchen sink

to wash his hands with dishwashing soap. 36 RR 98. Cummings had inadvertently left his cell

phone in D’Arvis’s car, so he remained in Snell’s apartment to use her phone. 36 RR at 96-99.




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       B.        Sentencing Phase

       The State’s punishment-phase case consisted of Cummings’ prior criminal history. These

included a 2003 juvenile charge of resisting arrest and trespass after refusing to leave a school he

no longer attended, 39 RR 10-16, 21-28, 30-37, 2005 and 2007 assault charges, 39 RR 40-53, 88-

89, and a 2008 arrest and brief incarceration for unlawful carrying of a weapon and making a

terroristic threat. 39 RR 89-99, 102-107, 110. Throughout the liability phase, the prosecution had

also introduced voluminous evidence in an effort to suggest that Cummings was a member of a

Waco Bloods set (chapter), and that evidence did double duty as proof of danger and aggravation

at sentencing.

       The defense presented several of Cummings’ family members, 8 who testified that

Cummings was a good person and a devoted father to his young son. 40 RR at 7-60. Trial counsel

then sought to present the expert testimony of Amy Nguyen, a community health expert, regarding

community risk factors in the neighborhoods where Cummings lived. Ultimately, the trial court

excluded Nguyen’s testimony based on the fact that the court believed the proffered testimony to

be non-relevant. 40 RR at 82-83. Finally, the defense presented Frank AuBuchon as a prison

classifications expert. 40 RR at 96-124. Aubuchon testified on the question of future

dangerousness, explaining that a life-without-parole sentence would trigger at least a mandatory

“G3” classification in the prison system, which would involve severe limits on his freedom of

movement, as well as on his ability to work and recreate, within the corrections facility. 40 RR

110-11. Although AuBuchon did not testify as to the question of whether Cummings was actually




8
 Testifying on Cummings’ behalf were his grandmother Erma Richards (40 RR at 7-11); his aunt
Annette Wilkerson (40 RR at 19-22); his cousin Jarrett Embry (40 RR at 25-28); his aunt Ruby
Brown (40 RR at 32-42); and the mother of his son, Brittney Hayes (40 RR at 50-60).

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in a gang, he testified that he would be classified that way by the correctional system because of

his tattoos. 40 RR 123.

       On November 7, 2012, the jury answered the Texas sentencing-phase questions such that

the judge was required to enter a death sentence, and the judge did so thereafter. 41 RR 66.

II.    DIRECT APPEAL

       On appeal, Cummings was represented by Alexander Calhoun, who raised nine points of

error: a due process claim for refusing to allow the Dr. Nguyen to testify about the East Waco

neighborhood in which Rickey Cummings grew up; a claim under Batson v. Kentucky, 476 U.S.

79 (1986), for misapplying procedures to evaluate whether a jury strike was animated by race; two

claims alleging erroneous evidentiary rulings at the guilt phase; and four claims of instructional

error. On December 17, 2014, the Texas Court of Criminal Appeals (“TCCA”) denied all relief.

Cummings v. State, No. AP–76,923 (Tex. Crim. App. Dec. 17, 2014).

III.   STATE HABEAS PROCEEDINGS

       On November 7, 2012, while the appeal from the conviction and death sentence remained

pending, the TCCA appointed the Office of Capital and Forensic Writs (“OCFW”) to represent

Cummings in his state post-conviction litigation, pursuant to Article 11.071 of the Code of

Criminal Procedure. On September 12, 2014, OCFW filed the state post-conviction application. 9

       The state post-conviction application contained fourteen claims. Ten of those were

ineffective-assistance-of-trial-counsel (“IATC”) claims under the Sixth Amendment for trial

counsel’s failure to: rebut or call an eyewitness expert to undermine the testimony of Nickoll

Henry; call a forensic linguistics expert to bolster Cummings’ assertions that he did not write the


9
  At the time that OCFW filed the state post-conviction application, the appeal from the conviction
and sentence was still pending in the TCCA, and so none of the federal limitations period elapsed
in between the date the conviction became final on the conclusion direct review and the date the
limitations period began to toll under 28 U.S.C. § 2244(d)(2).

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inculpatory text messages; call an expert to rebut the prosecution’s assertion that Cummings was

associated with the Bloods gang; object to the admission of inflammatory evidence about

Cummings’ alleged gang membership; object to the admission of an inflammatory photograph of

a woman holding an AK-47 that law enforcement suspected to be the assault rifle used in the case;

object to victim impact evidence used at the guilt phase of the trial; for failing to object to Marion

Bible’s hearsay testimony; fully investigate and present lay witnesses during the punishment phase

of the trial; present punishment-phase evidence about Cummings’ life history; and to preserve the

record on appeal. I WCR 37-163; 189-194. The state application also included four boilerplate

claims that the TCCA always encounters, and always rejects: through the “10-12” rule, that the

Texas statute unconstitutionally bars the court from instructing the jury that a single holdout can

result in a life sentence; that the future dangerousness issue is unconstitutionally vague and fails

to sufficiently narrow death eligibility; that the Texas death penalty system is arbitrary; and that

the Texas statute and jury instructions unconstitutionally restricted consideration of mitigating

evidence. I WCR 163-189.

       The trial judge, who was also supposed to preside over the state post-conviction

proceedings, had to recuse himself for making public statements disparaging a defense expert.

Following the recusal and appointment of a new judge, the state court held an evidentiary hearing.

The evidentiary hearing focused on the IATC claims and, aside from a linguistics expert analyzing

the “take dem bullets” text, 5 WRR 83-130, the witnesses consisted of trial counsel. Walter Reaves

testified to his qualifications, case load at the time surrounding and during Mr. Cummings’ trial,

and the issues with defense experts Amy Nguyen and Mike O’Kelly. 4 WRR 39-113. Reaves also

testified regarding trial counsel’s decisions to forego an eyewitness identification expert regarding

Nickoll Henry, and a linguistics expert regarding the text messages. 4 WRR 113-126. Reaves




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called the gang-revenge angle the “integral part of the case,” 4 WRR 127, and discussed trial

counsel’s failure to get an exclusion ruling on the record, failure to object to gang-related evidence,

and failure to obtain a gang expert. 4 WRR 127-134. Reaves stated that trial counsel did not object

to the inflammatory evidence so that it could highlight the weakness of the State’s case. 4 WRR

130.

       Given Michelle Tuegel’s inexperience, she testified at length to her exact roles and

responsibilities on Mr. Cummings’ team, and her simultaneous or previous work on other cases. 5

WRR 132-177. Russ Hunt also testified to his background and caseload, as well as to the mitigation

and investigatory work done on Mr. Cummings’ case. 5 WRR 198-271. Mr. Hunt testified

regarding the team’s failure to procure an on-the-record ruling excluding gang evidence, 6 WRR

81-97, and their retention of a prison expert rather than a gang expert. 6 WRR 98-99.

       The post-conviction judge ultimately declared that he would not consult the trial record,

refused to decide claims based on pure questions of law, and wrote a memo explaining that he

decided the IATC claims by reference to his out-of-court familiarity with trial counsel and their

reputation in the community. V WCR 1419-1420. The TCCA therefore rejected the trial court

findings in toto, as well as the memo. Its four-page opinion—only 1 sentence of which analyzed

the fourteen claims at issue—nonetheless concluded: “Instead, based upon our independent review

of the record and consistent with our role as the ultimate factfinder in habeas corpus proceedings,

we deny relief.” Ex parte Cummings, No. WR-84,324-01, 2018 WL 1516614, at *4 (Tex. Crim.

App. Mar. 28, 2018). No certiorari petition was filed on Cummings’ behalf.

                                     CLAIMS FOR RELIEF

I.     CUMMINGS’ RIGHTS UNDER THE SIXTH AND FOURTEENTH
       AMENDMENTS WERE VIOLATED WHEN THE PROSECUTION USED POST-
       INDICTMENT GRAND JURY PROCEEDINGS TO INTIMIDATE WITNESSES,
       PREPARE FOR TRIAL, AND SUPRESS INFORMATION NECESSARY TO
       SHOW THE FALSITY OF SUBSEQUENT TESTIMONY.


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        Cummings’ conviction was obtained through the prosecution’s unlawful use of grand jury

proceedings to prepare for trial, to harass and intimidate potential witnesses (especially those who

might testify for the defense), to secretly investigate the defense’s trial preparation, and to suppress

information necessary to show the falsity of subsequent trial testimony. The prosecution’s abuse

of the grand jury tainted the entire trial, violating Cummings’ rights to due process and effective

assistance of counsel under the Sixth and Fourteenth Amendments to the U.S. Constitution. This

claim is unexhausted and a Texas remedy remains available, so Cummings will be requesting the

stay-and-abeyance order necessary to exhaust it.

        This claim is based on the following facts and law, and on the allegations raised in other

claims in this Petition, which are incorporated herein by this specific reference.

        A.      Prosecutors Used Unlawful Post-Indictment Grand Jury Proceedings To
                Intimidate Witnesses, Prepare For Trial, And Suppress Information
                Necessary To Show The Falsity Of Subsequent Testimony.

        Cummings was indicted on the charge of capital murder by the grand jury on June 29,

2011. I CR 9. Starting more than six months later and continuing throughout 2012, the Office of

the McLennan County District Attorney (“MCDA”) began obtaining grand jury subpoenas for a

number of individuals, and had at least seven of them report to the grand jury: Shacira Love

(January 18 and December 19), Richard Thomas II (January 18), Victoria Davis (January 18),

Sheronica Patterson (August 16), Shelia Bowers (August 16), Takelia Love (August 17), and

Jasmine Davison (August 30). (The defense would eventually call Bowers and Davison at

Cummings’ trial.) In virtually every instance of this practice for which information is available,

investigator Steve January served the grand jury subpoenas.

        These witnesses had not been charged with a crime, nor were they suspects. The

proceedings were not being used to investigate an uncharged crime or to seek an indictment. Their

sole purpose was to intimidate witnesses, prepare for trial, and suppress information favorable to


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the defense that would have demonstrated the falsity of testimony the State elicited at trial. What

follows is information necessary to structure the Court’s analysis of the State’s grand jury tactics,

rather than an exhaustive accounting of the rather shocking abuse of the institution. The breadth

of institutional overreach, however, is captured in the eight grand jury transcripts from the

proceedings. 10

                  1.   The prosecutors used the proceedings to threaten and intimidate
                       witnesses.

       Cummings’ prosecutors threatened and intimidated every witness they brought before the

grand jury, in various ways and to varying degrees. For example, Shacira Love, sister of

Cummings’ co-defendant Albert Love, was brought before the grand jury on January 18, 2012. In

the Interest of Shacira Love (Grand Jury McLennan County Jan. 18, 2012) (“Shacira Love GJ

transcript-1”).




                                               Shacira Love GJ transcript-1 at 1 RR 17.




                                                                                   Shacira Love GJ


10
   The transcripts are the subject of a sealing motion that Petitioner has filed with the Court.
Therefore, the contents of the proceedings, as reflected in the transcripts, have been redacted from
this document.

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transcript-1 at 1 RR 34



                             Shacira Love GJ transcript-1 at 1 RR 34-35



                                                             Shacira Love GJ transcript-1 at



                                         Shacira Love GJ transcript-1 at 1 RR 35. Shacira was

summoned to appear before a grand jury again in December 2012, after Cummings’ trial, but

before her brother’s;

              See In the Interest of Shacira Love (Grand Jury McLennan County Dec. 19, 2012) 1

RR 15.

         Victoria Davis was also called before the grand jury on January 18, 2012,

                                                      See In the Interest of Victoria Davis (Grand

Jury McLennan County Jan. 18, 2012) 1 RR 5 (“Davis GJ transcript”).




Davis GJ transcript at 1 RR 6.

     , Davis GJ transcript at 1 RR 7-8

Davis GJ transcript at 1 RR 16-17.

                           Davis GJ transcript at 1 RR 17.




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Davis GJ transcript at 1 RR 17-18.

       Sheronica Patterson, Takelia Love’s sister, was another individual subjected to threats and

intimidation in the unlawful grand jury proceedings. See In the Interest of Sheronia Patterson

(Grand Jury McLennan County Aug. 8, 2012) (“Patterson GJ transcript”).



                                                                                        Patterson

GJ transcript at 1 RR 15.




Patterson GJ transcript at 1 RR 22.

                                                                  Patterson GJ transcript at 1 RR

42.

                                                              Patterson GJ transcript at 1 RR 42




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Patterson GJ transcript at 1 RR 42.

               2.     The prosecutors used the proceedings to get ready for trial, and to
                      question witnesses about defense preparation.

       The Cummings prosecutors also used the unlawful grand jury proceedings to collect

evidence from witnesses generally, and to try to extract information about the defense planning

specifically. For example, on August 30, 2012, two days after jury selection in Cummings’ trial

had concluded, investigator Steve January (then with the MCDA’s Office) obtained a grand jury

subpoena for Jasmine Davison, Cummings’ girlfriend at the time of his arrest, and served it on her

the following day. App. 62. On September 5, Davison appeared before the grand jury and was

questioned extensively by Cummings prosecutor Greg Davis. See In the Interest of Jasmine

Davison (Grand Jury McLennan County Sept. 5, 2012) (“Davison GJ transcript”).




            See, e.g. Davison GJ transcript at 1 RR 10

                                   Davison GJ transcript at 1 RR 11

                                      Davison GJ transcript at 1 RR 13



                        Davison GJ transcript at 1 RR 22



Davison GJ transcript at 1 RR 4,




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                                   Davison GJ transcript at 1 RR 43-44.



              Davison GJ transcript at 1 RR 44-46



Davison GJ transcript at 1 RR 46

                                                                                       Davison GJ

transcript at 1 RR 47.

                                                          Davison GJ transcript at 1 RR 47.




                                                          Davison GJ transcript at 1 RR 49. He

continued:




Davison GJ transcript at 1 RR 49. Davison was called by Cummings at trial, and then by the State

as a rebuttal witness. 35 RR 90; 36 RR 64-65.

       Prosecutor Davis’s unlawful use of grand jury proceedings to override the will and civil

rights of witnesses is also evident in the records related to Shelia Bowers, another defense witness




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to appear before the grand jury, and who received her subpoena from Steve January on August 16.

App. 61. Apparently not interested in cooperating, Bowers “turned it back in and said she wasn’t

going to the grand jury.” Id. The following day, Bowers heeded the apparent authority of the

subpoena and testified before the grand jury. See In the Interest of Shelia Bowers (Grand Jury

McLennan County Aug. 17, 2012) (“Bowers GJ transcript”).



                Bowers GJ transcript at 1 RR 73.

                  3.     The prosecutors used the proceedings to suppress information
                         favorable to the defense that would have demonstrated the falsity of
                         testimony that the State subsequently offered at trial.

        The Cummings prosecutors also used the unlawful grand jury proceedings to effectuate

other constitutional violations. On August 17, in the midst of Cummings’ jury selection, Takelia

Love (née Patterson), then the girlfriend of Cummings’ co-defendant, Albert Love, appeared

before a grand jury where Davis questioned her extensively about the Villas shooting. 11 See In the

Matter of Takelia Love (Grand Jury McLennan County August 17, 2012) (“Takelia Love GJ

transcript”).

                                                                     Takelia Love GJ transcript at

1 RR 61-62. At Cummings’ trial, however, Davis deliberately misattributed the incriminating texts

to Cummings.




11
   Investigator Steve January “assisted with” three witnesses testifying before the grand jury,
including Takelia Love. App. 61.

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Takelia Love GJ transcript at 1 RR 64. 12 Davis continued:




Takelia Love GJ transcript at 1 RR 53.

                                                                          Takelia Love GJ transcript at

1 RR 59.

          B.     The Unlawful Post-Indictment Grand Jury Proceedings Violated Cummings
                 Rights Under The Sixth And Fourteenth Amendments.

          The State’s inquisition violates foundational due process principles enshrined in the Bill of

Rights and Fourteenth Amendment. See In re Oliver, 333 U.S. 257, 266-70 & n.22 (1948). That

the law prohibited the prosecutor’s actions was clear. Long before he issued post-indictment

subpoenas in this case, the TCCA declared that “‘it is improper to use the grand jury for the purpose

of preparing an already pending indictment for trial.’” Ex parte Rogers, 640 S.W.2d 921, 923 (Tex.

Crim. App. 1982) (en banc) (quoting United States v. Dardi, 330 F.2d 316 (2nd Cir. 1964)). The

Fifth Circuit emphasized the same rule a decade before that. See Beverly v. United States, 468 F.2d

732, 743 (5th Cir. 1972) (“It is true . . . that it is improper to use the grand jury for the purpose of

preparing an already pending indictment for trial.”) (internal quotations omitted).

          In both Texas and federal courts,

          it has been widely recognized by commentators and courts that have addressed the
          issue squarely “that it is improper to use the grand jury for the purpose of preparing
          an already pending indictment for trial[,]” since by that time “the grand jury’s
          investigative role is ended, and the rules of pretrial discovery take effect to govern
          the extent to which the parties may use the legal process to obtain information about
          the case.”


12
     The questioning about text messages is detailed in Section II.A.1.

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State v. Huse, 491 S.W.3d 833, 845 (Tex. Crim. App. 2016) (quoting SANDRA BEALE, ET AL., 1

GRAND JURY LAW AND PRACTICE § 6:2, at 9–95, 9–96 (2d ed. 2015) and citing SUSAN W. BRENNER

& LORI E. SHAW, 2 FEDERAL GRAND JURY: A GUIDE TO LAW AND PRACTICE § 21:10, at 234 (2d

ed. 2006) (“It is improper to use a grand jury to obtain evidence for use at the trial of one who has

already been indicted.”)); In re Grand Jury Proceedings, 814 F.2d 61, 70 (1st Cir. 1987) (“It is

well established that a grand jury may not conduct an investigation for the primary purpose of

helping the prosecution prepare indictments for trial.”). In this case, the prosecutors used the

unlawful post-indictment grand jury proceedings to effectuate violations of the Sixth and

Fourteenth Amendments.

               1.      The proceedings violated due process under the Fourteenth
                       Amendment.

       The unlawful use of the grand jury violates due process in three distinct ways, all of which

represent structural error: First, the illegal use of subpoenas to require witnesses’ presence at an

illegal grand jury proceeding violates due process because it “shocks the conscience.” In Rochin

v. California, 342 U.S. 165 (1952), the Supreme Court held that due process prohibits the use of

“conduct that shocks the conscience” to secure a conviction in a criminal trial. See id. at 172

(declaring rule in case where law enforcement pumped a suspect’s stomach to obtain evidence).

In the present case, law enforcement illegally seized innocent witnesses, ordered them to appear

before a grand jury for an illegitimate reasons, then abused the State’s secrecy law to threaten and

silence them. The unlawful use of a grand jury subpoena to require a victim/witness’s presence

constitutes a violation of the victim-witness’s civil rights and amounts to kidnapping under 18

U.S.C. §§ 241 or 242 (providing criminal sanction for “[w]hoever, under color of any law, statute,

ordinance, regulation, or custom, willfully subjects any person in any State . . . to the deprivation

of any rights, privileges, or immunities secured or protected by the Constitution or laws of the



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United States” or for conspiring to do so). Cf. United States v. Guidry, 456 F.3d 493, 510-511 (5th

Cir. 2006) (rejecting Texas police officer’s contention that he could not be convicted of kidnapping

under § 242 because he had not transported victim across state lines); Yushavayev v. United States,

532 F.Supp.2d 455, 474-475 (E.D. N.Y. 2008) (describing factual basis for conviction of

immigration inspector who, acting under color of law, conspired to inveigle cooperating witness

out of country).

       Second, the prosecutors’ use of the grand jury proceedings violated due process insofar as

it was used to dissuade witnesses from speaking to the defense. Prosecutors and other members of

law enforcement violate a defendant’s due process rights when they advise a witness not to talk to

the defense, or to do so only in the presence of the prosecutor. See Gregory v. United States, 369

F.2d 185, 188-89 (D.C. Cir. 1966). In the Fifth Circuit, “[S]ubstantial governmental interference

with a defense witness’ choice to testify may violate the due process rights of the defendant.

However, no due process violation exists so long as the investigation of witnesses is not prompted

by the possibility of the witnesses testifying, and so long as the government does not harass or

threaten them.” United States v. Dupree, 117 F.3d 810, 823 (5th Cir. 1997) (internal citations and

quotations omitted). 13




13
   See also United States v. Hammond, 598 F.2d 1008, 1012 (5th Cir. 1979) (cited in Dupree and
reversing because FBI agent told defense witness that he would have “nothing but trouble” in
pending state prosecution if he persisted in testifying); United States v. Henricksen, 564 F.2d 197,
198 (5th Cir. 1977) (cited in Dupree and reversing where government threatened to void plea
bargain if potential witness testified); United States v. Smith, 478 F.2d 976, 979 (D.C. Cir. 1973)
(cited in Dupree and reversing where government threatened to prosecute witness if he testified in
pending trial).

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       Third, the unlawful grand jury proceedings violated due process because law enforcement

acted in bad faith and caused the spoliation of “potentially useful evidence.” Arizona v.

Youngblood, 488 U.S. 51, 58 (1988); see also Illinois v. Fisher, 540 U.S. 544, 549 (2004) (per

curiam) (affirming bad-faith rule in spoliation scenarios). Here, the act of spoliation was the use

of the grand jury proceedings to make unavailable testimony from potentially useful defense

witnesses. The harassment and intimidation of potential defense witnesses made some unavailable

for trial, either because they ceased defense cooperation or because defense counsel was cut off

from cooperation sufficient to determine whether the individuals would make good witnesses to

begin with.

       One particularly vivid example of bad-faith spoliation centers on the Napue violation, set

forth as Claim II in this Petition. The State violates due process when it knowingly allows false

testimony to go uncorrected, see Napue v. Illinois, 360 U.S. 264, 269 (1959), even if the testimony

merely gives a false impression, see Alcorta v. Texas, 355 U.S. 28, 31 (1958). Here, the unlawful

grand jury questioning of Takelia Love demonstrated that the State understood the falsity of

testimony it would later elicit at Cummings’ trial. Nevertheless, the prosecutor used the grand-jury

secrecy law to keep the falsity of the subsequent testimony, and his knowledge thereof, from being

communicated to the defense. 14 Thus, the prosecutor also violated due process by misusing the



14
   In addition, anyone behaving as the prosecutor did would have expected that one or both of two
things would happen. Either the harassed witnesses would not testify at all, or, if they testified and
were asked whether they had met with the prosecutor to discuss the case, they would have had to
lie because of the prosecutor’s threat to have them taken before the local judge if they revealed his
illicit use of the grant jury.

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grand jury secrecy statute to suppress evidence favorable to the defense. See Banks v. Dretke, 540

U.S. 668, 693-695 (2004) (discussing State’s knowing misrepresentations that concealed evidence

showing knowledge of falsity).

               2.     The proceedings violated the Sixth Amendment, as applied to Texas
                      through the Fourteenth.

       The State’s unlawful use of the grand jury also violated Cummings’ Sixth Amendment

right to counsel, as applied to Texas through the Fourteenth. “When specific provisions of the Bill

of Rights are involved, [the Supreme Court] has taken special care to assure that prosecutorial

conduct in no way impermissibly infringes them.” Donnelly v. DeChristoforo, 416 U.S. 637, 643

(1974). Cummings had a Sixth Amendment right to effective assistance of counsel and that

included the right to investigate. See Strickland v. Washington, 466 U.S. 668, 691 (1984); Powell

v. Alabama, 267 U.S. 45, 57 (1932). That right also includes “the right to present witnesses to

establish his defense without fear of retaliation against the witness by the government.” Dupree,

117 F.3d at 823 (citing Webb v. Texas, 409 U.S. 95, 98 (1972)).

       Here, the prosecution’s interference with the defense function was so pervasive that it

amounted to structural error. The prosecutors repeatedly made impermissible use of auxiliary law

enforcement officials, subpoenas, and threats of retaliation. These practices infringed on the

defense’s investigation—and in particular, on its equal-footed access to information from potential

defense and prosecution witnesses.




               See Davison GJ transcript at 1 RR 49. And the treatment of Davison was the norm,

not the exception.




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       C.      This Claim is Unexhausted.

       This grand-jury claim is not exhausted, and Cummings will be submitting a request under

Rhines v. Weber, 544 U.S. 269 (2005), to stay and hold in abeyance these proceedings so that he

may exhaust it in state court, along with other unexhausted claims for which state remedies are

available. There remains a clear path to merits consideration of the claim in state court. See Tex.

Crim. Pro. Art. 11.071 § 5.

II.    THE STATE VIOLATED NAPUE V. ILLINOIS WHEN IT KNOWINGLY
       ELICITED FALSE AND MISLEADING TESTIMONY.

       Under the Fourteenth Amendment, a prosecutor may not knowingly elicit false testimony

at trial or, although not actively seeking false testimony, knowingly allow it to go uncorrected. See

Napue, 360 U.S. at 269 (citing Alcorta, 355 U.S. at 78). In this case, the prosecution knowingly

elicited false testimony from Detective James Owens II when it asked him to confirm that

Cummings sent inculpatory text messages about destroying evidence, and knowingly failed to

correct Owens when he answered affirmatively. At the time the question was asked and answered,

the State knew that Albert Love sent the messages, not Cummings. This claim is unexhausted and

a Texas remedy remains available, so Cummings will be requesting the stay-and-abeyance order

necessary to exhaust it.

       This claim is based on the following facts and law, and on the allegations raised in other

claims in this Petition, which are incorporated herein by this specific reference.

       A.      The State Committed a Napue Violation When It Knowingly Elicited (Or
               Knowingly Failed To Correct) False Material Testimony From Detective
               Owens.

       The State must avoid presenting evidence that might be considered misleading, and

evidence presented to the jury that is false or gives it a “false impression” must be corrected by the

prosecution. See Napue, 360 U.S. at 269; Alcorta, 355 U.S. at 31. In the Fifth Circuit, a Napue



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claimant must prove three elements: (1) the falsity of a witness statement; (2) the State’s knowing

elicitation or failure to correct it; and (3) materiality. See United States v. Dvorin, 817 F.3d 438,

451-52 (5th Cir. 2016). The State knowingly elicited false testimony from Owens when it asked

him to confirm that Cummings sent the inculpatory text messages, and when Owens did so. Given

the centrality of the text exchange to the State’s case, that false testimony had a reasonable

likelihood of affecting the verdict.

               1.      The State knowingly elicited (or failed to correct) false and misleading
                       testimony that Cummings wrote the inculpatory text messages.

       For ease of discussion, this Petition combines falsity and knowledge thereof into a single

subsection. The State knowingly elicited false testimony attributing messages about destroying

evidence to Cummings, when it knew that they were sent by Love.

       The unlawful grand jury proceedings. As stated in Claim I, supra, 14 months after Mr.

Cummings was indicted, and four months before the start of Cummings’ trial, the Cummings

prosecutors unlawfully summoned Albert Love’s wife Takelia to appear before the grand jury, and

the transcript of that questioning establishes knowing falsity with respect to the “take dem bullets”

message.

                                       See, e.g., Love GJ transcript at 1 RR 52

                                          Love GJ transcript at 1 RR 55



              Love GJ transcript at 1 RR 56-67

                                           Takelia GJ transcript at 1 RR 59

                                                  Love GJ transcript at 1 RR 61




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       Testimony at the Cummings trial. At the secret, unlawful grand jury proceedings the State

revealed                                                                                       At

Cummings trial, however, the State worked extremely hard to elicit false testimony about that

exchange when it questioned WPD Det. Owens:

       Q:      . . . but the next message is coming - - is sent from the target telephone
       belonging to Rickey Cummings, isn’t it, sir - -
       A:      Yes, sir.
       Q:      - - to another number here, and the message reads, “Take dem bullets out
       the house.” Is that right?
       A:      Yes, sir.
       Q:      Approximately three minutes later, the individual to whom that message
       was sent at 11:00 am responds back to Rickey Cummings’ telephone and says, “U
       late did that last night baby am on top of it u good love u,” with the tag of
       Mrz.bloody.” Correct?
       A:      Yes, sir.
       Q:      And then at 11:12, that same sender sends another message to Rickey
       Cummings’ telephone saying, “What u want me to do with her,” and again with the
       tag of “Mrz.bloody.” Correct?
       A:      Yes, sir.
       Q:      And then some 16 minutes later at 11:28 am, Rickey Cummings sends a
       message back to that same recipient of, “Straight up love u too and with who.”
       And approximately one minute later 254-229-1881 sends a message back stating,
       “The caps u know what that is,” again with the tag of “Mrz.bloody.” Correct?
       A:      Yes, sir.

34 RR 70-71 (emphasis added). 15

       But the State wasn’t done. The coup-de-grace was the State’s closing argument, when the

prosecutor exploited his knowing use of false testimony to full effect, thundering: “Does an

innocent man tell others to get rid of evidence after the fact? No. But we know he did.” 38 RR 75-



15


                                                                      See Patterson GJ transcript
at 1 RR 24-25.

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77. The closing argument is relevant both to whether the prosecutor knowingly misled the jury

(this Subsection), as well as to whether there is a reasonable likelihood that the knowingly elicited

falsehood affected the verdict (the next one). See Giglio v. United States, 405 U.S. 150, 152 (1972);

United States v. Barham, 595 F.2d 231, 242-43 (5th Cir. 1979); see also Wearry v. Cain, 136 S.

Ct. 1002, 1007 (2016) (considering prosecution’s closing in context of assessing materiality in

Brady claim and citing Napue). As reflected in the grand jury transcripts (above) and the transcripts

from Albert Love’s trial (below), the State knew that Cummings had not participated in this text

exchange.

       Questioning in the Love trial. That the State had knowingly elicited false testimony in

Cummings is also evident from review of the transcripts in the Love trial, which came later. There,

the State was committed and consistent in explaining that it was Love (using Cummings’ phone)

who sent the “take dem bullets” texts to his wife Takelia (who was using a phone belonging to her

sister, Sheronica Patterson). Prosecutor Greg Davis told the jury in his opening statement at Love’s

trial: “But on the day after the shooting, you’re going to see records that indicate that [Albert Love]

had a discussion again with his girlfriend, Takelia [Love], in which he instructed Takelia to, quote,

‘Get them bullets out of the house.’” App. 175-176.

       Four days later, when Love’s defense counsel objected to the introduction of evidence

about the text message exchanges, Davis again stated that the messages were instructions from

Albert Love to Takelia Love to destroy evidence. App. 183. When questioning Takelia, the Love

prosecutor said to her: “You didn’t send that first text. You didn’t use the word ‘bullets’ your

husband did. He used, ‘Take dem bullets . . .’” App. 186. In his Love closing, Davis proclaimed:

       The next morning, ‘Take dem bullets out the house,’ and you know now that he
       was talking to his wife, Takelia [Love]. ‘Take dem bullets out the house.’ And I ask
       you simply this, as you look at that exchange about the bullets, are those the words




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        of an innocent man or are they the words of a cold-blooded killer who is trying to
        cover his tracks immediately?

App. 189.

                                           *       *       *

        The grand jury transcripts, combined with the trial transcripts from Love and Cummings,

satisfy the falsity and knowledge requirements of Napue. See Blankenship v. Estelle, 545 F.2d 510,

513-14 (5th Cir. 1977). 16 Whether the State intended to elicit the false statement or merely failed

to correct it is immaterial; a State meets Napue’s knowledge criterion merely by allowing false

evidence to go uncorrected. See Napue, 360 U.S. at 269. The State’s behavior was appalling; it

knew that Cummings did not write the text messages when it aggressively elicited the false

testimony and leveraged it to the hilt in its closing arguments.

                2.      There is a reasonable likelihood that the false testimony affected the
                        jury.

        The standard for Napue materiality is whether, taking all the false testimony together, “the

false testimony could . . . in any reasonable likelihood have affected the judgment of the jury.”

Giglio, 405 U.S. at 154 (quoting Napue, 360 U.S. at 271). Napue’s “reasonable likelihood”

standard is lower than the Brady materiality standard, and is akin to a harmless-error rule: “It is a

brother, if not a twin, of the standard (‘harmless beyond a reasonable doubt’) for determining

whether constitutional error can be held harmless. A strict standard is appropriate because, as the



16
  What the prosecutors apparently knew at the moment they were misattributing the text messages
to Mr. Cummings—that he did not write them—is also supported by the state habeas record on
another claim not pursued here. In support of that claim, state habeas counsel introduced an
affidavit by Hofstra University Linguistics Professor Robert H. Leonard. App. 336-368. Dr.
Leonard was a forensic linguist, which means that he “applies the science of linguistic
investigation to issues of law . . . by applying rigorous, scientifically accepted principles of analysis
to legal evidence like contracts, letters, confessions, and recorded speech.” App. 341. After
carefully analyzing the string of texts at issue, he concluded that they are “not consistent with the
language patterns” in texts known to be written by Mr. Cummings. App.347.

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Supreme Court has explained, false testimony cases involve not only ‘prosecutorial misconduct,’

but also ‘a corruption of the truth-seeking function of the trial process.’” Barham, 595 F.2d at 242

(quoting United States v. Agurs, 427 U.S. 97, 104 (1976) and other internal citations omitted); see

also Strickler v. Greene, 527 U.S. 263, 299 (1999) (Souter, J., concurring in part and dissenting in

part) (explaining that reasonable-likelihood standard is a harmless-error rule).

       Because the prosecution was unusually thin, the false testimony was especially

consequential, and it likely affected the jury. As explained in the STATEMENT OF FACTS,

supra, the text messages were one of three planks making up the State’s case against Cummings,

and even the three-planked case was almost entirely circumstantial. The false testimony was

offered by a police officer, meaning that the jury was especially likely to credit it. 17 The State

berated Cummings himself as a non-credible witness when he denied writing the text messages.

37 RR 158-59. In doing so, the State feigned ignorance as to whose phone sent text messages that

auto-populated with a “Mrz.bloody” signature, because the actual source of the signature—

Takelia’s sister Sheronica Patterson, known to prosecutors—points clearly to Love as the sender.

37 RR 159.

       Most prejudicially, and as explained above, the State made a dramatic return to the wireless

provider records during closing, invoking the text messages as evidence of Cummings’ having

shot Hubert and of his contemporaneous association with other suspects in the case; “I want you

to think about the mobile phone records, and I want you to look at those records, because you’re




17
   See, e.g., Alison L. Patton, The Endless Cycle of Abuse: Why 42 U.S.C. 1983 is Ineffective in
Deterring Police Brutality, 44 HASTINGS L. J. 753, 765 (1993) (“[J]uries almost always believe the
police.”) (internal citations omitted). Courts across jurisdictions often try to control for this by
instructing jurors that law enforcement testimony must not receive any greater weight than anyone
else’s testimony. See, e.g., United States v. Nash, 910 F.2d 749, 755 (11th Cir. 1990); United States
v. Gelb, 881 F.2d 1155, 1165 (2d Cir. 1989).

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going to have them back there with you, because I think that the evidence shows exactly what

Rickey did on the night all this took place.” 38 RR 51. The fruits of prosecutor misconduct are

especially prejudicial when used during the State’s closing, because those comments are presented

to the jury moments before it begins deliberations. See United States v. Johnston, 127 F.3d 380,

399 (5th Cir. 1997).

       B.      The Napue Claim is Unexhausted And Not Defaulted.

       The Napue claim is not exhausted, and Cummings will be submitting a request under

Rhines, 544 U.S. 269, to stay and hold in abeyance these proceedings so that he may exhaust it in

state court, along with other unexhausted claims for which state remedies are available. There

remains a clear path to merits consideration of the Napue claim in state court. See Tex. Crim. Pro.

art. 11.071 § 5.

III.   THE CONVICTION AND SENTENCE VIOLATE DUE PROCESS BECAUSE THE
       PROSECUTION ENGAGED IN MISCONDUCT WHEN IT MISATTRIBUTED
       CRUCIAL TEXT MESSAGES TO CUMMINGS.

       Faced with weak evidence to support its prosecution, the State knowingly misattributed

inculpatory text messages to Cummings. Specifically, and as explained in the STATEMENT OF

FACTS, supra, one pillar of the prosecution’s case against Cummings consisted of inculpatory

text messages in which the sender told the receiver to get rid of bullets in the receiver’s home. At

trial, the prosecution attributed these messages to Cummings—characterizing the message as part

of Cummings’ “cover up”—although it is now clear that Albert Love, and not Cummings, was the

participant in the pertinent text exchanges, and that the prosecution knew that all along. This claim

is unexhausted and a Texas remedy remains available, so Cummings will be requesting the stay-

and-abeyance order necessary to exhaust it.

       The facts supporting this claim are set forth below and in the other claims in this Petition,

which are incorporated by this specific reference as if fully set forth herein. This claim differs from


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the Napue claim in that it does not require false testimony, and centers on the prosecution’s

questions and use of testimony, whatever the truth status of any testimony formally elicited.

       A.      The Prosecutor Misconduct Was A Due Process Violation.

       When prosecutors ask questions that are “clearly improper and highly prejudicial,” they

potentially commit “serious prosecutorial misconduct” and can transgress an obligation “to refrain

from improper methods calculated to produce a wrongful conviction[.]” United States v. Johnston,

127 F.3d 380, 395–96 (5th Cir. 1997) (internal citations and quotation marks omitted). A

prosecutor misconduct claim requires, generally speaking, a showing of impropriety and prejudice.

See Trottie v. Stephens, 720 F.3d 231, 253 (5th Cir. 2013). For a misconduct claim based on

improper prosecutor comments, the improprieties are sufficiently prejudicial if they render the trial

fundamentally unfair within the meaning of the Fourteenth Amendment’s Due Process Clause. See

Kirkpatrick v. Blackburn, 777 F.2d 272, 281 (5th Cir. 1983). Cummings meets both criteria.

               1.      The prosecutor repeatedly, deliberately, and falsely indicated that
                       Cummings wrote the inculpatory text messages.

       As set forth in Section II.A, supra, the prosecution appears to have deliberately crafted and

dispensed to the jury the misimpression that Cummings sent the inculpatory text messages about

getting rid of evidence—knowing that the text messages were sent by Albert Love. That material

is hereby incorporated by reference.

               2.      The misattribution of the text messages rendered the trial
                       fundamentally unfair.

       To establish fundamental unfairness, a federal habeas claimant must show “either

persistent and pronounced misconduct or that the evidence [against him] was so insubstantial that

(in probability) but for the remarks no conviction would have occurred.” Felde v. Blackburn, 795

F.2d 400, 403 (5th Cir. 1986). Cummings actually satisfies both variants of the unfairness




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inquiry—in fact, the text messages became such an important part of the prosecution precisely

because the case was so weak and circumstantial.

        In making a collateral determination of fundamental unfairness, this Court must consider:

(1) the magnitude of the prejudicial effect of the comment, (2) the effect of any curative

instructions, and (3) the strength of other evidence indicating guilt. See United States v. Iredia,

866 F.2d 114, 117 (5th Cir. 1989). There was no curative instruction given, so the inquiry focuses

on the prejudice of the improper comments, in light of other evidence demonstrating guilt. In

appropriate situations, the effects of multiple improprieties can be cumulated in order to evaluate

the fairness of the proceeding. See, e.g., Johnston, supra, 127 F.3d at 402 (“Weighing the evidence

of Hill’s guilt against the extreme prejudice he suffered due to the prosecutors’ misconduct, we

conclude that the cumulative effect of the errors substantially affected Hill’s right to a fair trial.”);

United States v. Garza, 608 F.2d 659, 665 (5th Cir. 1979) (“While any single statement among

those we have isolated might not be enough to require reversal of the conviction and, indeed, some

clearly would not we think it beyond question that the prosecutor’s improper comments, taken as

a whole, affected substantial rights of the defendant.”). The effects should be cumulated here,

because all of the pertinent improprieties are deliberate misstatements of the same thing, and are

therefore mutually reinforcing. See Johnson, 127 F.3d at 402 (cumulating over improprieties that

consist of the same content).

        The effect of the false text-message attribution is robustly set forth in Subsection II.A.2

infra, and is hereby incorporated by reference.

        B.      The Claim is Unexhausted.

        The misconduct claim is not exhausted, and Cummings will be submitting a request under

Rhines, 544 U.S. 269, to stay and hold in abeyance these proceedings so that he may exhaust it in

state court, along with other unexhausted claims for which state remedies are available. There


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remains a clear path to merits consideration of the claim in state court. See Tex. Code Crim. P. art.

11.071 § 5.

IV.    THE STATE WITHHELD FAVORABLE,                            MATERIAL         EVIDENCE         IN
       VIOLATION OF BRADY V. MARYLAND.

       By withholding evidence that was favorable and material to the defense, the State violated

Brady v. Maryland, 373 U.S. 83 (1963). Prior to trial, Cummings’ defense counsel requested that

the prosecution turn over all favorable evidence. I CR 145. Notwithstanding the request, the

prosecution withheld evidence that would have allowed Cummings to discredit two essential

prosecution witnesses, question the law enforcement investigation, and cast doubt on the

prosecution’s overarching theory of the homicides. The Brady claim was not adjudicated on the

merits in state court, and is therefore unrestricted by 28 U.S.C. § 2254(d). It is also unexhausted

and a Texas remedy remains available, so Cummings will be requesting the stay-and-abeyance

order necessary to exhaust it.

       This claim is based on the following facts and law, and on the allegations raised in other

claims in this Petition, which are incorporated herein by this specific reference.

       A.      The State Violated Due Process By Withholding Multiple Pieces of
               Exculpatory, Material Evidence.

       “[T]he suppression . . . of evidence favorable to the accused upon request violates due

process where the evidence is material to either guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.” Brady, 373 U.S. at 87. The prosecutor’s duty includes an

affirmative duty to learn of any favorable evidence known to other law enforcement entities acting

on the government’s behalf. See Kyles v. Whitley, 514 U.S. 419, 437 (1995).

       In this case, the State suppressed four categories of evidence favorable to Cummings: (1)

evidence undermining the credibility of testimony from Micha’el Atkins, who told the jury that he

heard Cummings tell Atkins’ father, while the two were sharing marijuana in the dining room, that


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Cummings was going to shoot someone; (2) evidence undermining the credibility of testimony

provided by Nickoll Henry, who testified that she saw Cummings outside her door trying to un-

jam a gun after the shooting; (3) information showing that Cummings did not send inculpatory text

messages about getting rid of bullets; and (4) information about lead investigator Steven January’s

relationship with the victim’s family.

       The suppressed evidence was material because, evaluated cumulatively, there is a

reasonable probability that had the evidence been disclosed to the defense, the result of the

proceeding would have been different. See Kyles, 514 U.S. at 434 (internal citations omitted)

(requiring cumulative analysis); United States v. Bagley, 473 U.S. 667, 682 (1985) (stating

reasonable probability standard).

               1.      The prosecution withheld information, favorable to Cummings,
                       tending to undermine Micha’el Atkins’ testimony.

       Micha’el Atkins was a key witness for the prosecution. In the month leading up to

Cummings’ trial, State investigator Steve January interviewed the seventeen-year old Atkins at

least three times. Atkins’ interview responses were inconsistent with his subsequent trial

testimony, containing no reference to the part of the testimony that was most damaging to

Cummings: that Cummings allegedly told Atkins’ father that he (Cummings) was going to shoot

someone. Before the trial, the State disclosed neither the existence nor content of these interviews.

They were detailed in investigator January’s later-discovered logs.

       Atkins testified that, on the night of the shootings, he was in the Villas parking lot and saw

his father pull up in a car driven by a women named Tilly. 34 RR 88. As the car was pulling into

the complex, it approached Cummings, who was walking from his car. 34 RR 88. When Tilly’s

car stopped short of Cummings, Atkins said he heard Cummings say, in the car’s direction, “If you

had hit me with that car, I would have shot this car up.” 34 RR 88. Atkins’ father then got out of



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the car and walked with Cummings into the apartment. 34 RR 88. The two talked as they walked,

as if the incident was no big deal. 34 RR 109-10. Atkins’ father and Cummings knew each other

from the neighborhood and through a mutual friend. 36 RR 88.

       Atkins also testified that he heard Cummings make a more threatening statement a few

minutes later. Atkins said that later that evening he was at the Villas, inside the apartment of a

woman with whom his father had a child. 34 RR 85. Atkins said he was in one of the back

bedrooms with his sister, while his father and Cummings were in the dining room talking and

smoking marijuana. 34 RR 90. Atkins told the jury that he overheard Cummings say “something

about he was going to shoot somebody, but we didn’t know who he was talking about.” 34 RR 91.

The prosecutor then confirmed, twice, that Atkins heard Cummings make this statement. 34 RR

91. Atkins went on to testify that after he overheard the comment, Cummings received a phone

call, and then left the apartment. 34 RR 91-92. About 20 minutes after Cummings left the

apartment, Atkins heard gunfire. 34 RR 92.

       Suppression of information favorable to the defense. Brady material includes impeachment

evidence, see Bagley, 473 U.S. at 676, and prior inconsistent statements are valuable impeachment.

See Kyles, 514 U.S. at 444 (“the evolution over time of a given eyewitness’s description can be

fatal to its reliability”). The State did not disclose the fact that January had interviewed Atkins at

least three times prior to trial, and that the content of these interviews was favorable to Cummings.

The prior interviews were documented in January’s yet-to-be-disclosed investigative logs and in

corresponding notes. 6 WRR 176-79. Only during a post-conviction inspection of the district

attorney files were the materials discovered. App. 422.

       If the logs had been disclosed, defense counsel would have been alerted to the fact that the

prosecutor’s investigator took young Atkins out of class three times. That disclosure would have




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prompted the defense to ask how January’s treatment made the 17-year-old feel. Atkins would

have told the jury he thought January was harassing him, App. 417, and that by the time he was

brought before the District Attorney, he was in tears because he was threatened. App. 418.

       The account offered in the undisclosed interviews differed substantially from Atkins’

testimony. Specifically, in the first two interviews, documented in Steve January’s subsequently

discovered logs as having occurred on September 18 and October 9, 2012, Atkins never mentioned

overhearing any conversation between Cummings and his father, or otherwise hearing Cummings

say he was going to go shoot someone. App. 65, 70. Finally, on October 19, three days before trial,

January and prosecutor Greg Davis re-interviewed Atkins a third time, at Atkins’ high school.

App. 73. The substance of that interview is not documented in January’s logs. Id. However, it is

now known that on that third occasion, January and Davis not only went to Atkins’ school, but

that they then took him to the MCDA’s Office to meet with the District Attorney, Abel Reyna.

App. 418. Atkins was scared and crying. Id. Only after MCDA personnel “pressured” him and

“threatened” him with jail did Atkins say (and apparently agree to testify) that Cummings had

come to the apartment the night of the killings and talked to his dad. Id.

       Disclosure of the logs would have led to impeachment of Atkins—whose post-conviction

affidavit shows that, once he was out of the prosecution’s clutches and being questioned by other

officers of the court, he was willing to disclose that he had not heard Cummings say anything about

shooting during a conversation in the apartment. App. 417-419.

       Materiality. The suppression of information about Steve January’s three prior interviews

with Atkins, along with other suppressed evidence, had a reasonably probable effect on the

outcome, alone or considered cumulatively with other evidence. The materiality of evidence “is

best understood by taking the word of the prosecutor.” Kyles, 514 U.S. at 444. The prosecution




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relied heavily on Atkins’s trial testimony at closing, theatrically referencing the statement Atkins

attributed to Cummings—“I’m going to shoot somebody”—no less than seven times. 38 RR 24,

27, 28, 74, 75. The closing also included a request that the prosecutor said he had not made in 35

years: that the jurors take the transcript of the Atkins testimony with them to deliberations, so that

it could remember him recounting Cummings’ declaration to his father, over a dining-room joint,

that he intended to kill someone. 38 RR 73-74.

       The undisclosed prior interviews, during which Atkins made no mention of the statement

that Atkins subsequently alleged Cummings to have made, would have been used to impeach

Atkins’s credibility. Had Cummings’ trial counsel known of the prior interviews, and their material

omissions, an interview with Atkins would have revealed the conditions under which he initially

provided that information to the State. And if Cummings had known that Abel Reyna and two

others from the MCDA Office dragged Atkins out of school to conduct the interview, Cummings

would have learned about how the State first “harassed” then “pressured” and “threatened” Atkins,

and how Reyna told Atkins that he “would go to jail” if he did not testify. App. 418. After the

threats and pressure, Atkins told Reyna et al. that Cummings had come to his dad’s girlfriend’s

apartment on the night of the shooting and talked with his father. Id. To be clear, Atkins has

recanted; he denies hearing Cummings say that he “was going to shoot” anyone when he was in

the apartment; the only reference to shooting was apparently in jest when the car the elder Atkins

was in came close to Cummings. App. 417-419. According to Atkins, “the prosecutors twisted my

words.” App. 418.

       Because Nickoll Henry’s testimony was so precarious, the State needed a credible witness

to support its theory. Atkins was that witness, and the State underscored his credibility at closing:

       Miche’al Atkins [sic]. There is absolutely nothing before any of you that shows that
       young man had any bias toward this man over here, that he had any reason



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       whatsoever to lie to you, and that he had anything whatsoever to gain by coming
       down here and telling you the truth or a lie. In fact, the evidence is pretty clear from
       what you’ve seen that he had everything to lose by coming down here, a man that
       was scared for his life, who sat up there, and I think we ought to be proud that there
       is still young people in this community like Miche’al [sic] Atkins that in the face
       of evil like Rickey Cummings is still willing to come down here and tell you the
       truth that you need to hear in order to reach a true verdict in a case like this.

38 RR 73. Several minutes later, the prosecution continued: “Does an innocent man sit there at a

dining room table and tell a companion he’s about to go out and shoot a man? No. But you know

what Rickey Donnell Cummings did it, because he’s not an innocent man.” 38 RR 75.

       The prosecutor was misleading the jury. Atkins had reasons to allow the prosecutor to twist

his words and get him to testify to a statement Cummings never made—Atkins was harassed,

pressured, and threatened. Cf. Kyles, 514 U.S. at 445-46 (discussing materiality of evidence that

“would have raised opportunities to attack not only the probative value of … evidence … but the

thoroughness and even the good faith of the investigation”).

               2.      The prosecution withheld information, favorable to Cummings,
                       tending to undermine Nickoll Henry’s testimony.

       Brady obligations include obligations to disclose sources of potential bias affecting

prosecution witnesses. See LaCaze v. Warden, 645 F.3d 728, 736-37 (5th Cir. 2011), op’n amended

on denial of reh’g, 647 F.3d 1175 (5th Cir. 2011); Smith v. Black, 904 F.2d 950, 967 (5th Cir.

1990), rev’d on other grounds, 503 U.S. 930 (1992). In this case, the State failed to do so with

respect to Nickoll Henry, the aunt of Bible’s girlfriend and one of its key witnesses. Henry testified

that, following the shooting, she saw Cummings standing ten feet from her in her entryway, trying

to un-jam a firearm. 32 RR 236, 249. Trial counsel attacked her testimony, including her

credibility, but the prosecution withheld information that would have significantly amplified those

attacks. Specifically, it would have corroborated the defense team’s attempt to show that, perhaps

because of the grandiosity typically associated with her mental health problems, Henry was



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reporting as a witnessed experience what was in actuality a neighborhood rumor circulating in the

immediate aftermath of the shooting.

       The importance of the suppressed evidence, discussed below, is evident from the obvious

problems with Henry’s existing testimony, the accuracy and credibility of which were already on

a razor’s edge. See Strickland, 466 U.S. at 696 (explaining that a finding with weak support in

record is more likely to be affected by error). Henry testified that, on the night of the shooting, her

“head was pounding,” so she took a “Tylenol PM” and laid down on her living room couch. 32

RR 232-33. At the time she testified, Henry was on probation for an assault charge, and had

completed probation for credit card abuse. 32 RR 229. She admitted to using marijuana and

cocaine, 32 RR 252-53, 280, and had been diagnosed with post-traumatic stress disorder, psychotic

disorder, paranoid schizophrenia, and borderline personality disorder. 32 RR 248, 251. She was

also suffering from paranoid delusions. 32 RR 250-51.

       As for her purported identification of Cummings outside her apartment, reported to police

two days later, Henry testified that she was “100 percent sure” it was him. 32 RR 237. But, she

also testified that the person she claimed was Cummings was wearing a hooded sweatshirt that

covered his head. 32 RR 238-39. This type of clothing would have covered the person’s hair,

hairline and other identifying features. Notwithstanding the fact that the person’s appearance was

shrouded, Henry testified that she was sure it was Cummings because she saw him, and “looked

him eye to eye.” 32 RR 239. Yet, when asked about knowing Cummings, she admitted that she

“didn’t really know him like that,” but did know his brother, Tyrece. 32 RR 239. During testimony

geared at distinguishing whether, when she identified Cummings, she had identified (on the one

hand) a stranger or (on the other) someone she knew and who had become the subject of

widespread neighborhood rumors, her account evolved from “not knowing [Cummings] like that,”




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to having seen him “a couple of times,” to having seen him “lots of times.” 32 RR 239. (It is now

known that Henry bore substantial animus towards Cummings. 18).

       Since Cummings’ trial, however Henry has told Cummings’ state post-conviction counsel

that her trial testimony—that she was “100 % certain” that she saw Cummings racking a gun at

her door on the night of March 28, 2011—“had not been truthful.” 19 App. 444-445. Henry told

post-conviction counsel “emphatically” that she could not say who the man in the hoodie was or

whether she knew him, as it was very dark and it all happened so fast. App. 445. Henry confirmed

her uncertainty as to the identity of the person outside her door in a follow up conversation with

state post-conviction counsel about a week later. App. 447.

       At trial, Henry testified that after she saw Cummings, she called 9-1-1. 20 32 RR 238.

Although she eventually claimed to see Cummings after the shooting, ten feet from her and in her

entryway with a gun, Henry never mentioned this fact to any police officer on the scene. Nor was

there evidence that she mentioned it when she called 9-1-1. It was not until two days later that

Henry mentioned Cummings. Henry testified that she did not immediately tell the police about her




18
    At Albert Love’s trial, Nickoll Henry acknowledged animus toward Cummings that was
improperly withheld at Cummings trial, which belied her claim to have barely known him and
which stemmed from an incident two weeks prior to the shootings. App. 179-180. Henry said that
she saw Cummings with a gun in one hand and his other hand on her son’s shoulder. App. 179-
180. Henry said she told Cummings that if he didn’t “get his damned hands off [her] son, they
were going to have a problem.” App. 180.
19
    Henry was in jail facing charges when she spoke to Cummings’ state post-conviction counsel.
After that conversation, and after consulting with her lawyer, Henry sent a letter and affidavit to
state post-conviction counsel stating that at Cummings’ trial, she “answered all of the questions
asked me . . . as truthfully as possible based on the facts known to me and my understanding of
the questions.” App. 452. She also indicated that, if called on to testify again about her testimony
at trial, her testimony would be the same as when she testified at trial if asked similar questions.
Id.
20
   The 9-1-1 call was never admitted at trial. While there is an indication that 9-1-1 calls were
provided in discovery to trial counsel, no such calls were found in counsels’ files. CDs identified
as containing 9-1-1 calls were blank.

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“eye-to-eye” encounter with Cummings outside her apartment because she never talked to the

police that night. 32 RR 245. In her own testimony, however, she admitted talking to the police

when they arrived at the Villas on the night of the shootings, notifying them before they left that

there was a shell casing on the mop in her apartment. 32 RR 240. Henry testified that she told

investigator Steve January “the very next day,” about what she claimed to have seen. 32 RR 246.

January’s own reports revealed that Henry actually gave that statement two days after the shooting,

on March 30. App. 27-30.

       Henry told the jury that, at the same meeting with January, she viewed a set of photographs

and identified Cummings from the photographs. 32 RR 247-48. What she did not say, and what

was not disclosed to the defense, was that prior to viewing the photos, January told her that

Cummings had already been identified as a person involved in the shooting. 21 App. 445-446..

       Substantial trial questioning of Henry revolved around the fact that, in April 2011, less than

a month after the shootings, she was charged with, and later indicted for, aggravated assault with

a deadly weapon. 32 RR 264. Her appointed attorney, Alan Bennett, made contact with Steve

January in May of 2011, after learning that Henry was a witness in the Villas shooting and that

January was the detective working the case. 35 RR 76. Bennett stayed in contact with January

while Henry’s case was pending, and “let him know that things were going forward pretty

smoothly.” 35 RR 79. Henry’s felony charge was eventually reduced to a misdemeanor, she pled

guilty to the reduced charge, and received a sentence of two years’ probation. 35 RR 79-80; 32 RR



21
  Because Henry tells so many false (or at least inconsistent) stories, it is unclear at this time
whether the story she told Cummings’ post-conviction attorney was true. If it was true, then it was
Brady information that the State should have disclosed before trial. If it was false, then it is
evidence of Henry’s unreliability that therefore supports both Cummings’ innocence and a
miscarriage-of-justice showing. A hearing is necessary because, if Henry’s claim is proved true,
Cummings is entitled to relief under Brady, and if proved false, it would contribute to the larger
body of evidence showing a miscarriage of justice.

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280. The sentence included “a year suspension of a year county jail time.” 32 RR 279-80. Bennett

conceded that such a reduction was “the exception” under the District Attorney’s administration,

35 RR 80, and that he had other clients that “did not get that kind of offer” with similar facts, 35

RR 84. After her plea, and while on probation, a motion was filed to revoke it for a drug-related

violation of its terms. 32 RR 252; 275-76. Facing the year in county jail, Henry was instead

mandated to treatment, and the motion to revoke her probation was withdrawn. 32 RR 276.

       In sum, and even in the absence of the suppressed evidence, Henry’s testimony sat

precariously close to the edge of non-credibility. Referencing the extensive rumors circulating

about Cummings’ involvement in the immediate aftermath of the shooting, trial counsel impeached

her testimony in an effort to show that she was repackaging those rumors as an eyewitness

encounter—by suggesting that her admitted and documented mental health issues caused her to

falsely identify Cummings, 32 RR 250-52; 38 RR 43, 46-47; that her drug use affected her

recollection, 32 RR 253; 38 RR 47; and that, in (implicit or explicit) exchange for her testimony,

she was receiving lenient treatment with respect to her current probation status, 32 RR 282.

       Suppression of information favorable to the defense. There were multiple pieces of

information about Nickoll Henry that the State withheld: (1) that a woman named Manuela Garcia

had spent the day with Henry prior to the shooting; (2) that, at the time, Garcia had been using

PCP; (3) that Henry was passed out on her couch after she had spent the day with Garcia, and that

in recounting the shooting to Garcia the next day, Henry said nothing about having come face to

face with a man with a gun, let alone Rickey Cummings; and (4) throughout the investigation,

Henry and her family received material benefits from investigator Steve January.

       Suppressed investigative logs compiled by Steve January show that, prior to trial, on

September 12, 2012, January interviewed a woman named Manuela Garcia, who knew Nickoll




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Henry and her family well, including: Henry’s niece, Jacqueline Rocha; her brother, Larry Henry;

and her sister, Natalie Rocha (who had been convicted of a murder in Waco). App. 64. Garcia and

Henry had spent the day of the murders together. Id. During that interview, January took notes,

and he later recorded the interview in his investigative logs. According to the log, on the day of

the shooting, Garcia and Henry traveled to Dallas to shop. Garcia admitted to using PCP at the

time. Id. Despite her contemporaneous drug use, Garcia remembered that she and Henry returned

to Waco before dark. Id. The “very next day during daylight hours,” Henry called Garcia and told

her about the shooting. Id. Henry told her that “Jacqueline Rocha’s boyfriend had been shot in the

arm and 3 more people were in the car.” Id. According to Garcia, those three were either shot or

killed, but she couldn’t remember how many died. There is no mention in January’s report that

Henry told Garcia that she saw Rickey Cummings, or anyone, outside her apartment with a firearm.

Id.

       Manuela Garcia’s existence, Steve January’s interview with her, and the substance the

interview, all contained in January’s logs, were not disclosed to Cummings’ trial counsel. 6 WRR

178. That information would have been or given rise to powerful impeachment evidence to attack

Henry’s credibility. That Garcia was with Henry the day of the murders and using PCP then is

clearly information favorable to the defense—Henry had an extensive history of drug use, 32 RR

252, 267-70, a changing story, and an account in which she described herself as having been asleep

on the couch because she had a pounding headache 32 RR 232. That Garcia was with Henry and

using PCP obviously gives rise to the question of whether Henry, who admitted to her serious drug

abuse on the stand, was also using hallucinatory drugs or was otherwise impaired that day. That

Garcia was a close friend with Henry and spoke with Henry about the shootings just hours after




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they occurred—when Henry failed to mention that she had seen a perpetrator in her entryway—

would have been a significant source of impeachment.

       The prosecution also failed to disclose that, prior to and throughout Cummings’ trial, Steve

January provided Nickoll Henry and her family with material benefits. January himself provided

Henry with cigarettes on multiple occasions and, also on multiple occasions, individuals acting on

his behalf provided Henry and her mother with boxes of food. January confirmed the substance of

these claims during the state post-conviction hearing. 3 WRR 32-36. This information was

suppressed, and it was favorable because it would have been a permissible area of cross-

examination on the issue of a government witness’s bias.

       Materiality. Nickoll Henry’s testimony was an important part of the State’s circumstantial

case. “It is a commonplace that eyewitness testimony is highly regarded by juries, rather more than

its objective appraisal might warrant.” Smith v. Black, 904 F.2d at 967. The suppression of

information about Manuela Garcia and the material benefits provided to Henry, along with other

suppressed evidence, had a reasonably probable effect on the outcome.

       This information about Henry would have powerfully amplified the defense’s ability to

prove what it was implying on its cross examination: that Henry was repackaging as an eyewitness

experience the information that had been circulating as neighborhood rumor in the thirty-six hours

following the shootings. Henry’s delay in reporting, her internally inconsistent and contradictory

testimony, her criminal history, her drug use, her mental health issues, and the fact that she had

blatantly violated probation without revocation during the pendency of Cummings’ proceedings,

all made her credibility, and the “facts” anchored to it, quite precarious.

       For example, jurors armed with Manuela Garcia’s testimony would have wondered why

Henry, when talking to a good friend only hours after the shooting, failed to mention that she’d




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come face to face with the killer, but, days later, when talking to law enforcement, reported seeing

Cummings. The defense would have provided a ready answer: she hadn’t seen Cummings. And if

jurors had known that Henry, a serious drug user who reported being passed out with a “pounding

headache” at the moment of the shooting, had spent the day with someone who was using

hallucinogenic drugs, then they would have been alerted to the possibility that Henry, too, was

impaired when the shootings occurred. Information of this sort is part of “a crucial assessment for

the jury in its deliberations.” Williams v. Whitley, 940 F.2d 132, 134 (5th Cir. 1991) (commenting

on materiality of suppressed information showing witness lied in reporting methadone use).

       So too would information about Steve January’s material support, withheld by the

prosecution, been effective in impeaching Nickoll Henry’s credibility. When Henry told state post-

conviction counsel that she had testified falsely, she also detailed how January and others at the

district attorney’s office had provided her with material benefits. App. 446. Specifically, she

discussed how two men, who said they were acting on January’s behalf, provided her and her

mother with large boxes of food—on at least three occasions. Id. She also mentioned receiving

cigarettes directly from January and new clothes and shoes for trial from a woman at the MCDA’s

office. App. 446-447. Henry’s statements about her false testimony in the context of her describing

the benefits she received is significant. The presence of such support represents an obvious

incentive to shade testimony in favor of the supporter’s preferred outcome, and January was never

called to the stand so that he could be asked if such support was offered. Had January’s logs, and

other evidence of material support been disclosed, it also would have amplified other evidence that

law enforcement personnel on the Cummings case were working behind the scenes to improperly

incentivize and secure favorable testimony. What was otherwise an isolated data point—a

suspiciously deferred action on a probation violation—would have been connected to other




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inducements from law enforcement, and would have been cohered for the jury in the more

persuasive form of a pattern.

               3.      The prosecution withheld information showing that Cummings did not
                       write inculpatory text messages the prosecution attributed to him.

       Prior to Cummings’ trial, the prosecution knew that Cummings did not send the “take dem

bullets” text the day after the shooting. See Subsection II.A, supra. Neither this fact, nor the

information which supported such knowledge, was disclosed to defense counsel prior to or during

trial. See Section II.A, supra. Again, only on June 12, 2015, long after OCFW filed the initial state

habeas application, did it learn of this exculpatory information. App. 422. At the time of

Cummings’ trial, the prosecutors knew that Albert Love, one of Cummings’ co-defendants, sent

the “take dem bullets” message to his then girlfriend (now wife), Takelia Love.

       Suppression of information favorable to the defense. Brady requires disclosure of

information, not just documents. See Bagley, 473 U.S. at 677. Here, the prosecution failed to

disclose the information that allowed it to “know” that it was Albert Love who sent the “get dem

bullets” text messages, not Cummings. This information was plainly favorable to the defense.

       Information showing that the prosecution knew that Cummings did not send the “take dem

bullets” text messages would have eliminated the significance that the prosecution attributed to

them at trial: that he committed a crime, was seeking to dispose evidence, and was coordinating

with an extended network of conspirators. Additionally, it would have eliminated an area of cross-

examination that the prosecution used to impeach Cummings. Cummings adamantly denied

sending the texts. 36 RR 101; 37 RR 158. The prosecution used Cummings’ denials to attack his

credibility, asking him on cross-examination whether a “mystery person” sent them. 37 RR 162.

       Materiality. The suppression of information that Cummings did not write the inculpatory

text messages, along with other suppressed evidence, had a reasonably probable effect on the



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outcome. The effect of the text messages on the trial outcome is set forth fully in Subsection II.A.2,

supra, and is hereby incorporated by reference.

               4.      The State violated due process by suppressing information about Steve
                       January’s involvement with the victim’s aunt.

       The State’s failure to call Steve January for testimony, when he was the pivotal figure in

the investigation, was baffling. The reason might be straightforward. January is now widely

believed to have been in a romantic relationship—prior to, during, and after his investigation—

with Charlotte Woods, Hubert’s aunt. If true, then the existence of this relationship was favorable

information never disclosed to Cummings or his counsel.

       If true, the prosecution’s failure to disclose January’s relationship to the victim’s family,

when considered alongside other unlawfully suppressed content, was a material suppression. Such

information would have been a crucial link to pockets of evidence about over-aggressive

investigation that appeared otherwise disconnected: why law enforcement quickly became so

preoccupied with Cummings to the exclusion of other clear suspects, why January served

subpoenas for unlawful grand jury proceedings to threaten witnesses, why multiple witnesses have

identified January as a source of coercion or inducement, and why January effectuated a

warrantless search of wireless provider records.

       Suppression of information favorable to the defense. Charlotte Woods’ name appears

throughout Steve January’s investigation, yet nowhere is there any acknowledgment of their

personal connection. In fact, in his reports, January depicts Woods as just another witness. Woods

was one of the first people January spoke to when he arrived at the Villas after the shooting.

According to January’s report, as he was maneuvering his vehicle in an attempt to get to the crime

scene, he was “out on spring st when [he] was approached by a BF that identified herself as




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Charlotte Woods.” App. 21. January wrote the report so as to suggest he did not know Woods

when she approached him.

        Without detailing his source, Steve January reported that, on the night of the shooting, he

“knew” that Hubert’s vehicle had been brought to the apartment complex and had been pointed

out to him (a white Lincoln Town Car). App. 21. January reported that he “would later run the

registration at the PD and found out it was registered to [Hubert’s] aunt that [he] had spoken to

previously by the name of CHARLOTTE WOODS at 309 Turner.” Id. That same night, a member

of the Crime Scene Unit, Officer Vaughn, was told by January that one of the victims had a white

Lincoln Town Car parked in the parking lot and that January wanted to release the vehicle to

“family members.” App. 25. Only hours into the investigation of a double murder, January ordered

the release of one of the victims’ cars to the victim’s family, without the car having been properly

processed for evidence. This vehicle could have contained crucial evidence in the investigation.

But, because January was so quick to release the vehicle to Hubert’s family, any opportunity to

discover evidence was lost.

        Belief that Steve January was in a relationship with one of the victim’s family members

ran deep, and is widespread across the community. Specifically, four different people have signed

declarations acknowledging the likely existence of this undisclosed relationship. Two others have

provided corroborating information, but have elected not to sign any written statements at this

time.

        Pastor Richard Thomas, who has led the congregation at the Life Cathedral Worship Center

in Waco for twenty-two years, remembers hearing that “Detective Steve January had a relationship

with [Hubert]’s aunt.” App. 439. Patricia Chisolm-Miller, the current Commissioner for Precinct

2 in McLennan County, and a resident of Waco for fifty years, remembers from formal meetings




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with family members from both the Bowers and Hubert murders, that “there was some type of

personal/intimate relationship” between Steve January and someone in Keenan Hubert’s family.

App. 442. Shaniese Iglehart, who was dating Emuel Bowers when Bowers was killed, remembers

that “there was talk in the community,” and it was “commonly known” that January had a

relationship with one of Hubert’s family members. App. 457. Igelhart does not remember that

family member’s name, but does know that the person is Aphton Ochoa’s mother. (Ochoa is

Woods’ daughter.) Igelhart recalls that people were saying that January was in an intimate

relationship with Hubert’s aunt, and Hubert and Ochoa are first cousins. Id. Annetta Wilkerson,

Rickey Cummings’ aunt, went to school with Woods. App. 441. Ms. Wilkerson has also heard that

Woods and January were in a relationship “and even had a daughter together.” Id. While she has

not confirmed it, she knows that the relationship has been “a big thing that a lot of people have

talked about.” Id.

       In addition to these individuals from different segments of the community, two additional

people have provided corroborating information. One of the individuals, whose identity is not

being disclosed at this time, provided detailed firsthand knowledge regarding the undisclosed

relationship. This individual, who grew up with Aphton Ochoa and went to school with her,

remembers being at Ochoa’s house, where she lived with her mom (Woods), and the individual

remembers Steve January coming over to the home. App. 454. This person recalls asking Ochoa

and Woods who the “white man” was and why the police were at the house. Id. Woods said that

January was a “friend.” Id. This individual also remembers Ochoa explaining that January would

buy Woods gifts, and saw January as Woods’ “sugar daddy.” Id.

       Another piece of corroboration appears in a WPD offense report from August 2011. On

August 16, Ochoa and Freddie Hilliard, Emuel Bowers’ uncle, had a run-in at a convenience store.




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App. 34-36. Mr. Hilliard called 9-1-1 around 10:20 pm to report that Ochoa was intimidating him.

App. 49. When the police arrived on the scene, they spoke to Mr. Hilliard, and, after interviewing

him, opened a retaliation case with Ochoa as the “suspect”. App. 34-36. The offense report

indicates that, on the following day, Ochoa walked into the WPD “as directed by Det. Steve

January on the night of 8/16/11, to give a statement.” App. 37. Ochoa arrived at the police station

with a three-page, pre-written, WPD “Statement of Witnessed Actions,” in hand. App. 50-52. The

statement identified the “Officer taking statement” as January, and the time and place of the

statement being 10:30 pm, at the convenience store. App. 50. Officer Mary Crook, who met with

Ochoa made the following entry in her report:

       Ms. Ochoa gave her written statement to me. The time on the original statement
       was 2230 as that was the time she contacted Det. January. Due to the statement
       being given to me, I marked out Det. January’s name and replaced it with mine. I
       also marked out the original time and put the correct time 1110 hours on the form.
       These changes were initialed by me.

App. 37. Ochoa’s arrival at WPD with a pre-written witness statement with January’s name on

it—that was supposedly made within minutes of Hilliard calling 9-1-1 the night before—suggests

something quite beyond normal police protocols.

       Yet another piece of corroboration appears in another police report. In May 2013, WPD

officers happened upon a disturbance at the residence of Woods and Ochoa. App. 44-46. When

the officers arrived, Woods told them that she and her two daughters had been attacked by another

group. App. 45-46. As the officers interviewed the witnesses and took written statements, Woods

“kept asking for Detective January.” App. 46. As January no longer worked for the WPD, Woods

agreed to speak to someone else regarding the case. Id. Although a report was made, the responding

officer advised Ochoa that the incident seemed “to be like a mutual fight between all parties

involved.” App. 47. Three months later, Woods contacted WPD to check on the case. Id. Woods




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was told that “this was a case of a mutual fight between the involved parties,” and if the girls came

back to her house again, she needed to call the police before getting into a fight with them. Id. In

response, Woods told the officer that she would “be in contact with Investigator January at the

DA’s office” in reference to the case. Id.

       The extensive combination of witness statements, interviews, and police reports strongly

indicates that information favorable to the defense was not disclosed. In a case involving serious

questions about the degree to which overly-aggressive law-enforcement practices corrupted the

truth-finding function of the criminal proceeding, law enforcement appears to have suppressed

information showing that the investigation’s point person had a close personal relationship with a

victim’s family.

       Materiality. The suppression of information about January’s relationship with Hubert’s

aunt (and cousin), along with other suppressed evidence, had a reasonably probable effect on the

outcome. That information bore on the credibility and integrity of the criminal investigation. Even

though January did not testify at trial, 22 the investigation he led was on full display there.

Knowledge that the lead investigator had a romantic relationship with one of the victims’ family

members, who was also a witness in the investigation, would have been favorable to Cummings.

       Evidence of his relationship with a victim’s family would cause the jury to question the

integrity of the law enforcement inquiry, and question whether the need to find an accountable

party swamped the interest in accuracy—thereby rushing the investigation, causing police to

overlook or neglect viable leads, and facilitating tunnel vision. January’s undisclosed relationship

with the family could have caused him to steer the investigation by reference to the street rumors



22
   January testified at a state post-conviction hearing that he believed it was the prosecution’s
strategy not to call him as a witness, but the prosecutors had prepared approximately ten pages of
potential questions in the event he was called by either side. 3 WRR 37.

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driving the family’s theory of criminal responsibility. Because the State’s case was based on

evidence obtained through January’s investigation—most being circumstantial—the suppressed

information would have cast serious doubt on the integrity of the investigation, and the evidence

that it yielded. See e.g., Kyles, 514 U.S. at 447 (noting that defendant could have used suppressed

evidence to outline a vigorous argument attacking the integrity of the police investigation).

       B.      The Brady Claim is Unexhausted But Not Defaulted.

       The Brady claim is not exhausted, and Cummings will be submitting a request under

Rhines, 544 U.S. 269, to stay and hold in abeyance these proceedings so that he may exhaust it in

state court, along with other unexhausted claims for which state remedies are available. There

remains a clear path to merits consideration of the claim in state court. See Tex. Code Crim. P. art.

11.071 § 5.

V.     THERE WAS A SIXTH AMENDMENT RIGHT-TO-COUNSEL VIOLATION
       WHEN THE DEFENSE FAILED TO SEEK FOURTH AMENDMENT
       SUPPRESSION OF EXCLUDABLE MOBILE PHONE RECORDS.

       Under the two-pronged IATC test announced in Strickland, there is a Sixth Amendment

IATC violation if trial counsel performed below an objective standard of reasonableness

(“deficiency”), and if there is a “reasonable probability” of a different outcome absent those

mistakes (“prejudice”). See 466 U.S. at 687, 694. Trial counsel rendered constitutionally

ineffective assistance by failing to seek Fourth Amendment suppression of text-message records

(“wireless provider records”), 23 which were obtained without a warrant from a wireless service

provider and then used to convict and sentence Cummings. See Kimmelman v. Morrison, 477 U.S.



23
  This claim generally refers to the theory as one of “Fourth Amendment suppression,” but the
unreasonably omitted suppression motion would have relied both on the Fourth Amendment and
on the parallel provision of the Texas constitution. See Tex. Const. art. I, § 9. Any reference this
Petition makes to “Fourth Amendment suppression” should be interpreted to include suppression
under the parallel Texas provision.

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365, 375 (1986) (establishing that familiar IATC rules are applicable to failure-to-seek-

suppression claims). To demonstrate prejudice, a Kimmelman claimant must show that “there is a

reasonable probability that the verdict would have been different absent the excludable evidence.”

Kimmelman, 477 U.S. at 384. Although the deficiencies in this Petition are subdivided into five

distinct IATC claims, this court must cumulate prejudice across all five when determining whether

there was a reasonably probable effect on the guilt- and punishment-phase outcomes. 24

       The facts supporting the Kimmelman claim are set forth below and in the other claims

presented in this Petition, which are incorporated by this specific reference as if fully set forth

herein. The claim was not decided on the merits in state court, and is therefore unrestricted by 28

U.S.C. § 2254(d).

       A.      Trial Counsel Were Ineffective For Failing To Seek Fourth Amendment
               Suppression Of Excludable Wireless Provider Records.

       The State obtained, through a court order rather than a warrant, a wireless provider’s record

of texts sent to and from Cummings’ cell phone. App. 387-388. The order was not based on a

finding of probable cause but on the judge’s “reasonable belief” that the records were “relevant to

a law enforcement inquiry.” App. 388. Separately, the State obtained a warrant to access the

contents of Cummings’ phone. App. 395-413. But the wireless provider’s records included text

messages that were not stored locally on Cummings’ device.


24
   IATC prejudice inquiry is supposed to mirror the Brady materiality analysis for unconstitutional
prosecutorial suppression. See Strickland, 466 U.S. at 694 (“[T]he appropriate test for prejudice
finds its roots in the test for materiality of exculpatory information not disclosed to the defense by
the prosecution[.]”) (citing leading Brady precedent). In Kyles v. Whitley, 514 U.S. 419 (1995),
the Supreme Court repeatedly emphasized that both the IATC-prejudice and Brady-materiality
analyses were cumulative. See id. at 436 (after noting identity between IATC prejudice and Brady
materiality, explaining that, “[for materiality purposes], suppressed evidence [must be] be
considered collectively, not item by item”); id. at 436 n.10 (“We evaluate [the] cumulative effect
[of undisclosed evidence] for purposes of materiality separately and at the end of the discussion .
. . .”); id. at 441 (“The result . . . is incompatible with a series of independent materiality
evaluations, rather than the cumulative evaluation required by [precedent].”).

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       Two sets of messages present in the wireless provider records but not on Cummings’ phone

were a central part of the State’s circumstantial case against Cummings. The first set of messages

discussed getting rid of bullets, and the second was a conversation about identifying alibis. 34 RR

70-71; 74-76. The State used the unlawfully obtained texts at trial to show that Cummings

conspired with other suspects, that he disposed of evidence, and that he sought an alibi. 38 RR 75-

77. The evidence would have been excluded as the fruit of a Fourth Amendment violation—it was

suppressed in Albert Love’s case—and there was no strategic or tactical justification for the

decision not to move for suppression.

               1.       Trial counsel’s failure to seek Fourth Amendment suppression was
                        objectively unreasonable.

       Strickland deficiency requires a showing that trial counsel’s performance was objectively

unreasonable. See Padilla v. Kentucky, 559 U.S. 356, 366 (2010); Sonnier v. Quarterman, 476

F.3d 349, 356 (5th Cir. 2007). Kimmelman observed that “[a] single, serious error” may support

an IATC claim, Kimmelman, 477 U.S. at 383, and that the failure to file a plainly meritorious

suppression motion might be such a mistake, id. at 385. The error here was grievous.

       In not seeking Fourth Amendment suppression, 25 trial counsel performed deficiently.

Professional norms for defense attorneys lay out the importance of pre-trial motion practice,

including motions for suppression of the precise kind of evidence at issue here. See NATIONAL

LEGAL AID   AND     DEFENDER ASSOCIATION, Performance Guidelines for the Criminal Defense

Representation at 5.1(b)(7)(A), (rev. ed. 2006), available at http://www.nlada.org/defender-

standards/performance-guidelines/black-letter (“NLADA GUIDELINES”) (trial counsel should file



25
  At trial, the defense objected to the State introducing a report generated from the inspection of
Mr. Cummings’ cellular phone on relevance and prejudice grounds. 33 RR 152-53, 163, 168. Trial
counsel objected to a report related to the inspection of D’Arvis Cummings’ phone on relevance
and hearsay grounds. 33 RR 153-54.

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pretrial motion where warranted for suppression of evidence gathered in illegal seizure, in

violation of Fourth Amendment). Both the liability and punishment phases of a capital trial require

counsel to seek to exclude State evidence where possible. See AMERICAN BAR ASSOCIATION,

Guidelines for the Appointment and Performance of Defense Counsel in Death Penalty Cases at

Commentary to GUIDELINE 10.11, 31 HOFSTRA L. REV. 913 (rev. ed. 2003) (“ABA GUIDELINES”)

(describing counsel’s duty in both phases to prepare for case by determining whether prosecution

evidence can be excluded).

       In Cummings’ case, there was no strategic or tactical reason not to seek Fourth Amendment

suppression. The State had quickly telegraphed to the defense team their intention to utilize mobile

phone information in the prosecution. 4 WRR 86. Recognizing the importance of mobile phone

evidence, trial counsel immediately requested the services of a cellular data expert (Michael

O’Kelley). 4 WRR 86-105. Trial counsel, however, inexplicably failed to lodge a Fourth

Amendment challenge to the admissibility of wireless provider records, obtained without a

warrant, that the State used to inaccurately attribute inculpatory text messages to Cummings.

       WPD Detective Steve January was tasked with obtaining the suspects’ mobile phones and

wireless provider records, which WPD Detective James Owens II then analyzed. In April and May

of 2011, January obtained signed court orders (not warrants) authorizing retrieval of wireless

provider records associated with various mobile phone numbers. 26 These court orders requested

that wireless providers turn over information on all incoming/outgoing calls, incoming/outgoing




26
  On April 6, 2011, Det. January obtained a court order signed by Judge Matt Johnson, for caller
information records for the following phone numbers: (1) 254-412-8179 (serviced by wireless
provider Sprint, and used by Kennedy Hardaway), (2) 254-761-0188 (Metro PCS, D’Arvis
Cummings), and (3) 254-426-6075 (Metro PCS, Rickey Cummings). App. 388. On April 25, 2011,
Judge Strother granted the State’s motion to order service provider AT&T to turn over caller
information records pertaining to phone number 254-230-3842 (unspecified user). App. 394.

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text messages, subscriber information, and cellular phone tower usage information for the

associated phone numbers.

       Within its “Motion for Cellular Phone Records,” the State provided less proof than the

“probable cause” required for search and seizure under both the Fourth Amendment and under

Article I, § 9 of the Texas Constitution. See U.S. Const. amend. IV (“[N]o [w]arrants shall issue,

but upon probable cause, supported by [o]ath or affirmation, and particularly describing the place

to be searched, and the persons or things to be seized.); Tex. Const. art. I, § 9 (“[N]o warrant to

search any place, or to seize any person or thing, shall issue without describing them as near as

may be, nor without probable cause, supported by oath or affirmation.”). In the April 25, 2011

order, the court did not issue a probable-cause warrant but instead granted the State’s motion and

issued an order stating “[t]hat there is reasonable belief that the information is relevant to a law

enforcement inquiry.” App. 394. (emphasis added).

       By May 12, 2011, January had obtained wireless provider records associated with mobile

phones belonging to D’Arvis Cummings, Rickey Cummings, and Albert Love. App. 32-33. On

May 26, January continued his investigation, completing search warrant affidavits for four mobile

phones (as opposed to court orders for the wireless provider records associated with them). 27

Detective Owens examined these phones throughout 2011.

       Ultimately, evidence from Cummings’ wireless provider and his phone was admitted

through two exhibits, one detailing content on the phone and the other detailing content from the

wireless provider’s records. See State Ex’s. 231 & 241A. 28 The two sets of records were designed



27
   The warrant covered phones for D’Arvis Cummings, Rickey Cummings, Jazmyne Flowers, and
Constance Jones. App. 395-413.
28
   State’s Exhibit 241, the un-redacted report generated by Det. Owens, was admitted for record
purposes only, and never shown to the jury. State’s Exhibit 231 included subscriber information
records obtained by court order for the phone numbers 254-761-0188 (purportedly used by

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to demonstrate, through side-by-side comparison showing certain messages present in the provider

records but not on the phones, that Cummings had written and then deleted inculpatory text

messages from his device (detailed below).

       Had trial counsel moved for the exclusion of the text-message records obtained from the

wireless provider by “court order” and without a warrant, the messages would have been

suppressed by the trial court or the TCCA—as they were in Albert Love’s case. See Love v. State,

543 S.W.3d 835, 840, 845 (Tex. Crim. App. 2016). Love explained that people have a reasonable

expectation of privacy in the content of text messages conveyed through a wireless service

provider, which means that the State required a warrant to obtain that information. See id. at 845

(“[Love] had a reasonable expectation of privacy in the contents of the text messages he sent.

Consequently, the State was prohibited from compelling [the wireless provider] to turn over [his]

content-based communications without first obtaining a warrant supported by probable cause.”).

That a warrant was required for the content of such communications was evident, Love explained,

from a lengthy thread of federal precedent dating back decades. See id. at 840-844 (tracing holding

to longstanding federal-law distinction between “envelope information” and the contents of

communication).

       Trial counsel’s failure to file a suppression motion is more unreasonable because Texas’s

exclusionary rule is broader than the federal rule. In Texas state courts, evidence of a warrantless

search that is unconstitutional is suppressed without respect to whether law enforcement acted in

good faith. See TEX. CODE CRIM. P. art. 38.23(a)-(b) (in Texas courts, limiting good faith exception

to exclusionary rule to cases in which law enforcement relies in objective good faith on a valid




D’Arvis Cummings) and 254-426-6075 (attributed to Rickey Cummings). Within the records were
call logs and text messages for both phone numbers.

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warrant). Indeed, Love itself recognized that this evidence would not have qualified for the Texas

good-faith exception. See 543 S.W.3d at 845.

               2.      Cummings was prejudiced by trial counsel’s failure to suppress mobile
                       phone records.

       For Cummings to demonstrate prejudice, he must show “there is a reasonable probability

that the verdict would have been different absent the excludable evidence.” See Kimmelman, 477

U.S. at 384. Trial counsel’s unreasonable failure to move for suppression of Cummings’ mobile

phone records “altered the entire evidentiary picture” of the trial. Strickland, 466 U.S. at 695-96.

The unreasonable failure to seek suppression of wireless service records permitted the State to

admit two extraordinarily damaging text-message strings against Cummings: text exchanges about

(1) disposing of bullets and (2) securing an alibi. 34 RR 71, 75.

       With respect to the prejudicial admission of the “take dem bullets” messages, Subsection

II.A.2, supra, explains the effects of the admission in the context of the Napue claim and is hereby

incorporated by reference. The prosecution elicited (false) testimony from a WPD detective who

stated that Cummings texted about destroying evidence, and it repeatedly harped on the “take dem

bullets” exchange during closing—using it to show that Cummings committed the crime, had

accomplices, and tried to cover it up.

       With respect to the prejudicial admission of the alibi messages, the prosecution also elicited

testimony from the WPD detective stating that Cummings texted with someone about locating an

alibi. 34 RR 72-75. 29 As with the “take dem bullets” messages, the State used the alibi exchange

to maximum conceivable effect during closing. See, e.g., 38 RR 34 (“It goes from flirting with his



29
  Although the text never should have been admitted, Cummings explained that the person who
sent him the message referring to an alibi did not understand the pejorative meaning of the word,
and was merely conveying that there was someone who could vouch for his whereabouts. 37 RR
107.

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girlfriend to business, fear, setting up alibis.”); 38 RR 75-77 (“And does an innocent man need

alibis? . . . Innocent men don’t need alibis, because they haven’t done anything criminal. This man

needed alibis, at least one, apparently two, because, again, this man over here is anything but an

innocent man.”).

         Finally, and with respect to both text message exchanges, the State argued that Cummings

tipped his guilt by deleting his side of the conversation from his phone. The State’s argument that

Cummings had deleted them centered on the fact that a copy of the messages had been retained by

the wireless provider, but was not stored locally on Cummings’ phone. 34 RR 74-75. Alongside

the content of the text message exchanges themselves, the State recited the deletion of the messages

as evidence of a cover up and the underlying criminality: “Then the coverup started. . . . the text

message, ‘Get rid of them bullets,’ ‘set up an alibi.’ Then how else do we know that it’s a coverup?

He erases those messages. If it’s not a coverup, why erase them?” 38 RR 34. Of course, if the

defense team had moved for the suppression of the wireless provider records, then the State would

never have been able to point to how they differed from the records stored locally on Cummings’

phone.

         B.     Any Procedural Default Is Excused.

         This claim was not adjudicated on the merits by state courts and is therefore unrestricted

by § 2254(d), and any procedural bar triggered by the failure of state post-conviction counsel to

raise the IATC-suppression claim is excused under Martinez v. Ryan, 566 U.S. 1 (2012), which

held that an ineffective state post-conviction representation can excuse procedural default of an

IATC claim. See id. at 9. Martinez applies to Texas cases such as Cummings’, where the state

habeas proceeding is effectively the first forum to lodge an IATC claim. See Trevino v. Thaler,

569 U.S. 413, 417 (2013). A Martinez excuse for procedural default of an IATC claim requires

petitioners to establish both cause (that state habeas counsel was ineffective under Strickland) and


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substantiality of the underlying IATC claim (that the claim has “some merit” or is not “wholly

without factual support”). See Martinez, 566 U.S. at 14, 16; Norman v. Stephens, 817 F.3d 226,

232 (5th Cir. 2016).

          Cummings satisfies both the cause and substantiality elements for the Martinez excuse.

With respect to cause, state habeas counsel (OCFW) failed to include the IATC-suppression claim,

and did so for no strategic reason. App. 424; App. 428. OCFW lawyers were inexperienced, under-

supervised, and grievously under-resourced, and these factors contributed to the failure to identify

the Kimmelman claim. App. 423, 424; App. 427; App. 430-434. With respect to substantiality, the

Kimmelman claim is not “without factual support,” Martinez, 132 S. Ct. at 1319, and Cummings

has more than demonstrated that he “might” be able to meet the Strickland test, Norman, 817 F.3d

at 232.

          Any procedural default is also excused under the miscarriage-of-justice gateway, which

permits a federal court to consider the merits of a defaulted claim if, considering “all the evidence,

old and new, incriminating and exculpatory,” it is “more likely than not that any reasonable juror

would have reasonable doubt.” House v. Bell, 547 U.S. 518, 537-38 (2006) (internal quotation

marks and citations omitted). In light of (1) all the material evidence that the State unlawfully

suppressed and (2) all the evidence that ineffective trial counsel prejudicially failed to uncover—

as set forth across all materiality and prejudice sections appearing in Claims I through IX—“any

reasonable juror would have reasonable doubt.” House, 547 U.S. at 538. The State’s case was built

around three planks of evidence—text messages, a gangland revenge theory, and testimony of

eyewitness stating that they saw Cummings before and after the shooting—and none of those

evidence categories remain credible.




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VI.    THERE WAS A SIXTH AMENDMENT RIGHT-TO-COUNSEL VIOLATION
       BECAUSE DEFENSE FAILED TO INVESTIGATE AND DEVELOP A DEFENSE
       BASED ON ALTERNATE SUSPECTS.

       Cummings’ trial counsel provided constitutionally ineffective assistance by failing to

adequately investigate and present an alternate suspect defense—a defense that was supported by

significant evidence, had it been explored and had the dots been connected. This claim is analyzed

using the familiar two-pronged Strickland test, which requires Cummings to show deficiency and

prejudice. See 466 U.S. at 687, 694. 30 The claim is supported by the following facts and those

allegations in the other claims raised in the Petition, which are incorporated by this specific

reference as though fully set forth herein. This claim was not adjudicated on the merits in state

court, and is therefore unrestricted by 28 U.S.C. § 2254(d).

       A.      Trial Counsel’s Failure To Investigate And Develop A Defense Based On
               Alternate Suspects Was a Sixth Amendment Violation.

       As explained in Subsection VII.A.1, infra, the professional norm of capital defense practice

is to investigate all evidence pertaining to the liability and penalty phases of trial, and to develop

and integrated strategy for both. In this case, trial counsel failed to develop a defense based on

several pieces of crucial evidence identifying alternate suspects—most significantly, (1) an

anonymous tip identifying Kirby Brown, Carlos Smith, and Paul Hall as the perpetrators of the

shooting (with Kirby Brown as a primary shooter); (2) an affidavit provided by a witness stating

that she heard someone yell “come on Carlos” after the gunfire; (3) testimony of a woman who

told trial counsel that her sister heard Nickoll Henry tell people that Carlos Smith was the shooter;

and (4) a report from a ballistics expert in the Texas Department of Public Safety who concluded

one could not rule out that the 7.62 x 39 caliber casings found at the scene could have come from


30
  Although the deficiencies in this Petition are subdivided into five distinct IATC claims, this
Court must cumulate prejudice across all five when determining whether there was a reasonably
probable effect on the guilt- and punishment-phase outcomes. See note 24, supra.

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the same gun as those that Kirby Brown fired at Tyrece Richards (one of Cummings’ co-

defendants) in a shootout just weeks earlier, at the same location. Due to the thin evidence against

Cummings, the failure to develop a defense based on Smith and others mentioned in the tip was

prejudicial. See Strickland, 466 U.S. at 695-96.

               1.      The failure to investigate and develop the alternate-suspect evidence
                       was objectively unreasonable.

       The Strickland deficiency prong is satisfied if trial counsel’s performance was objectively

unreasonable. See Padilla, 559 U.S. at 366; Sonnier, 476 F.3d at 356. ABA GUIDELINE 10.7.A

describes the normal course of capital case development: “[c]ounsel at every stage have an

obligation to conduct thorough and independent investigations relating to the issues of both guilt

and penalty.” See also Subsection VII.A.1, infra (collecting professional authority setting forth

reasonable investigation norm). Trial counsel failed to investigate and develop evidence showing

that another group of men were the shooters, even though that evidence was at their fingertips.

That failure was objectively unreasonable.

       Four pieces of evidence capable of supporting the alternate-suspects defense were

delivered to trial counsel on a silver platter, but sat in trial counsel’s files without further

investigation or presentation at trial. First, counsel received an internal WPD email detailing an

anonymous call to WPD identifying three suspects by name, including “Carlos Smith” and “Kirby

Brown.” Second, there was an affidavit from Lashonda Moten stating that she heard a man yell

“come on Carlos” immediately after the shootings. Third, counsel received in discovery a ballistics

report showing a potential match between the gun used at the shooting and one used in a prior

shooting at the same apartment complex, by Kirby Brown, just weeks earlier. Fourth, trial counsel

interviewed a woman who had been dating Carlos Smith, and she told counsel that her sister had




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tried to get word to her, on the night of the shootings, that Nickoll Henry had told people that Smith

was the shooter.

       Trial counsel failed to reasonably follow up on the anonymous tip excluding Cummings as

a participant in the shooting. On or about March 31, 2011, less than three days after the shootings,

an anonymous caller phoned the WPD and provided detailed information about the double

murder—including the names of the individuals who were responsible. The information provided

by the caller was taken down by Sgt. John Hambrick. The sergeant then memorialized the call in

an email to Det. Steve January and Captain Price. 31 App. 48. An exact copy of the email that had

been sent from Sgt. Hambrick to Steve January was found in the files of Cummings’ investigator,

Ed McEleya. App. 149.

       The caller, identified by the sergeant as a black female, provided the following information

to WPD:

           •   Three individuals did the shooting: Paul Hall, Kirby Brown, and Carlos
               Smith.
           •   Kirby Brown had the AK-47.
           •   Kirby Brown was the same person who had shot Erma Richards earlier that
               month, at the same location.
           •   Kirby Brown had shot the victims in the Villas with the same Ak-47 that he
               had used when he shot Mrs. Richards.
           •   When Kirby Brown shot Mrs. Richards, Carlos Smith was also shooting.
           •   Kirby Brown went by the name “Kirby Jack,” and was tall.
           •   Kirby Brown lived in apartment #8 of the Villas, but was currently staying
               in #200.
           •   Carlos Smith also lived in the Villas.

App. 48. The caller also provided WPD with the suspects’ motive for the shooting—Paul Hall

wanted to kill Hubert because he thought Hubert was going to tell the police about Hall killing




31
  The offense report for the Villas shooting suspiciously makes no mention of the call or the details
provided by the caller.

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“that boy in the park last year.” 32 Id. WPD was also advised that Hall disguised his appearance

during the shooting and that the other two were wearing red hoodies. The caller also said that the

three were “the ones who started the riot so they could escape.” Id.

       Trial counsel also failed to reasonably follow up on a written statement corroborating the

tip. A witness, Lashonda Moten, provided supporting evidence for the caller’s identification of

Carlos Smith—one of the three men mentioned in the anonymous tip—as another of the

perpetrators. Moten stated that on the night of the shooting, while walking in the apartment

complex, she saw men with red hoodies pull out guns, walk to a car, and start shooting. App. 414.

When the shooting stopped, Moten heard someone say, “come on Carlos,” and the men ran out the

front gates of the apartment complex. Id. Moten’s statement was contained in a signed affidavit

located in the files of Cummings’ investigator. Id.

       Trial counsel also failed to reasonably follow up on a witness interview with Constance

Jones, who had been dating Carlos Smith. Jones explained that, after the shootings, her sister called

her to advise her that “if she were anywhere around Carlos, she needed to get away from him”

because “[Nickoll Henry] was among those people who had originally said that Carlos had been

the shooter.” App. 416. The interview took place on August 8, 2012, and a summary of the

interview is located in the files of trial counsel Walter Reaves. App. 415-416.

       Finally, trial counsel failed to connect the previous three dots with a corroborative ballistics

report. Three weeks before the double murder, an individual identified as Kirby Brown, and as

living in apartment #200 of the Villas, was seen firing a large caliber rifle within the Villas

apartment complex—the same complex where Hubert and Sneed were killed—at Tyrece Richards,



32
  Sgt. Hambrick, of the WPD Theft Unit, who took the call, did not know the incident “in the park
last year” to which the caller was referring. Clearly, the caller was referring to Bowers’ murder in
Hood Street Park one year before the Villas shooting.

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Cummings’ brother and co-defendant. App. 7-9. Kirby Brown was identified by both the manager

of the apartment complex and a maintenance worker on the property. Id. A crime scene technician

recovered five (5) 7.62 x 39 cartridge casings, and one 7.62 x 39 bullet from near where Kirby

Brown was seen firing the rifle. App. 11-12. A 7.62 x 39 cartridge is consistent with that fired

from an AK-47. 32 RR 177. The cartridge casings recovered from the crime for which Cummings

was convicted were also of 7.62 x 39 caliber. 32 RR 174-75. All of this information and the details

of the shooting, including that Brown was fighting with Tyrece Richards, were documented in an

offense report under WPD case 11-4125. 33 App. 7-18.

       On April 5, 2011, the five 7.62 x 39 cartridge casings from WPD case 11-4125 were sent

to the Texas Department of Public Safety Lab to be entered into the NIBIN database and

“forensically compared to the 7.62 x 39 Cartridge Casings submitted under [WPD] case 11-6115

[the Villas double murder].” 34 App. 14. The results of the comparison testing indicated that the

casings from the double murder “could not be eliminated or identified as having been fired from

the same firearm as [the casings from the Kirby Brown shooting] due to a similarity in class

characteristics and insufficient individual characteristics.” App. 55.

       Thus, three witnesses identified Kirby Brown as the man firing an AK-47 inside the Villas

on two separate occasions, three weeks apart. Moreover, law enforcement’s comparison of



33
   On April 13, 2011, the investigation in to WPD case 11-4125 was “discontinued” due to the
capital murder that occurred on March 28, 2011, and specifically because “the suspects in [the
murder] case are the grandsons of [Cummings grandmother, who was hit the crossfire] and have
been arrested as of 04/12/11.” App. 15. The case was “suspended” because the investigating officer
did not want to jeopardize the ongoing investigation Steve January was conducting on the capital
murder. Id. The officer explained that he had been in contact with January “throughout his
investigation and was aware three suspects had been arrested and were related to Mrs. Richards.”
App. 16. He was also aware that January was still conducting interviews when the case was
suspended. Id.
34
   A corresponding report in 11-6115, indicates that Detective Steven January requested to have
the two sets of casings compared. App. 31.

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physical evidence from both crime scenes could not exclude the weapon used in the first shooting

(in which Kirby Brown was positively identified by two eyewitnesses) as the weapon used in the

second (in which Brown was identified by an anonymous caller). 7.62 x 39 casings are not run-of-

the-mill, small caliber cartridges that might commonly be found in urban residential settings. They

are casings from a high-powered assault-type rifle. This was powerful evidence that supported a

defense theory that Kirby Brown had been one of the perpetrators that killed Hubert and Sneed—

a theory trial counsel never developed.

       The ballistics evidence would have dealt a particularly heavy blow to the prosecution’s

theory of the case, insofar as it separates Cummings from the group of shooters. In the first

shooting, Kirby Brown was firing at one of the gunmen originally believed to have been shooting

at Hubert and Sneed in the second (Cummings’ brother Tyrece Richards). The prosecution’s case

against Cummings was built around an us-versus-them theory of gangster revenge in which

Cummings’ tight-knit group, including Richards (his brother), sought revenge against Hubert.

Evidence that the person who shot at Cummings’ brother one day was among those shooting at

Hubert and Sneed three weeks later would have undermined any theory that the latter group of

shooters included Cummings.

       Although defense counsel possessed the ballistics report, and even got it admitted as

evidence at trial, 37 RR 175 (Defendant’s Ex. 6), they (1) failed to mention the comparison testing

between the two sets of 7.62 x 39 casings, let alone the results, 35 32 RR 186-87, and (2) failed to




35
   Cassey Allen, a forensic scientist from the firearms section of Texas DPS Laboratory, testified
for the state. 32 RR 172. She signed the report containing the comparison testing between two sets
of 7.62 x 39 casings. App. 54-55. However, she was never asked by defense counsel about this
testing. 32 RR 186-87. Defense counsel had the report admitted into evidence over a week after
Ms. Allen had testified, and made no mention of the comparison testing when the doing so. See 32
RR 172 (October 24, 2012); 37 RR 175 (November 1, 2012).

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point out that the target of the earlier shooting was supposedly a perpetrator of the later one. Trial

counsel entered the report for the purpose of proving an unrelated finding: that the two firearms

recovered in the investigation did not match any of the ballistics evidence recovered from the scene

of the double murder.

       In short, trial counsel had in their possession exceptionally important evidence to support

a viable alternate-suspects defense, but unreasonably failed to investigate individual pieces of

information, connect those pieces, or present the case the evidence suggested. The under-pursued

evidence was more than the sum of its parts, because it was mutually reinforcing—providing a

coherent account of motive, means, and opportunity, while also punching a large hole in the

prosecution’s theory. Lashonda Moten’s affidavit reported that she heard a “Carlos” urged to flee

after the shooting, and the anonymous tip also identifies Carlos Smith as a shooter, along with Paul

Hall and Kirby Brown. The tip explained Paul Hall’s motive as an attempt to eliminate the

possibility that Hubert would disclose Hall’s role in the Bowers murder, and Hall had indeed been

treated as a significant suspect in that case. 36 And Kirby Brown, the other man identified by the

anonymous caller, was seen firing an AK-47 in the apartment complex earlier in the month, and

firing it at one of the alleged co-conspirators in the Hubert/Sneed murder. A ballistics report

admitted at trial for other purposes showed that the same assault-style rifle was used in the

Brown/Richards shootout and in the Hubert/Sneed murders.

       Nor was the failure due to a strategic decision to avoid the theory; trial counsel appeared

simply to have waited too long to meaningfully connect the dots. For example, the investigator did




36
   Det. Alston, who investigated Bowers’ murder, testified at Cummings’ trial that, in his
investigation of the Bowers’ murder, he had treated Paul Hall as a suspect in that murder. 30 RR
178-79. The offense report for Bowers’ murder also documents Paul Hall as a suspect in the
murder. App. 1-2.

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not appear to move on the anonymous tip until the eve of trial, but at that point thought it significant

enough to run criminal checks on the suspects mentioned there. App. 74-79; App. 80-86. Defense

counsel made a passing reference to Paul Hall and a man named “Carlos” in her opening statement,

but never followed through on their relevance. 37 Detective January, however, never faced

questions about the caller or the connection to the Brown shooting because he was never called to

the stand. Defense counsel never called Lashonda Moten as a witness. 38 In summary, the defense

seemed to do nothing at all with the alternate-suspect evidence until days before trial, at which

point their ability to meaningfully connect or develop it had long since passed.

                2.      Trial counsel’s deficient failure to develop the alternate-suspect
                        evidence was prejudicial.

        There is Strickland prejudice when the deficiency had a “reasonable probability” of

affecting the trial outcome. See Strickland, 466 U.S. at 694; Sonnier, 476 F.3d at 365. For the

reasons set forth below, including newly discovered evidence that competent counsel would have

discovered, trial counsel’s deficient investigation into alternate suspects indeed had a reasonably

probable effect on the outcome

        Alicia Harrison was the sister of the woman who informed trial counsel that Nickoll Henry

was telling people that Carlos Smith was the shooter, and her declaration, attached to this Petition,

is evidence that would have devastated the State’s theory generally, and Henry’s credibility in

particular. App. 420. Harrison states:

        At one point in the evening, I heard gunshots outside. I did not think much about it
        until I heard the sirens and firetrucks. After a while, I went outside to see what was

37
   The defense told the jury in its opening that it expected the evidence to show that Detective
January “disregarded a man named Carlos,” and “Paul Hall, who had been doing business with
[Bowers] and suddenly lost his dealer.” 30 RR 42-43.
38
   Cummings’ trial counsel had a subpoena issued for her to testify at trial, but it appears the
subpoena was never executed. App. 87. The subpoena indicates an “unknown” address in
McLennan Co., TX. Id. Counsel ran some computer location searches and criminal searches for
Ms. Moten in the middle of Cummings’ trial. App. 88-102.

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       going on. Everyone was saying someone was shot. I walked over to where the
       incident occurred. I saw Nickoll Henry near the car that was shot up and she was
       very emotional, telling people, “I know who did this.” She said Carlos Smith shot
       and killed “Lockie” and other people in the car. . . . As soon as I heard that, I became
       extremely anxious because I knew my sister Constance left with Carlos that night.

Id.. Not only would any testimony to this effect have damaged (severely) the global theory that

Cummings was involved in the shootings, it would have also destroyed Henry’s credibility, which

was already under siege on the ground that, over the course of the next two days, she reimagined

a neighborhood rumor and reported it as an in-person encounter taking place in her entryway. See

Subsection IV.A.2, supra.

       Given Harrison’s declaration, the other evidence adduced at trial, the evidence that was

available but never connected, and evidence that remains undiscovered because of trial counsel’s

unreasonable failure to follow up on the evidence they did have, the defense team’s deficiency had

a reasonably probable impact on the trial outcome. Trial counsel could not use alternate-suspects

evidence to expose holes in the state’s over-arching theory of the crime, to show law enforcement’s

investigatory bias and tunnel vision, or to puncture the credibility of Nickoll Henry.

       B.      Any Procedural Default Is Excused.

       Any procedural default of the IATC-gangs claim is excused under Martinez, the formal

requirements of which—cause and substantiality—are specified in Section V.B, supra. With

respect to cause, state habeas counsel (OCFW) completely omitted this claim, and lacked any

strategic reasons for doing so. App. 423, 425; App. 427, 429; App. 430-434. With respect to

substantiality, the claim is not “without factual support,” Martinez, 132 S. Ct. at 1319, and he has

more than demonstrated that he “might” be able to meet the Strickland test, Norman, 817 F.3d at

232.

       Any procedural default is also excused under the miscarriage-of-justice gateway, which

permits a federal court to consider the merits of a defaulted claim if, considering “all the evidence,


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old and new, incriminating and exculpatory,” it is “more likely than not that any reasonable juror

would have reasonable doubt.” House, 547 U.S. at 537-38 (internal quotation marks and citations

omitted). For the reasons set forth in Section V.B., supra, which are hereby incorporated by

reference, Cummings meets that threshold.

VII.      THERE WAS AS SIXTH AMENDMENT RIGHT-TO-COUNSEL VIOLATION
          BECAUSE THE DEFENSE FAILED TO INVESTIGATE AND PREPARE TO
          CONTEST CUMMINGS’ GANG MEMBERSHIP.

          Even though the State telegraphed its intention to prosecute the case as a gangland-revenge

killing, defense counsel failed to reasonably investigate, prepare, and litigate gang evidence. As a

result, the prosecution was able to introduce false and irrelevant information about gang affiliation

throughout the trial—smuggling in otherwise inadmissible character evidence, falsely suggesting

the existence of a criminal enterprise upon which Cummings’ law-of-parties conviction was

predicated, and blatantly racializing the liability- and punishment-phase proceedings before the

all-white jury. Trial counsel’s performance therefore violated the Sixth Amendment, as applicable

to the States by the Fourteenth. This claim was not adjudicated on the merits in State court and this

Court’s review is therefore unrestricted by 28 U.S.C. § 2254(d).

          This claim is supported by the following facts and those allegations in the other claims

raised in the Petition, which are incorporated by this specific reference as though fully set forth

herein.

          A.     Trial Counsel Were Constitutionally Ineffective For Failing To Investigate
                 And Prepare For Gang Issues.

          This claim is analyzed using the familiar two-pronged Strickland test, which requires

Cummings to show deficiency and prejudice. See 466 U.S. at 687, 694. Trial counsel unreasonably

failed to investigate and prepare for a crucial aspect of the State’s case against Cummings, and

also failed to challenge the State’s gang evidence—despite multiple mechanisms for doing so.



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Those failures were prejudicial to Cummings and a windfall for the prosecution, which was able

to accomplish three things across the liability and punishment phases of the trial: (1) to smuggle

in false character evidence that is otherwise barred because of its enormous prejudicial effect; (2)

to suggest a false gang affiliation upon which to predicate a law-of-parties (accomplice liability)

conviction for capital murder; and (3) to racialize the danger presented to the all-white jury. 39

               1.      The failure to investigate and prepare to litigate the State’s gang-
                       revenge theory was objectively unreasonable.

       Strickland deficiency requires a showing that trial counsel’s performance was objectively

unreasonable. See Padilla, 559 U.S. at 366; Sonnier, 476 F.3d at 356. Professional norms

prevailing at the time of Cummings’ trial underscore defense counsel’s paramount duty to

investigate and prepare both liability- and sentencing-related defenses. See Commentary to ABA

GUIDELINE 1.1 (“With respect to the guilt/innocence phase, defense counsel must independently

investigate the circumstances of the crime and all evidence—whether testimonial, forensic, or

otherwise—purporting to inculpate the client.”); ABA GUIDELINE 10.7(A) (“[C]ounsel at every

stage have an obligation to conduct thorough and independent investigations relating to the issues

of both guilt and penalty.”); ABA GUIDELINE 10.11.A (“[C]ounsel at every stage of the case have

a continuing duty to investigate issues bearing upon penalty and to seek information that supports

mitigation or rebuts the prosecution’s case in aggravation.”).

       Trial counsel’s failure to prepare for the central narrative in the State’s case against

Cummings was comprehensive, but is most evident in two categories of deficiency. Specifically,

trial counsel failed to: (1) investigate and develop information necessary to dispute Cummings’

gang membership; and (2) object to the State’s repeated liability-phase references to such


39
  Although the deficiencies in this Petition are subdivided into five distinct IATC claims, this
Court must cumulate prejudice across all five when determining whether there was a reasonably
probable effect on the guilt- and punishment-phase outcomes. See note 24, supra.

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membership, despite multiple opportunities and devices for doing so. The defense team’s post-hoc

justification for failing to prepare a defense or to object to the admission of evidence—that they

were simply going to “ridicule” the theory—is not a credible rationale for having failed to

investigate and prepare evidence relating to Cummings putative Bloods affiliation.

       Failure to investigate and prepare. Trial counsel knew from the outset that the State’s

central theory would be that, along with “other” gang members, Cummings orchestrated Hubert’s

murder as revenge for Hubert’s killing of Bowers a year earlier. On May 31, 2012, well before

jury selection began, the State made a motion to photograph Cummings’ tattoos and to use the

photographs as evidence at trial. 1 CR 100-101. In a pre-trial hearing on the motion, trial counsel

raised no objection. 7 RR 8-9. Continuing to telegraph its theory of the case at voir dire, the State

repeatedly questioned potential jurors about their attitudes toward gang membership, accepting

onto the jury the majority of venire persons whom it questioned on the subject. See, e.g., 13 RR

29, 14 RR 129, 21 RR 69, 23 RR 196, 24 RR 90. Trial counsel understood the crucial role that the

gang evidence would play at the trial, and—undermining their subsequent assertion that they

strategically opted for ridicule—they acknowledged that they were “concerned about” the gang

evidence because of its “effect on the jury.” 4 WRR 79. They were concerned about the effect on

the jury because the “whole case kind of revolved around [gang] evidence.” 4 WRR 128. In light

of the clear notice as to the State’s strategy, trial counsel’s preparation and investigation fell far

below what one would expect from a reasonable attorney. Those preparatory deficiencies are best

reflected in the defense team’s failure to speak with expert or lay witnesses capable of establishing

that Cummings was not a gang member.

       Billing records (not presented to the state court) show, for example, that trial counsel did

not consult with a gang expert. At the state habeas hearing, trial counsel repeatedly admitted that




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they consulted no gang expert. See, e.g., 4 WRR 134 (trial counsel conceding that they had retained

only a “prison conditions” expert, and that they did not get a “specific gang expert”); 6 WRR 98-

99 (trial counsel again admitting that he had consulted with a prison classifications expert, but no

gang expert); 6 WRR 119 (“Q: Who was Frank AuBuchon? A: He is a prison specialist.”). Failing

to consult a gang expert was unreasonable in part because it violated a clear norm of defense

practice, and in part because the expert was necessary and appropriate to the defense case. See

Commentary to ABA GUIDELINE 1.1 (“Counsel must be experienced in the utilization of expert

witnesses and evidence . . . .”); Commentary to ABA GUIDELINE 4.1 (“Analyzing and interpreting

[evidence central to a death penalty case] is impossible without consulting experts . . . .”) NLADA

GUIDELINE 4.1(7) (“Counsel should secure the assistance of experts where it is necessary or

appropriate to . . . rebut the prosecution’s case.”).

        At some point before trial, defense counsel spoke with Frank AuBuchon—a TDCJ prison

classifications expert who they would call to testify as to dangerousness at the punishment phase.

AuBuchon formed no expert opinion about whether Cummings, or anyone else, was in fact a

Bloods member. 40 RR 122-24; see also 1 CR 113 (motion to authorize expert services stating

that “Mr. AuBuchon is able to testify about how inmates are classified, and how the risk of violence

can be minimized or eliminated”). AuBuchon himself has submitted a declaration explaining: “I

am an expert on prison security classifications within the [TDCJ], and that was the capacity in

which I was engaged in this case. I was not engaged to offer an opinion on whether Mr. Cummings

was in a gang, and I developed no expert opinion on that question.” App. 435.

        Billing records not included in the state habeas application confirm that AuBuchon was a

penalty phase, future-dangerousness expert who would testify as to how TDCJ would classify

Cummings. He did no work on the case until September 28, 2012—after voir dire was complete.




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At that time, all he did was review pictures of tattoos (1 hour). 40 App. 118. His next entry indicating

substantive work is from October 22 (0.5 hours), which was the day that the liability phase began.

App. 118. AuBuchon did not speak to Cummings or to anyone who knew him. App. 435.

(explaining that his opinion was based on review of tattoos and criminal history only, and that he

did no interviews with Cummings or anyone else). 41

       In Texas post-conviction proceedings, the State obtained identical affidavits from all three

trial lawyers asserting that defense counsel had “consulted” with Terry Pelz, but opted not to

present him because his testimony would have been repetitive of AuBuchon’s. App. 121-129. 42

The contemporaneous evidence contradicts these identical claims in some respects and supports

them in others. Defense-team lawyers appeared to have no contact whatsoever with Pelz, and there

are no billing records showing that Pelz did work on the case. Pelz was at one point identified as

a potential punishment-phase witness on a list compiled by a defense-team investigator. App. 130-

131. That investigator’s notes are consistent with counsel’s affidavit(s) insofar as the notes state

that Pelz would have fulfilled the same evidentiary function that AuBuchon did—namely, that he

would have testified about how Cummings would be classified once he was in the state prison

system. App. 131. At some point between when he was designated as a potential expert on October

26, 2012, and the start of the punishment phase, Pelz’s name was crossed off the potential

punishment-phase witness list. The document in which the investigator crossed off Pelz’s name




40
   This record included a call to someone who confirmed AuBuchon’s belief that TDCJ would
treat a star tattoo on Cummings’ back as an indicator of gang affiliation upon initial admission.
App. 435.
41
   Other than the entries already mentioned, the only other billing entry prior to the close of the
defense’s punishment phase case was from October 23, 2002, which was an hour for
“[r]eview[ing] jail records.” App. 118.
42
   Trial counsel affidavits have been redacted to protect any privileged information contained
therein. Petitioner will be seeking a protective order prior to un-redacting the documents.

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recites what he would have testified to, including that: “in TDCJ Bloods are no big deal—there

are lots of imitators & wannabe’s [sic].” App. 131. (emphasis added).

        The state habeas record conclusively shows a true gang expert capable of assisting the

defense was readily available to trial counsel. Charles Rotramel, a Houston-based gang expert with

30 years of field experience and who state habeas counsel retained, was active in this field at the

time of Cummings’ trial, directing a gang intervention program. App. 369-372. His extensive

analysis categorically excluding Cummings’ gang membership, App. 377, is recited in the

discussion of prejudice below. In addition to their failure to consult an expert on gang validation,

trial counsel failed to identify lay witnesses who the jury would perceive as disinterested and who

would be capable of straightforwardly explaining that Cummings was not a Bloods member—a

distinct failure that violated clearly established capital defense norms. See Commentary to ABA

GUIDELINE 10.7 (appropriate investigation should include “witnesses familiar with aspects of the

client’s life history that might affect the likelihood that the client committed the charged offense(s),

and the degree of culpability for the offense.”); Commentary to ABA GUIDELINE 10.11 (trial

counsel has duty at both stages to “thoroughly investigate” to determine whether State evidence

can be “excluded, rebutted, or undercut”).

        Failure to seek exclusion of State’s evidence. Unlike Albert Love’s defense team, which

moved successfully to exclude gang references, App. 172, Cummings’ lawyers filed a motion in

limine, 1 CR 139-42, but then abandoned it. See 4 WRR 130. That act of abandonment is all the

more unreasonable because counsel strengthened their position through an off-the-record

agreement in which the State was to refrain from adverting to gang membership (“Gang Evidence

Agreement”). But the Gang Evidence Agreement, like the motion, was stillborn because defense

counsel seemed content to ignore it almost immediately. When the State repeatedly violated it, and




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despite realizing that the prosecutor “had gone back on his word,” 6 WRR 94, defense counsel did

not: (1) seek a ruling on its motion in limine which, if granted, would have barred such references;

(2) ask for sanctions or a mistrial, 6 WRR 94-95; or (3) do anything else to preserve the issue for

appeal, 6 WRR 96-97. Specifically, defense counsel deficiently failed to object to any elements of

the gangland-revenge theory that came in by way of exhibits, witness testimony, or stray remarks

from the prosecution. The failure to do so, especially when trial counsel recognized that the “whole

case kind of revolved around [gang] evidence,” 4 WRR 128, violated clearly established

professional norms. See ABA GUIDELINE 10.8(B)(2) (outlining counsel’s duty to ensure full record

legal proceedings is made); Commentary to ABA GUIDELINE 10.8 (“One of the most fundamental

duties of an attorney defending a capital case at trial is the preservation of any and all conceivable

errors for each stage of appellate and post-conviction review . . .”); NLADA GUIDELINE 5.3

(“[C]ounsel should be prepared to renew a pretrial motion if new supporting information is

disclosed in later proceedings.”).

       Defense counsel made their concern about the prejudicial impact of black gang evidence a

matter of record when, on August 13, 2012, they filed a pre-trial motion to exclude testimony

asserting that Cummings had a gang affiliation. 1 CR 139-42. Specifically, the motion argued that

the State’s use of gang evidence would violate TEXAS RULES OF EVIDENCE 401 through 404 insofar

as the evidence was not relevant (under RULES 401 and 402), that its probative value was

substantially outweighed by the potential for unfair prejudice (under RULE 403), and that it was an

impermissible attempt to introduce character evidence in order to prove behavior in conformance

therewith (under RULE 404). 1 CR 139, 140, 141. As explained above, however, counsel sought

no ruling on the motion. 4 WRR 130. Counsel’s unreasonable failure to seek exclusion of the gang

evidence—by seeking a ruling on the motion in limine, otherwise enforcing the Gang Evidence




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Agreement, or asking for a mistrial—therefore became a deficiency that ran throughout the entire

proceeding, rearing its head every time the State adverted to gang affiliation without challenge.

       Both deficiency and prejudice emerge from the first hours of the trial. In a transparent

attempt to get evidence about menacing black gangs before the all-white jury as soon as possible,

and in blatant violation of the Gang Evidence Agreement, the State asked three of its first four

witnesses about gang membership and activity. The State elicited from the first trial witness,

Theresa Salazar, that Cummings and all of Bowers’ friends wore red and black at Bowers’ funeral.

30 RR 73-4.

       The State asked its third witness—Shaniese Iglehart, Bowers’ girlfriend and the mother of

his child—about the significance of red clothing worn during Bowers’ funeral. 30 RR 123-24.

During the Iglehart questioning, the State insisted that the red shirts had a “military” appearance

and those wearing them considered themselves members of a gang. 30 RR 153-54. The State then

offered ten separate exhibits consisting of photographs of Cummings, Bowers and their friends

pictured in various red and black clothing, a photograph of Cummings’ and Bowers’ sons together,

and photographs of attendants in red attire at Bowers’ funeral and graveside. 30 RR 125-130.

Never missing an opportunity to reference the incendiary “Flame it Up” music video, the State

questioned Iglehart extensively about its violent lyrics and Bloods imagery. 30 RR 132-33.

(Neither the video nor the lyrics had been introduced.)

       Photographs of Cummings and others making hand signals gave rise to uninterrupted State

examination of the fourth witness, WPD Detective Michael Alston. Alston was not a gang expert,

and was not offered as one, but he testified, without objection from the defense, that Bowers was

making a gang sign in a photograph. 30 RR 171.




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        Trial counsel lodged no formal or informal objection to any of the aforementioned

questioning, or to the predicates for it.

        The State later questioned defense witness Jasmine Davison, seeking evidence of

Cummings’ supposed gang ties. Davison was Cummings’ girlfriend who was attending the

University of Texas and living in Austin. Cummings’ counsel had asked Davison general

questions—without referencing Cummings—about hand signs in East Waco, her knowledge of

gangs in Waco, and the Waco High School colors. 35 RR 91, 94-95. This questioning,

disconnected from Cummings specifically, was apparently part of counsel’s “strategy” to

“ridicule” gang evidence without opening the door. The defense did absolutely nothing, however,

when the State’s cross-examined Davison, treated the scope of direct as having been about

Cummings’ use of hand signs, 35 RR 113, and interrogated Davison about whether Cummings’

tattoos and text messaging indicated his gang membership. 35 RR 113-16. Defense counsel lodged

no objections, and the counsel’s redirect examination omitted any mention of the State’s gang

questioning. 35 RR 116-17.

        Defense counsel’s unreasonable failure to seek exclusion of the gang evidence had a ripple

effect. Cummings decided to testify in sur-rebuttal in large part because trial counsel had so badly

mishandled the gang evidence. App. 436. Because counsel had put on no witnesses to testify as to

Cummings’ non-gang membership, and because the defense needed to respond to the State’s

relentless assertions that Cummings was in a gang—defense counsel opened the door by asking

Cummings whether he was a gang member. 36 RR 73-74. The State thereafter cross-examined

him about the gang significance of (among other things) his tattoos, 43 repeatedly suggesting to the




43
  The State also questioned him about his use of certain alphanumeric characters in his text
messaging—use that was superficially similar to alphanumeric substitution that Bloods members

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jury that the tattoos meant he was a member of a non-existent Waco Bloods set. 37 RR 37-54. For

each question, Cummings explained that gang membership did not account for the relevant tattoos,

clothes, texting habits, names, and hand gestures. Although the subject of the State’s questions

were cultural markers consistent with gang-unaffiliated African-American teenagers from East

Waco—a group that routinely mimicked the iconography of West Coast street gangs—trial

counsel neither objected nor rehabilitated their client.

       Before cross-examining Cummings, the State offered into evidence, with no defense

objection, the “Flame it Up” video itself. 37 RR 14. (as explained below, trial counsel falsely stated

that the defense objected to the video). Critically, trial counsel did not object even though the State

offered the exhibits when the jury was not present. 37 RR 7. (Trial counsel has falsely suggested

that                                                                                  App. 122; App.

124-125; App. 128.). The video was admitted and played for the jury (twice), and the State

proceeded to question Cummings relentlessly about the “gangster lifestyle” it featured. 37 RR 35-

37. In an unchallenged argument, the State also told the jury that the title of the song itself invoked

gang symbolism. 37 RR 38-39. Trial counsel did not even object to the State’s misleading

implication that Cummings appeared in the video (“Are you still telling this jury you, your brother,

and your best friends who appear in this video are not in some sort of organized gang?”). 37 RR

37.

       There is no reasonable account of defense representation that is consistent with trial

counsel’s comprehensive failure to challenge the admission of gang evidence.




use. 37 RR 48-51. The State also asked him about his uncle, whose nickname was “Bloody,” 37
RR 18-19, and whether an “E” formed with his hand was a gang symbol. 37 RR 15.

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       Proffered “strategy.” Ordinarily, trial counsel’s subsequent explanation for its decision-

making will make its approach seem more reasonable. Not here. Trial counsel’s stated rationale

for (contrary to professional norms) bypassing investigation, abandoning its motions strategy,

forgoing the Gang Evidence Agreement, and presenting no witnesses—was

                                      . App. 124-125; App. 122; App. 128.

       “Ridicule” is (at best) a tactic rather than a strategy, and there was nothing about a desire

to ridicule the State’s evidence that would be inconsistent with a professional approach to trial

preparation. An inclination to ridicule evidence is therefore a legally insufficient substitute for the

investigation and preparation sufficient to form a defense strategy. See Loyd v. Whitley, 977 F.2d

149, 158 (5th Cir. 1992) (“Whether counsel’s omission served a strategic purpose is a pivotal point

in Strickland and its progeny. The crucial distinction between strategic judgment calls and plain

omissions has echoed in the judgments of this court”); see also Wiggins v. Smith, 539 U.S. 510,

512 (2003) (strategic choices made after “less than complete” investigation not presumed to be

reasonable judgment); Strickland, 466 U.S. at 691 (“[C]ounsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular investigations

unnecessary.”); Bouchillon v. Collins, 907 F.2d 589, 597 (5th Cir. 1990) (“Tactical decisions must

be made in the context of a reasonable amount of investigation, not in a vacuum.”). The legal

precedent is clear: trial counsel cannot reasonably settle on a ridicule strategy if they did not

reasonably investigate the position that they intend to ridicule. And trial counsel here made the

decision to “ridicule” without having consulted a gang expert or otherwise having sought evidence

that Cummings was not a Bloods member. In other words, having failed to develop their own

evidence, and despite a pending motion and the Agreement, defense counsel recklessly invited




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explosive evidence they knew to be prejudicial on the theory they would just ridicule it with

evidence they never investigated.

       Perhaps the biggest tell that trial counsel unreasonably approached the gang question is

that so many of their factual assertions supporting that decision are demonstrably false. First, each

of the three trial attorneys submitted affidavits with identical (coordinated) language falsely stating

that they consulted with a gang expert:

       Applicant’s third claim is that we were ineffective because we failed to present an
       expert to rebut the State’s assertion that Applicant was affiliated with the Bloods
       gang.




App. 124; see also App. 121, App. 127-128. As discussed above, and as they admitted at other

points in the state court hearing, trial counsel did not consult with a gang expert. The State’s

affidavits were a failed effort to have trial counsel pass off their penalty-phase consultation with a

prison-classification expert (AuBuchon) off as pre-trial consultation with multiple gang experts

qualified to opine on whether Cummings was actually part of a Bloods set.

       Second, trial counsel’s testimony that “we asked almost every witness that we talked to

whether they had any evidence that he was in a gang,” 4 WRR 133, was simply untrue. To the

contrary, trial counsel failed to ask this question of a single witness other than Cummings himself.

36 RR 73-74.

       Third, trial counsel reported that they omitted objections so that they did not credit the gang

evidence before the jury, but the record shows that they failed to make objections when given the

opportunity to do so outside the jury’s presence. 37 RR 7-9. These omitted objections include

those that would have challenged the State’s introduction of Exhibits 248-250: the back tattoos,




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the picture of Cummings and his brothers making hand gestures that the State would call gang

signs, and the “Flame it Up” video. 37 RR 7-9.

       Fourth, trial counsel falsely reported having objected to the admission of “Flame it Up”

(Prosecution Exhibit 248), 6 WRR 85. No such objection ever happened. As explained above,

Prosecution Exhibit 248 was admitted without objection from the defense. The defense made only

a best-evidence objection to a printout of lyrics to be given to the jury for consideration alongside

the unobjected-to video (Prosecution Exhibit 251). 37 RR 7-9.

                                          *       *       *

       Trial counsel’s deficient approach to gang evidence was comprehensive. They did not

investigate or develop evidence showing that Cummings was unaffiliated with the Bloods, and

they repeatedly permitted the State to introduce false and inflammatory evidence to the contrary.

Even if they actually planned on “ridiculing” evidence, such an approach was still unreasonable.

Such a plan had no strategic advantage relative to the total exclusion of gang evidence—which

would have severely damaged the State’s theory of motive and denied it the opportunity to enter

the penalty phase with the jury primed to convict on the first special issue—and it (if it ever really

existed) was hatched in the absence of reasonable investigation and preparation.

               2.      Trial counsel’s deficient approach to the gangland-revenge theory was
                       prejudicial.


       There is Strickland prejudice when the deficiency had a “reasonable probability” of

affecting the trial outcome. See Strickland, 466 U.S. at 694; Sonnier, 476 F.3d at 365. A reasonable

probability of a more favorable outcome exists in this case based on the individual omissions

challenged here, the cumulative effect of those deficiencies, or the cumulative effect of those

deficiencies and the other deficiencies shown in the other Sixth Amendment ineffectiveness




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claims. Considered separately or cumulatively, see note 24, supra, trial counsel’s deficient

performance had a reasonably probable impact on the liability- and sentencing-phase outcomes.

         Even trial counsel conceded that the evidence of gang membership affected the jury, 4

WRR 131, and the State allowed that the evidence “was in fact highly prejudicial.” III WCR 559.44

The multiple deficiencies here—the defense team’s failure to develop its own evidence and its

failure to contest admission of the State’s—prejudiced the defense in both liability and punishment

phases, and along three dimensions. First, it led the uncontested presentation of (false) gang

evidence that is so inflammatory that it is ordinarily excluded under the evidence rules (as it was

excluded from Love’s state-court trial). Second, it worked to connect Cummings to the other

suspects such that he could be found guilty as a “party” to the crime. Third, the constant reference

to black gangs racialized the danger presented to an all-white jury, prejudicially enforcing

stereotypes about homicidal criminality at the liability phase and prison violence at the punishment

phase.

         Missing powerful evidence of non-membership. The first aspect of the deficiency—the

failure to investigate and develop evidence that Cummings was not actually in a gang—was

perhaps most prejudicial. The defense team litigated the entire issue without consulting an expert

capable of explaining to them, to the trial court that should have been called upon to rule on the

motion in limine, and potentially to the jury, that Cummings was not in fact in a gang. A gang

expert would have been able to inform the court and jury that the choices that Cummings made

with respect to clothes, tattoos, and language were not uncommon and were not indicative of actual

gang membership.




44
  The State simply asserted that this “highly prejudicial evidence” was outweighed by its probative
value. III CWR 559.

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       In the same way that people enthusiastically wear five-pointed blue stars on hats but do not

actually work for the Dallas Cowboys, that young black men in certain urban environments might

speak, dress, and tattoo themselves in ways that resemble gang members does not mean that they

are actually in a gang. According to the gang expert from the state habeas pleading, “young men

in urban areas often adopt certain symbols of gang culture to make themselves appear ‘tough’”

and to give themselves “street cred.” App. 379. These symbols, also employed by famous athletes

and singers, id., have no bearing on actual gang membership. Indeed, the defense team’s prison

classifications expert, Frank AuBuchon, explains that “[f]or reasons of safety and security, TDCJ’s

classification of gang-members is over-inclusive, meaning that inmates who are suspected of

affiliation with a gang will be classified that way upon admission, whether they are actually in a

gang or not.” App. 456. (It is for precisely that reason that AuBuchon continues to have no opinion

about whether Cummings is actually a gang member, despite having testified that TDCJ would

classify him that way upon admission. Id.)

       If a qualified gang expert had been consulted, then they could have testified—explaining

that the State’s evidence amounted to a common form of street mimicry, not Bloods membership.

First, a gang expert would have told the jury that the Bloods do not even have a Waco presence.

App. 379. Bloods sets are primarily located on the coasts; young men in places like inner-city

Waco simply mimic the signs and symbols of the gang as cultural markers, and in order to project

toughness. Id. Young men with Cummings’ background use Bloods imagery because it is prevalent

in popular culture, as a way to gain respect, and to showcase the street smarts necessary to avoid

being a target of violence. App. 377, 384-385.

       Second, the expert would have explained that the location and combination of tattoos on

Cummings’ back was also inconsistent with gang membership, because (1) Bloods membership




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requires more prominent back placement; (2) Bloods membership requires certain imagery that

Cummings lacks, such as a crown and lettering proclaiming affiliation; (3) both Bloods and People

Nation tattoos were present, demonstrating that Cummings “lack[ed] fidelity to any particular set

or gang”; (4) the “59” tattooed inside a woman’s picture is not indicative of actual gang

membership; and (5) that the numbers 5 and 9 on Cummings’ back—repeatedly referenced by the

prosecution—were unlikely to reference Bloods membership, because those numbers are specific

to a California set (the 59 Piru Bloods) to which a Texan would not belong. App. 379-381. These

observations would have been part of the expert’s more general explanation: that the ink pattern

on Cummings back is a marker of culture, not gang membership. App. 381.

       Third, the expert would have put to rest the State’s preferred inference regarding

Cummings’ text-messaging habits, explaining that his inconsistent use of certain idiosyncratic

letter and number patterns in his written communication, as well as his failure to capitalize each

“B”, are inconsistent with Bloods membership. App. 381-382. Moreover, the expert would have

explained that Cummings’ spoken language was also inconsistent with gang membership, as his

diction and sparing use of slang were markedly different from the way actual gang members speak.

App. 382.

       Finally, the expert would have emphasized other important ways that Cummings had

distinguished himself from Bloods members, including his use of his brother’s blue car, his pursuit

of educational and professional goals, and his focus on his biological family. App. 382-383. Even

Cummings’ public denial of membership itself was indicative of non-affiliation, because a false

denial is treated as the “ultimate . . . disrespect and would earn him instant [member] sanction . . .

.” App. 383.




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       The trial team’s deficient failure to adequately investigate gangs went far beyond its failure

to consult with a qualified expert. Trial counsel also failed to seek credible witness testimony

capable of disproving putative Bloods affiliation. For example, Pastor Richard Thomas, who spoke

at the funeral that the State portrayed as a violent gang summit, would have spoken to trial counsel,

had trial counsel asked. App. 438-439. Pastor Thomas had known Cummings very well, for about

fifteen years, and stated without qualification that “Rickey was not in a gang.” App. 438. Pastor

Thomas also explained that the State’s insinuation that attendees wore red because of a “gang

thing” and to show Bloods membership was “nonsense.” Id. Pastor Thomas himself wore the “red

shirt and black slacks” alleged by the State to signify gang affiliation. Id. Pastor Thomas, and the

other sixty-some-odd people at Bowers’ funeral wore red “to show unity for this man that was

lost” and because Bowers’ mother “had told people they were going to wear red shirts for solidarity

with [Bowers’] favorite color.” Id. The testimony that could have been elicited from Pastor

Thomas is broadly representative of testimony about gang activity that could have been elicited

from other highly credible witnesses, had trial counsel simply attempted to do so. See, e.g., App.

441 (Cummings’ aunt and an office manager at a family medicine practice stating that,

notwithstanding his tattoos, “I have known Rickey since his birth [and he] is not in a gang”); App.

442 (McLennan County commissioner who knew Cummings and explained that the State

misrepresented the existence of “gang problems” to “play on the fears of the community”).

       The evidence from Rotramel (expert) and the lay witnesses would have bolstered the

motion in limine and dramatically altered the evidentiary picture presented to the jury. In the

unlikely event that the State could circumvent a reasonably litigated motion in limine or a

reasonably enforced Gang Evidence Agreement, reasonable preparation would have ensured that

the evidentiary picture presented to the jury would still have differed entirely from what the jury




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actually experienced. The jury would have seen not only that the State’s incessant gang innuendo

was hugely inflammatory, but also that its assertion of Cummings’ Bloods affiliation was false. It

is improbable that reasonable jurors would have credited the gangland-revenge theory, or the

assumptions about substantial participation, culpability, cover-ups, and danger that came with it.

The omitted evidence thereby prejudiced both the outcome of a liability-phase proceeding that was

substantially a jury referendum on the gangland-revenge theory, as well as the outcome of a

punishment phase proceeding suffused with a false view of remorselessness and danger attributed

to Bloods membership.

       Inflaming the jury. The second aspect of the deficiency—the inexplicable failure to object

to the State’s gang evidence and innuendo—permitted the state to present extraordinarily

inflammatory, but insufficiently relevant, information to the jury. The State never alleged nor

introduced any actual evidence that, because Bowers and Cummings were Bloods and Hubert was

in another gang, the crime was gang related. Instead, it simply injected general, inflammatory

references to gang membership throughout the trial, disconnected to the criminal motive the State

was actually alleging and seeking to prove—a close friendship between Cummings and Bowers.

Had trial counsel sought a ruling on its motion in limine, sought to enforce the Gang Evidence

Agreement, moved for mistrial, or otherwise objected, the evidence would have been excluded—

as it was in the Albert Love trial.

       Setting aside the motion in limine or Gang Evidence Agreement, the references to

Cummings’ alleged Bloods membership were still inadmissible under Rules 401, 402, 403, and

404 of the Texas Rules of Evidence—a state of affairs that trial counsel had highlighted in its




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pretrial motion in limine.45 Evidence of gang affiliation is inadmissible if it is “introduced simply

as an attempt to connect appellant to gangs in order to show his bad character.” Pondexter v. State,

942 S.W.2d 577, 584 (Tex. Crim. App. 1996). Moreover, even if the Director were to hypothesize

some attenuated relationship to the gang evidence and the theory that the State alleged, the State’s

evidence would still have been excluded under TEX. R. EVID. 403, because its “probative value

[was] substantially outweighed by a danger of . . . unfair prejudice.” 46 This was not a case where

gang membership was necessary to show motive—everyone acknowledged that Cummings and

Bowers were quite close, including Cummings himself.

       Because trial counsel was asleep at the switch, the State ceaselessly presented the jury with

legally irrelevant information about people’s clothes, their hand signs, and texting habits. The State

was permitted to narrate Mr. Bowers’ funeral as a gathering of violent attendees wearing red,

military-style shirts in a display of gang loyalty, 30 RR 73-74, 123-24, 153-54, and was permitted

to view a music video (in which Cummings did not appear) to showcase his “gangster lifestyle.”



45
   See TEX. R. EVID. 401 (“[Relevant evidence] has any tendency to make a fact more or less
probable than it would be without the evidence”);TEX. R. EVID. 402 (“Evidence which is not
relevant is inadmissible.”); TEX R. EVID. 403 (“The court may exclude relevant evidence if its
probative value is substantially outweighed by a danger of . . . unfair prejudice, confusing the
issues, [or] misleading the jury . . . .”). TEX. R. EVID. 404(a)-(b) (“Evidence of a person’s character
or character trait is not admissible for the purpose of proving action in conformity therewith . . . .
Evidence of other crimes, wrongs or acts is not admissible to prove the character of a person in
order to show action in conformity therewith.”).
46
   The fact that a small subset of the evidence might be characterized as “impeachment” material
as to Cummings makes no difference. The State repeatedly referenced “Flame it Up” before
Cummings ever took the stand—during its opening statement, and when it questioned its third
witness. 30 RR 39; 30 RR 132-34. But the video was not relevant within the meaning of TEX. R.
EVID. 401 because Cummings was not in it and he otherwise had nothing to do with it, 30 RR 156,
so it could not operate to disprove the statement of non-affiliation that he made on the stand.
Moreover, even if nominal impeachment material might be considered relevant, under TEX. R.
EVID. 403, its probative value was far outweighed by the risk of unfair prejudice. Finally, and as
explained in above-the-line text, the State would have had no opportunity to get the evidence into
the record on an impeachment rationale if trial counsel had adequately litigated the gang issue,
because Cummings would have never taken the stand.

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37 RR 34. The State devoted a staggering amount of its cross-examination of Cummings to the

music video. During its cross-examination of Cummings, the state played ”Flame it Up” for the

jury twice—once all the way through, and a second time with pauses necessary to ask Cummings

questions. 37 RR 36. In other words, just before the State made its liability phase closing and the

jury retired to deliberate, the music video presented the all-white jury with a sensory mélange of

threatening black gang activity: young black men making gang signs, discussing firearms, using

inflammatory racial language, wearing gang-suggestive clothing, proclaiming a gangster lifestyle,

and using illegal drugs. Those images then prejudicially remained with jurors as they undertook

their sentencing-phase inquiry, including deliberations on future dangerousness.

       Forcing Cummings to the stand. Trial counsel’s deficiency created the need for Cummings

himself to address his gang membership from the stand. Compare Draughon v. Dretke, 427 F.3d

286, 295 (5th Cir. 2005) (trial counsel’s deficient performance forced defendant to testify as “sole

source of evidence available” to contradict State’s case, for which defendant paid a “high price”).

Here, Cummings’ decision to testify resulted directly from his lawyers’ deficiencies in addressing,

challenging or rebutting the State’s gang evidence. App. 436. After witnessing his lawyers’ failure

throughout the liability phase to mount a defense to the State’s gang retaliation theory, Cummings

eventually felt he was left with no choice but to testify on his own behalf. Id. By then, defense

counsel let the State make the video a central part of its case, teasing the jury with its inflammatory

content. Cummings had to explain that he was not a member of a local Bloods set. And it was as

a result of that statement, opening the door in response to trial counsel’s question, that the State

was permitted to play the video—in which Cummings did not even appear—and submit the

inflammatory lyrics to the jury. 38 RR 65.

                                          *       *       *




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        The conviction and sentence violated the Sixth Amendment because trial counsel simply

failed to prepare to litigate the gang issue, despite recognizing that it was prejudicial. Trial counsel

did not consult with a gang expert about the liability phase of the trial, and failed to develop

evidence of non-membership. Instead, it made a motion in limine to exclude references to gang

affiliation, but abandoned the motion in favor of off-the-record agreement with the State that they

also shelved even though the State spent the entire trial in wanton breach thereof. Trial counsel’s

deficiency had a maximally prejudicial effect—permitting the State to introduce false,

inflammatory, and otherwise inadmissible character evidence; to build an accomplice liability

theory on a false premise of gang affiliation; and, before an all-white jury, to racialize the presumed

danger that Cummings presented.

                3.      28 U.S.C. § 2254(d) Does Not Preclude Relief.


        28 U.S.C. § 2254(d) precludes relitigation of claims “adjudicated on the merits” in state

court, subject to two exceptions applicable here—when the state decision was either legally

unreasonable under § 2254(d)(1) or factually unreasonable under §2254(d)(2). Section 2254(d)

does not preclude relitigation in this case because the IATC-gangs claim presented here is not the

same as the two gang-related IATC claims “adjudicated on the merits” in state court, and (in the

alternative) because the state decision with respect to those two claims was legally unreasonable

under § 2254(d)(1), factually unreasonable under § 2254(d)(2), or both.

                4.      Section 2254(d) Does Not Preclude Relief Because This Claim Is Not
                        The Same Claim That Was Adjudicated On The Merits In State Court.

        Section 2254(d) creates a relitigation bar only for claims that state courts “adjudicated on

the merits.” In Cullen v. Pinholster, 563 U.S. 170 (2011), the Supreme Court announced a rule of

evidence for satisfying the legal unreasonableness exception to § 2254(d) specified in §

2254(d)(1), but § 2254(d)(1) is at issue only if the federal claim is the same claim as a claim


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“adjudicated on the merits” by Texas courts. See Pinholster, 563 U.S. at 181; id. at 186 n.10 &

187 n.11. In the Fifth Circuit, a claim is not the same simply because “a somewhat similar state

law claim was made.” Wilder v. Cockrell, 274 F.3d 255, 260 (5th Cir. 2001) (quotation marks

omitted). If there are new allegations or material new evidence that “fundamentally” alter the claim

presented to the state court, then the federal claim is not the same. See Ward v. Stephens, 777 F.3d

250, 258-59 (5th Cir. 2015). 47

       A federal claim exhibits fundamental alteration when it (1) makes new factual allegations,

see Smith v. Quarterman, 515 F.3d 392, 400 (5th Cir. 2008), or (2) includes new, material evidence

that does more than “supplement” the existing record, see Escamilla v. Stephens, 749 F.3d 380,

395 (5th Cir. 2014). New allegations and new material evidence create distinct claims because

they “places the [prior] claim[] in a significantly different legal posture,” Anderson v. Johnson,

338 F.3d 382, 387 (5th Cir. 2003) (internal quotation marks and citations omitted). No matter

which way one particularizes the “fundamental alteration” standard, Cummings meets it. He

asserts both new grounds for deficient performance and new material facts in support thereof.

       First, the grounds asserted for deficiency and prejudice are different. In the state habeas

application, state habeas counsel alleged two types of deficiency: that trial counsel failed (1) “by

not presenting testimony from a gang expert” (emphasis added), and (2) by not “object[ing] to the

admission of” the inflammatory gang evidence. I WCR 82, 93. State habeas counsel failed to allege

the originating deficiency to which the others traced—the failure to investigate and develop

information about Cummings’ gang membership, including the failure to consult with a gang




47
   See also Escamilla v. Stephens, 749 F.3d 380, 395 (5th Cir. 2014); Lewis v. Thaler, 701 F.3d
783, 791 (5th Cir. 2012); Anderson, 338 F.3d 382, 386-88 (5th Cir. 2003); 2 RANDY HERTZ &
JAMES S. LIEBMAN, FEDERAL HABEAS CORPUS PRACTICE & PROCEDURE § 23.3[c][ii], at 1231-32
(6th ed. 2011).

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expert about the liability phase of the trial. Moreover, the prejudice allegations made by state

counsel omit several of those presented here: that the gang evidence was an important way for the

State to secure a conviction on an accomplice liability theory, and that the constant emphasis on

black gangs in front of the all-white jury effectively racialized the threat assessment. 48

        Second, the evidence used to support the federal claim is materially different. The state

post-conviction claim does not include the billing records, witness list, or AuBuchon declarations

submitted herein, showing that trial counsel did not in fact consult with a gang expert. App. 118-

120; App. 131; App. 435. Additionally, the federal claim is supported by lay declarations that

speak to the prejudice of the claim. App. 438-440.

        The claim presented herein therefore contains allegations and material evidence that differ

from the superficially similar claims in the state habeas application such that, under Fifth Circuit

law, this claim was not “adjudicated on the merits” in state court and § 2254(d) does not preclude

relitigation.

                5.     In the Alternative, § 2254(d) Does Not Preclude Relief Because The
                       State Decision Was Legally And Factually Unreasonable.

        To the extent that this Court finds that the IATC claim presented here is “the same” as the

two gang-related IATC claims adjudicated on the merits by the state court, it is still permitted to

consider those claims de novo, provided that Cummings satisfies one of the two subsections that

specify exceptions to the relitigation bar in § 2254(d). Namely, where the state proceedings:

        (1) resulted in a decision that was contrary to, or involved an unreasonable
        application of, clearly established Federal law, as determined by the Supreme Court
        of the United States; or
        (2) resulted in a decision that was based on an unreasonable determination of the
        facts in light of the evidence presented in the State court proceeding.


48
   See Wilson, J. P. et. al., Racial bias in judgments of physical size and formidability: From size
to threat, JOURNAL OF PERSONALITY AND SOCIAL PSYCHOLOGY, 113, 59-80 (2017). (explaining
effect of blacknesss on perception of threat).

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28 U.S.C. § 2254(d). The TCCA’s adjudication of Cummings’ IATC claim was both legally and

factually unreasonable.

       Before considering whether it was reasonable, this Court must identify the decision under

review. Ordinarily, when a higher state court affirms a reasoned lower state court in a one-sentence

ruling on the merits—which is what happened here—federal courts are to apply a “look-through”

presumption that the higher court adopted the lower court’s reasoning. See Wilson v. Sellers, 138

S. Ct. 1188, 1192 (2018). Unlike the scenario in Wilson, however, the TCCA expressly refused to

adopt the lower court’s findings. Ex parte Cummings, No. WR-84,324-01, 2018 WL 1516614, at

*4 (Tex. Crim. App. Mar. 28, 2018). Instead, the TCCA disposed of all claims in the state post-

conviction application in a single sentence: “[B]ased upon our independent review of the record

and consistent with our role as the ultimate factfinder in habeas corpus proceedings, we deny

relief.” Id. In doing so, the TCCA cited Ex parte Reed, 271 S.W.3d 698, (Tex. Crim. App. 2008),

thereby indicating that it believed that the lower court “findings and conclusions were wholly

unreliable and beyond repair,” id. at 722. 49

       In situations in which the state decision is unreasoned, federal courts are to apply a set of

presumptions to determine what legal rationale “could have supported” the result. See Harrington

v. Richter, 562 U.S. 86, 102 (2011). The look-through rule from Wilson is one such presumption.

See 138 S. Ct. at 1192; see also Johnson v. Williams, 568 U.S. 289, 293 (2013) (federal court must

apply rebuttable presumption that state court opinion addressing only some claims, also meant to

dispose of petitioner’s other claims). In this highly unusual posture, when determining what “could



49
   The unsupported findings in the trial court’s opinion included the presiding Judge’s own
professional history with Mr. Cummings’ trial counsel, based on which he deemed them competent
attorneys. The presiding Judge admitted to not viewing Mr. Cummings’ trial record, instead basing
his opinion that trial counsel did not perform deficiently upon the “excellent reputation” he
believed them to have locally. V WCR 1419-20.

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have supported” the decision, this court should look to the grounds asserted in the State’s briefing,

which is what the TCCA had in hand when it affirmed the lower court without adopting its

findings.

                    a. The exception in § 2254(d)(1) is satisfied.

       Section 2254(d)(1) disables the relitigation bar when a state inmate can show that the state

decision was “contrary to” or “involved an unreasonable application of” federal law that the

Supreme Court has clearly established. An application of clearly established law is unreasonable

under the provision when it is “objectively unreasonable.” Williams v. Taylor, 529 U.S. 362, 409

(2000). Pursuant to Pinholster, the § 2254(d)(1) inquiry can only consider reasonableness in light

of evidence presented to the state court. 563 U.S. at 181. In adjudicating Cummings’ IATC claim

regarding trial counsel’s litigation of the gang issue, the TCCA’s decision relies on a correct

statement of Strickland’s governing legal principle, III WCR 518-19, but goes on to unreasonably

apply both Strickland prongs to Cummings’ case. 50

       Deficiency. Assuming that the State’s deficiency arguments are what “could have

supported” the TCCA’s holding, the state adjudication frames trial counsel’s performance as

“sound trial strategy.” III WCR 556.51 Although § 2254(d) inquiry into the state court’s resolution

of deficiency must be deferential, federal courts applying § 2254(d) “may not indulge post hoc

rationalization for counsel’s decisionmaking that contradicts the available evidence of counsel’s

actions[.]” Richter, 562 U.S. at 109 (internal quotation marks and citations omitted). Moreover,



50
   To be clear, Cummings maintains that no fairminded jurist would concur with any basis—
articulated in the State’s briefing or not—that might theoretically be invoked to defend the TCCA’s
decision.
51
   The content discussed in the “Deficiency” subsection here was included under the heading
“Prejudice Analysis Under Strickland” in the State’s brief. III WCR 555-556. However, it involves
analysis of trial counsel’s performance, which is clearly part of Strickland’s first prong. See 466
U.S. at 687-89.

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under Supreme Court decisional law for deficiency analysis controlling the state adjudication, trial

counsel’s decisions to forego evidence, to permit the state to present inflammatory and otherwise

inadmissible gang content to the jury without objection, and to instead “ridicule” the State’s

theory—decisions made without reasonable investigation or preparation—are not treated as

strategic. See, e.g., Porter v. McCollum, 558 U.S. 30, 39-40 (2009); Rompilla v. Beard, 545 U.S.

374, 396 (2005); Wiggins, 539 U.S. at 528.

       Prejudice. Assuming the TCCA decision could have been supported by the State’s

arguments, it also misapplied clearly established Supreme Court law on Strickland’s prejudice

prong. First, to the extent that the TCCA adopted the State’s position, it simply adopted the wrong

prejudice standard, failing to analyze whether there was a reasonable probability that trial

counsel’s deficiencies undermined confidence in the trial’s outcome. Instead, the presumptively

incorporated briefing material states that there is no prejudice if “the record shows the fundamental

fairness achieved in the trial process[.]” III WCR 556. Although Strickland identifies the abstract

interest in “fundamental fairness” as the reason for permitting IATC relief, 466 U.S. at 696, the

rule is particularized in the form of a prejudice rule about the reasonable probability of a different

outcome. See Strickland, 466 U.S. at 694 (setting forth prejudice inquiry).

       The prejudice reasoning that “could have supported” the decision was also objectively

unreasonable because it cites as overwhelming evidence precisely the information that would have

been excluded had trial counsel performed adequately. Specifically, the presumptively

incorporated reasoning explains that “the totality of the evidence strongly showed that Applicant

was in fact a member of a criminal street gang.” III WCR 558. But it is the failure to challenge that

very evidence that was the subject of the state IATC claim. The TCCA cannot find that the




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deficient failure to exclude evidence was nonprejudicial because the evidence that was not

excluded was strong; that is an argument in favor of a prejudice finding, not against it.

                    b. The exception in § 2254(d)(2) is satisfied.

       Under 28 U.S.C. § 2254(d)(2), an inmate is entitled to federal review of a claim decided

on the merits in state court if the state decision was “based on an unreasonable determination of

the facts in light of the evidence presented in the State court proceeding.” Although the Supreme

Court has cautioned that “a state-court factual determination is not unreasonable merely because

the federal habeas court would have reached a different conclusion in the first instance[,],” Wood

v. Allen, 558 U.S. 290, 301 (2010), it has also made clear that “deference does not imply abdication

of judicial review” and that it does not “by definition preclude relief.” Miller-El v. Cockrell, 537

U.S. 322, 340 (2003). The state reasons that “could have supported” adverse deficiency and

prejudice findings here are based on an unreasonable determinations of fact, including: the

proposition that trial counsel put on “a number of other defense witnesses” denying Cummings’

gang affiliation, III WCR 558; that the defense “sought to minimize the effect of the evidence by

not over-emphasizing its importance by making objections,” III WCR 559; and that trial counsel

reasonably declined to present a liability phase gang expert because “trial counsel chose not to

duplicate the testimony of prison expert AuBuchon with the testimony of gang expert Terry Pelz,”

III CWR 558.

                                         *       *       *

       For the foregoing reasons, § 2254(d) does not restrict relief.

       B.      Any Procedural Default Is Excused.

       The procedural default of the IATC-gangs claim is excused under Martinez, the formal

requirements of which—cause and substantiality—are specified in Section V.B, supra. With

respect to cause, state habeas counsel (OCFW) completely omitted this claim, and lacked any


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strategic reasons for doing so. App. 423-424; App. 427; App. 430-434. With respect to

substantiality, the claim is not “without factual support,” Martinez, 566 U.S. at 16, and he has more

than demonstrated that he “might” be able to meet the Strickland test, Norman, 817 F.3d at 232.

       Any procedural default is also excused under the miscarriage-of-justice gateway, which

permits a federal court to consider the merits of a defaulted claim if, considering “all the evidence,

old and new, incriminating and exculpatory,” it is “more likely than not that any reasonable juror

would have reasonable doubt.” House, 547 U.S. at 537-38 (internal quotation marks and citations

omitted). For the reasons set forth in Section V.B., supra, which are hereby incorporated by

reference, Cummings meets that threshold.

VIII. THERE WS A SIXTH AMENDMENT RIGHT-TO-COUNSEL VIOLATION
      BECAUSE THE DEFENSE TEAM WAS SUBJECT TO A CONFLICT OF
      INTEREST.

       The defense team was burdened by a serious conflict of interest that materially impaired

its representation and violated Cummings’ right to effective assistance of counsel guaranteed by

the Sixth and Fourteenth Amendments to the United States Constitution. See Cuyler v. Sullivan,

466 U.S. 335 (1980). The defense team’s chief investigator and its chief expert were working for

Cummings, who stood accused of killing Hubert to avenge Hubert’s supposed murder of Bowers,

and were simultaneously working for Steven Peace, who stood accused of killing Bowers. Due to

the State’s theory of the case against Cummings, defense counsel’s duty of loyalty to Cummings

required that the defense develop evidence that Peace killed Bowers, and its duty of loyalty to

Peace required that the same members of the defense team develop evidence that Peace did not

kill Bowers.

       The conflicting duties resulted in tangible damage to Cummings’ defense. There was

scattered evidence at trial—evidence never developed nor connected by the defense—that

Cummings did not hold Hubert accountable as Bowers’ killer. Even the State didn’t really think


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Hubert killed Bowers. Despite receiving information from multiple sources that Hubert was

Bowers’ killer, the WPD never arrested or even questioned Hubert about it. See 30 RR 185-87

(Detective Alston testifying that the police had no credible evidence that Hubert had murdered

Bowers, and did not seek an arrest warrant for Hubert). Instead, Peace was the only person arrested

and charged in connection with Bowers’ murder. Peace was arrested after multiple informants

came forward, including Cetha Sneed, Tyus Sneed’s sister. App. 3-6.

          This claim was not adjudicated on the merits by the state court, and it is therefore

unrestricted by 28 U.S.C. § 2254(d). The facts supporting this claim are set forth below and in the

other claims in the Petition, which are incorporated by this specific reference as if fully set forth

herein.

          A.     The Defense Team Had Conflicts Of Interest That Deprived Cummings Of His
                 Sixth Amendment Right To Effective Assistance Of Counsel.

          The Sixth Amendment claim here is governed by Cuyler v. Sullivan, 466 U.S. 335 (1980),

under which Cummings must establish that “an actual conflict of interest adversely affected his

lawyer’s performance.” Id. at 350. Were this Court to apply Strickland’s two-pronged

ineffectiveness rule, Cummings would be required to show trial counsel’s acts and omissions—

relying upon an investigator and expert who were simultaneously representing another defendant

whose interests conflicted with Cummings’—were objectively unreasonable, and that, absent the

deficient representation, there is a reasonable probability of a different outcome. See 466 U.S. at

687, 694. 52 Although Cummings can satisfy both prongs of the traditional Strickland standard, and

although he pleads content necessary to demonstrate his entitlement to Strickland relief, he does




52
  Although the deficiencies in this Petition are subdivided into five distinct IATC claims, this
Court must cumulate prejudice across all five when determining whether there was a reasonably
probable effect on the guilt- and punishment-phase outcomes. See note 24, supra.

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not need to prove a reasonably probable effect on outcome (Strickland prejudice) because this

claim is properly analyzed under Cuyler.

                 1.         The defense team had a conflict of interest, which amounts to Sixth
                            Amendment deficiency.

        “Representation of a criminal defendant entails certain basic duties. Counsel’s function is

to assist the defendant, and hence counsel owes the client a duty of loyalty, a duty to avoid conflicts

of interest.” Strickland, 466 U.S. at 688 (citing Cuyler, 446 U.S. at 346). “Prevailing norms of

practice” serve as guides for determining the reasonableness of trial counsel’s challenged acts and

omissions, id., and those norms are violated when the defense team includes an investigator subject

to a conflict of interest. See Guy v. Cockrell, 343 F.3d 348, 352-55 (5th Cir. 2003). Cummings’

representation at trial was deficient because his defense team was subject to actual conflicts that

interfered with what were clear investigative priorities.

        Under the prevailing professional norms, counsel owed a duty of loyalty to Cummings that

required them to “be alert to all potential and actual conflicts of interest that would impair counsel’s

ability to represent a client.” NLADA GUIDELINE 1.3(B); see also AMERICAN BAR ASSOCIATION,

Model    Rules        for   Professional   Conduct   at   Rule   1.7(a)(1)    (1983),    available   at

https://www.americanbar.org/groups/professional_responsibility/publications/model_rules_of_pr

ofessional_conduct/model_rules_of_professional_conduct_table_of_contents/ (“ABA MODEL

RULES”) (conflict of interest exists if the representation of one client “will be directly adverse to

another client”). Here, the defense team included, and trial counsel unreasonably relied upon, an

investigator and expert whose loyalty was divided between Cummings’ interest in showing that

there was reason to suspect that Peace (not Hubert) killed Bowers, and Peace’s interest in showing

the opposite. Counsel’s reliance upon conflicted professionals for developing the facts of the

defense constitutes deficient performance. Although the Fifth Circuit has an overly-restrictive rule



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about which duty-of-loyalty violations are per se deficient and analyzed under Cuyler, it has

squarely held that the conflict at issue here is: one client’s case should not be limited by the defense

team’s ethical duties to a different client. See Beets v. Scott, 65 F.3d 1258, 1265 (5th Cir. 1995)

(Beets II); see also Perillo v. Johnson, 205 F.3d 775, 805-806 (5th Cir. 2000) (counsel

compromises “duty of loyalty and zealous advocacy” to [client] by choosing between or attempting

to blend the divergent interests of multiple clients).

        Trial counsel’s investigator, Ed McElyea, and cell phone expert, Mike O’Kelly, 53 were

simultaneously representing Cummings and Peace, the person the State actually charged with

killing Bowers. 54 The stronger the evidence that Peace killed Bowers, the weaker the State’s

preferred inference that Cummings killed Hubert to avenge Bowers’ death. But McElyea and

O’Kelly’s work for Peace, at a minimum, created a disincentive for them to develop evidence that

pointed to him as Bowers’ killer. 55




53
   O’Kelly eventually became infamous as the investigator from the hit TV show “Making a
Murderer,” which showed him extracting a written confession from his own client—Brendan
Dassey, a 16-year-old, intellectually disabled Wisconsin murder defendant. Before O’Kelley
extracted his own client’s written confession—the extraction of which was videotaped—Dassey
maintained his innocence. See Dassey v. Dittmann, 201 F.Supp.3d 963, 978 (E.D. Wis. 2016).
O’Kelly’s questioning read like a police interrogation, id. at 977-78, with his “primary goal to
uncover information that would bolster the prosecution’s case.” Id. at 977. O’Kelly maintained a
low opinion of his own client, calling him a “kid without a conscience” based only on the
inconclusive results of O’Kelly’s polygraph examination, expressing contempt for his client’s
family, and endeavoring to limit contact between his client and his client’s attorney. Id.
54
   McElyea was appointed to Peace’s team on December 19, 2011, App. 132, and worked on
Peace’s case from then through April of 2012. App. 133-134. O’Kelly was appointed to Peace’s
team on May 11, 2012. App. 150.
55
   McElyea’s notes indicate that he did not even attempt to treat the cases separately. In one
example of the casual commingling of the investigations, he lists “Cummings and Peace” in the
Case Number section of a form for investigation notes. App. 148. In another, he visited Shelia
Bowers (Hilliard) along with Michelle Tuegel on September 5, 2012, but documentation of the
interview shows that he was conducting the interview for both the Cummings case and the Peace
case simultaneously. App. 458-461.

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       Cummings was being tried first. Anything McElyea or O’Kelly developed for use in

Cummings’ defense would have been available for the District Attorney’s use against Peace in his

trial. If the lawyer for Peace believed that McElyea or O’Kelly was trying to develop a case for

Cummings in which Peace was the likelier killer of Bowers, she would have been forced to fire

him. Whether their duty of loyalty as part of the Peace team required them to avoid evidence

implicating Peace, or their interest in their jobs on the Peace team inspired them to do so, McElyea

and O’Kelly had, at best, divided loyalties that prevented them from fulfilling the defense team’s

duty of loyalty to Cummings. McElyea and O’Kelly were required to keep for Peace’s exclusive

benefit anything helpful to Cummings that either man learned in the course of preparing Peace’s

defense. But at the same time Cummings was entirely dependent upon them to gather the evidence

to support his defense. 56 Where the defense’s “struggle to serve two masters cannot be doubted,”

there is an actual conflict that violates the Sixth Amendment. Glasser v. United States, 315 U.S.

60, 75 (1942) (quoted in Cuyler, supra, 446 U.S. at 349).

       That the defense team was subject to a conflict of interest by way of its investigators and

experts, rather than because trial counsel themselves represented the other client creating the

conflict, is immaterial under two principles. First, for the purposes of the deficiency analysis, trial

counsel and the experts and investigators that work for them are not distinct Sixth Amendment

entities. See Guy, 343 F.3d at 352-55 (treating Sixth Amendment deficiency as question of whether

investigator ignored investigation because of a conflict). The “Sixth Amendment . . . relies . . . on

the legal profession’s maintenance of standards sufficient to justify the law’s presumption that




56
   O’Kelly prepared a document on May 7, 2012—five-and-a-half months before Cummings’
trial—that laid out for Peace’s trial counsel the cell phone evidence purportedly connecting Peace
to Mr. Bowers’ murder, and detailing the extensive labor O’Kelly proposed to undertake on
Peace’s behalf, totaling over 100 hours. App. 154-156.

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counsel will fulfill the role in the adversary process that the Amendment envisions.” Strickland,

466 U.S. at 688. One such standard is TEXAS SUPREME COURT RULE 5.03 (Responsibilities

Regarding Nonlawyer Assistances), which provides that assistants such as investigators “act for

the lawyer in rendition of the lawyer’s professional services.” TEX. SUP. CT. R. 5.03 (Commentary)

(1990). See also AMERICAN BAR ASSOCIATION, Supplementary Guidelines for the Mitigation

Function of Defense Teams in Capital Cases at Guideline 4.1(C) (2008), available at

https://www.americanbar.org/content/dam/aba/

uncategorized/Death_Penalty_Representation/Standards/National/2008_July_CC1_Guidelines.p

df (“All members of the defense team are agents of defense counsel.”).

       Second, as an alternative to the vicarious attribution of investigator conflict, trial counsel

was deficient in failing to sufficiently supervise the potential conflicts of the defense team.

Professional norms require that trial counsel direct the work of experts and investigators. See Texas

Bar Guidelines and Standards for Texas Capital Counsel at GUIDELINE 10.1(A) (2006) (“[L]ead

counsel bears overall responsibility for the defense team, and should allocate, direct, and supervise

its work in accordance with these Guidelines and professional standards.”), available at

https://www.americanbar.org/content/dam/aba/uncategorized/Death_Penalty_

Representation/Standards/State/TX_Bar_Association_adopted_version_of_ABA_Guidelines.aut

hcheckdam.pdf.

       Indeed, Guy treats as distinct Sixth Amendment theories that (1) trial counsel was deficient

because the investigator conflict was simply attributed to him for Sixth Amendment purposes and

(2) trial counsel was deficient for failing to supervise the defense team. See 343 F.3d at 352-55;

see also, e.g., Matthews v. U.S., 682 F.3d 180, 188 (2d Cir. 2012) (where someone trial counsel

“relies on for information in formulating a defense” has conflict of interest, trial counsel’s knowing




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reliance on that person bears on trial counsel’s effective discharge of duty to make reasonable

investigations).

               2.      The required quantum of prejudice is an “adverse effect” on the
                       representation, and there were such effects here.

       There is an exception to the requirement that an ineffective-assistance claimant show

Strickland prejudice (a reasonably probable effect on the outcome) where “an actual conflict of

interest adversely affected his lawyer’s performance.” Cuyler, 446 U.S. at 350; see also Strickland,

446 U.S. at 692 (relaxing prejudice showing necessary in conflict-of-interest scenarios); Cuyler,

446 U.S. at 349-50 (“defendant who shows that a conflict of interest actually affected the adequacy

of his representation need not demonstrate prejudice in order to obtain relief”); Beets II, 65 F.3d

at 1265 (citing Cuyler, 446 U.S. at 348). Strickland itself explains why the Cuyler test supersedes

the traditional prejudice inquiry in conflict-of-interest scenarios: because “it is difficult to measure

the precise effect on the defense of representation corrupted by conflicting interests.” Strickland,

466 U.S. at 692. This case sits in the heartland of Cuyler, even in the Fifth Circuit—which

(wrongly) limits Cuyler to “multiple representation” scenarios rather than to any situation giving

rise to a defense team’s ethical conflicts. See Beets II, 65 F.3d at 1265-66.

       McElyea and O’Kelly’s simultaneous representation of defendants with conflicting

interests adversely affected the Cummings defense team, which failed to explore and target the

obvious holes in the State’s revenge narrative. Hubert was only one of several people suspected of

having a role in Bowers’ murder, and the others to whom suspicion attached were known in the

community. A non-conflicted defense team would have attacked the State’s theory that Cummings

was orchestrating retaliation against Hubert—principally, by showing that Hubert was not

considered responsible for killing Bowers.




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       Steven Peace was a key suspect in the Bowers murder—known to law enforcement and on

the street alike. The problems that such a cloud of suspicion created for the State’s narrative—that

Cummings orchestrated a hit on Hubert to avenge Bowers—were never explored before, or

exposed at, Cummings’ trial. The most obvious place for a non-conflicted defense investigation to

start would have been to request the records of law enforcement related to the case against Peace.

The evidence implicating Peace was favorable to Cummings’ defense, and therefore discoverable

under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. Defense counsel made no such

request.

       In the trial itself, a non-conflicted defense team would have called attention to the

involvement of Steven Peace—the person who the State had already arrested for Bowers’ murder.

Peace, however, was barely mentioned at Cummings’ trial. The few times his name came up, trial

counsel allowed the references to pass without drawing out the details or connections that would

have highlighted the widespread knowledge of Peace’s role in the Bowers killing. See 30 RR 148-

49 (Iglehart testifying that Peace had also been a subject of rumors, and that he had been arrested);

30 RR 197 (Alston testifying to Peace’s arrest); 35 RR 41 (Shelia Bowers mentioning that she

thought Peace was potential culprit).

       The State thought the Bowers murder so central to its case that, on the very first day, it

called the lead investigator in the Bowers case, Detective Alston, to add color to the gang-revenge

narrative. 30 RR 159-75. Alston’s testimony presented an obvious opportunity to attack that

narrative by, among other things, calling attention to Hubert’s non-culpability in the Bowers death.

Even when cross-examining Alston, however, trial counsel made only passing reference to Peace,

suggesting (in the interest of Peace but not Cummings) that the case against Peace was extremely




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weak. 57 Cf. Cuyler, 446 U.S. at 348-49 (discussing finding of adverse effect in Glasser). Trial

counsel conducted no cross-examination following up on Alston’s earlier testimony that multiple

informants had come forward about Peace, which would have provided the sorely needed

counterpoint to the State’s focus on Hubert as the source of neighborhood suspicions. Indeed,

Cummings himself offered testimony, which the defense team failed to corroborate with

investigation, that he was on such good terms with Hubert that he alienated Bowers family. See 36

RR 80.

         The defense also bypassed numerous opportunities to elicit testimony from other witnesses

that would undercut the Cummings-avenging-Bowers narrative by pointing to the evidence against

Peace. Trial counsel failed to question witnesses about neighborhood rumors that Peace killed

Bowers, leaving them unable (1) to undermine the prosecution’s assertion that Cummings was

fixated on Hubert and (2) to corroborate Cummings’ assertion that he was not. For example, trial

counsel failed to question Theresa Salazar (the first person to see Bowers after he was shot),

Brittany Snell (Villas resident and girlfriend of informant Delarontae Walker), Marion Bible

(surviving victim), and Deontrae Majors (surviving victim) regarding rumors about Peace’s

culpability. All were firmly ensconced in the East Waco social network and in the community

closest to the Bowers shooting, and all were potential sources of information about street rumors

involving Peace.

         The defense team’s conflicting incentives were also evident in its approach to Bowers’

gang membership. As representatives of Peace, they would have been maximally incentivized to




57
   30 RR 211 (“Q: In fact, in your case, do you have a murder weapon in the Emanuel Bowers
case? A: No, I don’t. Q: You don’t have DNA either, do you? A: No, I do not. Q: You don't have
fingerprints either, do you? A: No, I don’t. Q: And yet Steven Peace is awaiting trial on murder,
isn’t he? A: Yes, he is.”).

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highlight Bowers’ gang ties, which multiply the potential motives (and suspects) for his murder.

As representatives of Cummings, however, they needed to develop evidence showing the absence

of gang affiliation. Indeed, the result of this conflict was palpable throughout the representation,

reflected in the complete absence of any investigation into gang membership. See Section VII.A,

supra.

         The effects of the conflict are reflected in the work product of investigator Ed McElyea,

who translated the raw information he collected into material to be used at Cummings trial. In the

process he appears to have suppressed Peace’s name as an alternative shooter in the Bowers killing.

McElyea’s notes reference the State’s theory of the case as revolving around Cummings’ supposed

motive of retaliation for Bowers’ murder, App. 146, and demonstrate McElyea’s knowledge that

both Peace and Hubert were potential suspects in the Bowers killing. Id. McElyea also kept a list

of potential witnesses, with columns indicating whether the State or defense had interviewed them.

App. 140-147. This list of witnesses included an entry for Paul Hall, whom McElyea noted as

another suspect. App. 147. Peace, however, is conspicuously absent from the list, indicating that

he was not being treated as an investigatory target, despite his demonstrated status as a suspect in

Bowers’ murder. App. 140-147.

         Cetha Sneed’s presence in the file is particularly troubling from a conflicts standpoint.

Cetha, victim Tyus Sneed’s sister, was also the star eyewitness accusing Peace of killing Bowers.

App. 108-116. McElyea’s investigation of Cetha is billed in invoices for both Peace and

Cummings. App. 134; App. 137. Cetha appears to have been the only victim sibling that McElyea

spoke to. Id. Notwithstanding the fact that McElyea appears to have sought Cetha out, and even

though Cetha identified Peace as Bowers’ killer, such information never made its way to the




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defense team. She was never mentioned by trial counsel at Cummings’ trial, let alone called as a

witness. The scenario involving Cetha appears to be part of pattern.

        The conflict, expressed through the investigatory choices discussed above, had an adverse

effect on both phases of the trial. At the guilt phase, it resulted in the failure to effectively question

Hubert’s role in the Bowers murder, and in the otherwise inexplicable willingness of the defense

team to allow Bowers’ funeral to be characterized as a gang summit. The effects of the anemic

gang investigation were also evident at the punishment phase, where Cummings status as a gang

member loomed over the jury’s deliberations over future dangerousness.

                3.      In the alternative, if the required quantum of prejudice is that
                        traditionally associated with Strickland, then the defense team’s conflict
                        had a reasonably probable impact on the outcome.

        Even if this Court did not apply Cuyler, relief is warranted because the conflict of interest

had a reasonably probable effect on the outcome of the proceeding. See Strickland, 466 U.S. at

694. The reason is straightforward—there could have been no conviction without an airtight

revenge narrative.

        The State used its opening to emphasize that the “why” would explain the “who,” and

called this motive the “key” to pinpointing Cummings as one of the perpetrators. 30 RR 23. The

State told the jury that it was the close relationship between Cummings and Bowers, and the fact

that Cummings “held Keenan Hubert responsible,” that drove Cummings to “take justice into [his]

own hands,” when the investigation into Bowers’ murder stalled. 30 RR 24, 28-29. The State

continued to hone in on this theory as they questioned witnesses, repeatedly returning to the close

friendship that Cummings and Bowers shared. See, e.g., 30 RR 118-19 (questioning Bowers’

girlfriend, Shaniese Iglehart, about Bowers’ friendship with Cummings); 37 RR 21 (emphasizing

while cross-examining Cummings that Bowers’ death hit him hard). The State also attempted to

show that Hubert was believed by the denizens of East Waco to be behind Bowers’ murder, and


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endeavored to elicit testimony connecting Cummings as a purveyor of this rumor. See 30 RR 134-

35. The logical conclusion, in the State’s telling, was that the neighborhood gossip had winnowed

down the shooting suspects to Hubert, whom Cummings then targeted for retaliation. In its closing

argument to the jury, the State presented, as fact, that Hubert had been fingered as Bowers’ killer,

and that he subsequently paid the ultimate price for it. 38 RR 24.

       There is a reasonable probability that trial counsel was unable to refute the State’s theory

of Cummings’ motivation to kill Hubert because of this conflict of interest. As in Guy, Cummings

was prejudiced by McElyea’s and O’Kelly’s conflict, which would have required them to

impossibly “serve two masters,” Glasser, 315 U.S. at 75, in collecting evidence distancing Peace

from Bowers’ murder for Peace’s defense, while also collecting evidence for Cummings’ team

that demonstrated Peace’s culpability in the same murder. Although Cummings himself explained

that he did not hold Hubert accountable for Bowers’ death, the defense let the revenge narrative

suffuse the entire proceeding by failing to point out that Hubert was not actually regarded as the

primary suspect.

       The prejudice at both phases of the trial was also the result of the deficient representation

on the issue of Cummings’ gang membership, which also reflected the defense team’s conflicting

duties of loyalty. At the guilt phase, and as explained in Subsection VII.A.2, supra, this deficiency

allowed the state to introduce otherwise inadmissible gang evidence to prove behavior in

conformance with a violent personality, to lay a predicate for a law-of-parties conviction for capital

murder, and to racialize the entire proceeding before an all-white jury. The effects of that

deficiency also had a reasonably probable effect on the sentencing phase, at which point the State

was effectively rewarded for spending the entire guilt phase making Cummings look like a

dangerous member of a non-existent Waco Bloods set.




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       B.      Any procedural default is excused.

       Any procedural default of this claim is excused under Martinez, the formal requirements

of which—cause and substantiality—are specified in Section V.B, supra. With respect to cause,

state habeas counsel (OCFW) completely omitted this claim, and lacked any strategic reasons for

doing so. App. 423-425; App. 427-428; App. 430-434. With respect to substantiality, the claim is

not “without factual support,” Martinez, 566 U.S. at 16, and he has more than demonstrated that

he “might” be able to meet the Strickland test, Norman, 817 F.3d at 232.

       Any procedural default is also excused under the miscarriage-of-justice gateway, which

permits a federal court to consider the merits of a defaulted claim if, considering “all the evidence,

old and new, incriminating and exculpatory,” it is “more likely than not that any reasonable juror

would have reasonable doubt.” House, 547 U.S. at 537-38 (internal quotation marks and citations

omitted). For the reasons set forth in Section V.B, supra, which are hereby incorporated by

reference, Cummings meets that threshold.

IX.    THERE WAS A SIXTH AMENDMENT RIGHT-TO-COUNSEL VIOLATION
       BECAUSE THE DEFENSE FAILED TO RAISE AND COMPETENTLY ARGUE
       VIABLE CLAIMS UNDER BATSON V. KENTUCKY.

       Batson v. Kentucky, 476 U.S. 79 (1986) provides the modern framework for applying the

rule that the prosecution may not strike jurors based on race. See id. at 84. An inmate can show a

Sixth Amendment ineffective-assistance-of-counsel violation based on defense counsel’s deficient

litigation of a Batson challenge (“IATC-Batson” claim). See, e.g., Scott v. Hubert, 610 F. App’x

433, 434 (5th Cir. 2015).

       Batson involves a “familiar” three-step process: (1) the defendant must make out a “prima

facie case by showing that the totality of the relevant facts gives rise to an inference of

discriminatory purpose”; (2) if a prima facie case is made, the State must “explain adequately the

racial exclusion by offering permissible race-neutral justifications for the strikes”; and (3) if the


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State provides a race-neutral explanation, the court must determine “whether the opponent of the

strike has proved purposeful racial discrimination.” Johnson v. California, 545 U.S. 162, 168

(2005) (internal citations and quotations omitted). The familiar deficiency-prejudice framework

applies to IATC-Batson claims, see Scott, 610 F3d. App’x at 434 (citing Strickland, 466 U.S. at

687), although the prejudice inquiry involves the effect of deficient performance on the outcome

of the corrupted Batson challenge—not the guilt or sentencing phase determination. See Scott, 610

F. App’x at 434-35 (noting that because “a Batson violation would be a structural error,” an IATC-

Batson claim requires a prejudice showing involving the likely success of the deficiently litigated

Batson claim). The reason the pertinent outcome is the Batson challenge itself rather than the guilt

or sentencing-phase outcomes is indeed because Batson errors are structural. See Scott, 610 F.

App’x at 434-35; United States v. McAllister, 693 F.3d 572, 582 n.5 (6th Cir. 2012); Ford v. Norris,

67 F.3d 162, 171 (8th Cir. 1995).

       There were IATC-Batson violations with respect to two female African American

panelists—venirepersons Cindy Cobb and Thressa Thomas—and each is an independent ground

for Sixth Amendment relief. With respect to Cobb, defense counsel failed to put forth the necessary

factual basis for a prima facie case at Batson Step 1, and was appeared to misunderstand the whole

Batson framework. Then, seemingly flummoxed by her mix up during voir dire of Cobb, defense

counsel failed to raise any Batson challenge at all to Thomas—the very next panelist, an African

American woman upon whom the prosecution exercised a peremptory strike.

       With respect to both Cobb and Thomas, the deficient Batson litigation was prejudicial. It

is at least reasonably likely that competent presentation of the challenge would have resulted in a

finding of discrimination. In addition, because trial counsel engaged in deficient jury selection




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process, Cummings ended up with an all-white jury maximally susceptible to the State’s strategy

of bombarding the courtroom with images of violent black gangs.

       This claim is based on the following facts and law, and on the allegations raised in other

claims in this Petition, which are incorporated herein by this specific reference.

       A.      There Was A Sixth Amendment Violation Associated With Trial Counsel’s
               Ineffective Batson Litigation As To Cobb and Thomas.

       In general, capital defense counsel are expected to “be familiar with the precedents relating

to questioning and challenging of potential jurors[.]” ABA GUIDELINE 10.10.02.B. Defense

counsel should be “particularly” fluent in those challenges “relating to bias on the basis of race or

gender.” ABA GUIDELINE 10.10.02.A. In light of the fact that “the history of capital punishment

in this country is intimately bound up with its history of race relations,” the Commentary to the

Guidelines explains that “[c]ounsel should listen closely to the prosecutor’s voir dire, challenges

for cause and reasons for exercising peremptory challenges, make appropriate objections, and

ensure that all information critical to a discrimination claim is preserved on the record.”

Commentary to ABA GUIDELINE 10.10.2. Reflecting Batson’s heavily context-dependent test, trial

counsel must “ensure that it is clear from the record not only that the prosecutor struck a particular

juror, but the race of the juror, of every other member of the venire, and the extent to which the

unchallenged venire members shared the characteristics claimed to be justifying the challenge.”

Commentary to ABA GUIDELINE 10.8.

       With respect to both Cobb and Thomas, defense counsel’s performance fell woefully short

of professional standards. The voir dire of Cobb and Thomas fell to the most junior member of the

defense team, Michelle Tuegel. Tuegel had graduated from law school in July 2010, obtaining her

license a few months later. 5 WRR 132. She joined Cummings’ team as third chair in July 2011,

5 WRR 132, after working on a single murder trial. 5 WRR 134-35. She did not conduct the voir



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dire in that case. 5 WRR 135. Before Cummings’ trial, Tuegel had worked on one other capital

murder trial. 5 WRR 133. Prior to trial, Cummings’s lead counsel, Russell Hunt, acknowledged

that Tuegel had “never before seen individual voir dire.” App. 117. (emphasis added). As to each

juror, had Tuegel been able to effectively litigate Batson, there is a reasonable probability that a

Batson challenge would have been sustained.

               1.      There Was A Sixth Amendment Violation Associated With Trial
                       Counsel’s Ineffective Batson Litigation As To Cobb.

       Deficiency. On the afternoon of August 23, 2012, venireperson Cindy Cobb took the

witness stand to be questioned by both the parties. 25 RR 145. Prosecutor Michael Jarrett

questioned Cobb, and following his questioning, challenged her for cause. 25 RR 145-199. Tuegel

asked to question Cobb before the judge ruled, 25 RR 199, and the judge allowed Tuegel to

question her for the purpose of “rehabilitation,” 25 RR 201. Following Tuegel’s questioning, the

prosecutor clarified that his challenge was based on his understanding that Cobb was unable to

assess the death penalty for a non-shooter. 25 RR 205. Before the judge ruled on the challenge for

cause, Jarrett announced: “Judge, I don’t think we need to go any further. We will exercise a

peremptory challenge.” 25 RR 207.

       At that point, Tuegel stated, “we’re going to make a Batson challenge, that this was not a

race neutral reason for them exercising a peremptory.” 25 RR 207. Anticipating his burden at

Batson Step 2, Mr. Jarrett responded, “I’ll state my race neutral reasons on the record.” 25 RR 207.

Before doing so, Mr. Jarrett flagged Tuegel’s failure to carry her Step-1 burden: “it’s the defense’s

obligation to prove a prima facie case that the State has violated the juror’s rights.” 25 RR 208.

Tuegel responded with a non-sequitur, stating only that “Cobb is one of the only African American

jurors on this panel that we’ve even gotten close to qualifying.” 25 RR 208. In a shared colloquy,

the judge and the prosecutor stated:



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          Court: Well, I want to make it clear that every other one has been - -
          Jarrett: -- agreed to by the defense.
          Court: -- an agreed challenge or an agreed excuse by the State and the defense.

25 RR 208.

          Tuegel was asked by the court if she had anything else to add to her Step 1 position, and

she responded with an observation about the State’s failure to satisfy Batson Step 2: “No, Your

Honor. Just that I don’t think the State has come up with a race neutral reason, and I thought that

was their burden.” 25 RR at 209. The court explained that it was the State’s burden only after the

defense had, in the court’s view proven a prima facie case at Step 1, and the court “[did not] see

one.” 25 RR at 209. Tuegel told the court she had nothing else to add, and the court denied the

Batson challenge. 58 25 RR at 209.

          The court did not see a prima facie case because Tuegel unreasonably failed to articulate

one. As explained above, she merely stated that Cobb was “one of the only African American

jurors on this panel that [the parties had] even gotten close to qualifying.” 25 RR 208. Competent

Batson litigation required more, even though satisfying Batson Step 1 was not intended to be

difficult task. See Dewberry v. State, 776 S.W.2d 589, 591 (Tex. Crim. App. 1989) (en banc). To

the contrary, in Batson itself, the Supreme Court held that a defendant can make a prima facie case

of discrimination by offering a wide variety of evidence, so long as the sum of the proffered facts

gives “rise to an inference of discriminatory purpose.” 476 U.S. at 94. And, a defendant may rely

on “all relevant circumstances” to raise an inference of purposeful discrimination. Id. at 96-97.

          Because she misunderstood Batson, Tuegel offered very little of the available evidence to

overcome the low Batson Step 1 bar. By the time Cobb was questioned, ten jurors had already




58
     Mr. Jarrett, nonetheless, stated his race neutral reasons for striking Cobb. 25 RR 209-210.



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been seated—all of whom were white. Tuegel did not offer this fact in support of her challenge.

Prior to Cobb, several African American panelists were disqualified from serving on the petit jury.

As the court and prosecutor pointed out, these prospective jurors had been excused due to

agreements from both sides. 25 RR 208. Therefore, before Cobb was questioned, the State had

never been forced to use a peremptory strike in order to exclude a black juror. 59

       The State’s change of position on Cobb, the first qualified prospective black juror, gave

rise to an inference of discrimination. Initially, the prosecutor led Cobb to agree that she would

not vote for the death penalty under the law of parties for a non-shooter, and that prompted the

challenge for cause. 25 RR 198-99. Then defense counsel rehabilitated Cobb, showing that she

would not automatically vote no on the second special issue for a non-killer. 25 RR 203-204. The

prosecutor returned to questioning Cobb, and, upon hearing her say that she could consider a death

sentence for a non-killer, the prosecutor became frustrated, rude, and resorted to a false attack on

defense counsel. First, the prosecutor challenged Cobb to tell him “what changed your mind in the

last three minutes.” 25 RR 206. In response to Cobb saying she had thought “about the

circumstances and knowing that it would be like another trial and we would hear more evidence,

the prosecutor shot back “Here’s the deal, Ms. Cobb. I think Ms. Tuegel misstated the law.” 25

RR 206. That prompted an objection from the defense. 25 RR 206-207. Even though the court

overruled the objection, allowing the prosecutor to continue questioning Cobb, he abruptly

changed course and used a peremptory strike. 25 RR 207. It was at that point that the defense

brought the Batson challenge.




59
   The State did exercise a peremptory strike against a non-white female prospective juror when it
struck juror number 315, Roxanna Lamkin, a Hispanic female. 21 RR 223.

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          The State’s use of a peremptory strike on Cobb not only kept the first qualified prospective

African American juror off the jury, but it also allowed the State to maintain what remained an all-

white jury, with only two more seats to fill. 60 These facts could have been raised in support of

defense counsel’s Batson Step-1 argument, which would have been sufficient evidence to

overcome step one and shift the burden to the State in Step 2.

          Tuegel was clearly confused about Batson, having attempted to satisfy her Step-1 burden

by reference to whether the State had offered sufficient justification for a Step-2 finding—even

though Step 2 had not been reached. In short, Tuegel did not appear to understand the burden

shifting framework for a Batson challenge. That failure was Strickland deficiency.

          Prejudice. Had defense counsel properly litigated the Batson challenge as to Cobb, there

is a substantial likelihood that the challenges would have succeeded. To establish a prima facie

case necessary for Batson Step 1, defense counsel could have offered a “wide variety of evidence.”

See Johnson v. California, 545 U.S. at 169. Defense counsel only needed to offer enough evidence

to support an inference of discrimination. Id. And there was ample evidence available for defense

counsel to present to satisfy Step 1. By the time Cobb was questioned, ten of the twelve regular

juror seats had been filled—all of them with white jurors. And, up until that point, no African

American panelist had even gotten as far as Cobb. In other words, Cobb presented the first real

threat to disrupt the racial homogeneity of the jury. Had the defense called attention to the

prosecutor’s reaction to that threat, the defense would have met its burden under Step 1, at least.

          The prosecutor recognized that “some Court later on down the line” might find that a prima

facie case was established. 25 RR 281. Also recognizing this possibility, the trial judge noted for

the record that, had the defense established “in the first place,” the State’s proffered reasons for



60
     The two remaining seats were filed with white jurors, as were the two alternate seats.

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striking Cobb were, “in fact, race neutral and valid . . . .” 25 RR 281. 61 As a result, the prosecution’s

sole proffered reason for striking Cobb is known—because she supposedly vacillated about

whether she could impose the death penalty on a non-shooter. 25 RR 209. This reason, however,

was likely pretextual. Had the Batson challenge been competently litigated, there was at least a

reasonable probability of success.

        An analysis of similarly situated white panelists that were ultimately seated discloses the

pretextual character of the race neutral reason the State offered, and thereby demonstrates the merit

of the mishandled Batson claim. This comparative analysis is evidence that would have

supplemented the arguments raised in support of a prima facie case, and also to establish a

reasonable probability that the asserted justification was a pretext for discrimination. See Miller-

El v. Dretke, 545 U.S. 231, 247-48 (2005) (Miller–El II); see also Foster v. Chatman, 136 S. Ct.

1737, 1751 (2016) (finding “otherwise legitimate reason” for striking prospective black jurors

“difficult to credit in light of the State’s acceptance of” white juror to whom same reasons also

applied); Snyder v. Louisiana, 552 U. S. 472, 483 (2008) (same); Reed v. Quarterman, 555 F.3d

364, 372–73 (5th Cir. 2009) (same).

        The first seated juror, Glenda Reed, a white female, expressed similar, if not greater,

uncertainty in her ability to impose a death sentence than did Cobb. Reed was very clear that, since

learning that the case involved the possibility of a death sentence, her “sole thought” was “could I

do a death penalty or not.” 13 RR 17. Reed explained her position on imposing a death sentence

in this case:

        The only way that I’ve come to terms with it or that I’ve been able to process that
        very well is to consider if someone came into my house and tried to kill me or my


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   Because of counsel’s deficient performance in arguing step one, the trial court’s hypothetical
finding does not account for the overlooked and unpresented facts that support viable Batson
challenges.

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       children, and at that point I could sentence someone to a death sentence by my own
       hand and with my own gun. . . . Whether I could say right now unequivocally that
       if we came to a decision of guilt and for me to say right now I absolutely could sign
       that form and say a death sentence, yes, I can’t say unequivocally. For me, it would
       depend on the evidence and how strongly I felt like the benefit to society and the
       benefit to the community and the punishment phase. That’s when I would have to
       make that decision. I don’t know that I could say I could absolutely sign that paper.
       I just don’t know.

13 RR 17-22. These statements by Reed—a seated, white juror—were nearly identical to the

statements the prosecutor cited as the reason for striking Cobb—an African American

venireperson.

       The comparison between the treatment of Reed and Cobb was not only evidence that a

competent defense team could have easily satisfied Batson Step 1, but also that they could have

prevailed at Step 3. “If a prosecutor’s proffered reason for striking a black panelist applies just as

well to an otherwise-similar nonblack who is permitted to serve, that is evidence tending to prove

purposeful discrimination to be considered at Batson’s third step.” Miller–El II, 545 U.S. at 241;

see also Reed, 555 F.3d at 376 (relying upon the Court’s guidance in Miller-El II to find that the

prosecution’s asserted reasons for the acceptance of non-black jurors with the same, particular

characteristics as struck black jurors were sufficient to constitute pretextual discrimination).

                2.     There Was A Sixth Amendment Violation Associated With Trial
                       Counsel’s Ineffective Batson Litigation As To Thomas.

       Immediately after the prosecution exercised a peremptory strike against Cobb, the very

next person called to the stand for individual voir dire, and the last for the day, was Thressa

Thomas. Thomas, like Cobb who proceeded her, was an African American female. The prosecutor,

Greg Davis, questioned Thomas before ceding questioning to Tuegel. 25 RR 211-263. At multiple

points during Tuegel’s questioning, the judge instructed Tuegel to “ask some questions,” 25 RR

264, “about [Thomas’s] qualifications,” 25 RR 268, and advised her that she was “getting very

repetitive.” 25 RR 269. When Tuegel concluded her questioning of Thomas, the prosecution


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exercised another peremptory strike, its second in a row against an African American prospective

juror. 25 RR 279. Neither Tuegel, nor any other member of Mr. Cummings’s defense team, raised

a Batson challenge as to Thomas.

        Defense counsel’s failure to do so was deficient. Every fact mentioned above (with respect

to Cobb) could have been presented in support of a Batson challenge as to Thomas. Moreover, that

the prosecution used a second peremptory strike against an African American panelist,

immediately following its strike of Cobb, means that the defense’s Step 1 and Step 3 arguments

were actually stronger with respect to Thomas. Like Cobb before her, Thomas was another African

American panelist who was one step away from being seated in what was at that point, an all-white

jury.

        Prejudice. Defense counsel’s failure to challenge the peremptory strike of Thomas

prejudiced Mr. Cummings. The prosecutor was never burdened with explaining his justification

for striking a second African American juror in a row. However, it is clear that the case for a

successful Batson challenge as to Thomas would have been even stronger than that for Cobb,

regardless of the State’s proffered reason.

        B.     Any Procedural Default of This Claim Is Excused.

        The procedural default of the IATC-Batson claim is excused under Martinez, the formal

requirements of which—deficient state post-conviction representation and substantiality—are

specified in Section V.B, supra. In terms of state post-conviction deficiency, there was no strategic

reason” for omitting an IATC-Batson claim. App. 423, 425; App. 427-428; App. 430-434. Also

for the reasons set forth above, Cummings’ IATC-Batson claim is “substantial” under Martinez

and Trevino. It is not “without factual support,” Martinez, 566 U.S. at 16, and he has demonstrated

that he “might” be able to meet the Strickland test, see Norman, 817 F.3d at 232.




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X.     THE TRIAL COURT VIOLATED THE EIGHTH AND FOURTEENTH
       AMENDMENTS BY EXCLUDING RELEVANT MITIGATION EVIDENCE
       FROM THE PUNISHMENT PHASE OF THE TRIAL.

       The Eighth and Fourteenth Amendments to the United States Constitution require that

jurors in a capital case be able to consider any relevant evidence offered by the defense that may

result in a sentence of less than death. See Eddings v. Oklahoma, 455 U.S. 104, 114 (1982) (holding

that courts may not use any legal device to screen relevant mitigating evidence). The standard for

the “relevance” of mitigation is the same as the standard for any other type of evidence: “any

tendency to make the existence of any fact that is of consequence to the determination of the action

more probable or less probable than it would be without the evidence.” Tennard v. Dretke, 542

U.S. 274, 284 (2004) (citations and internal quotation marks omitted). “[E]vidence about the

defendant’s background and character is relevant because of the belief, long held by this society,

that defendants who commit criminal acts that are attributable to a disadvantaged background, or

to emotional and mental problems, may be less culpable than defendants who have no such

excuse.” Penry v. Lynaugh, 492 U.S. 302, 319 (1989), overruled on other grounds by Atkins v.

Virginia, 536 U.S. 304 (2002) (internal quotation marks and citation omitted). Here, the trial court

prohibited Cummings from presenting evidence that he came from a disadvantaged background

that was found by a U.S. Department of Justice to contribute to criminal behavior, and that a juror

could have relied upon to impose a non-death sentence. The Eddings claim was presented to the

state court, but not “adjudicated on the merits.”

       This claim is based on the following facts and law, and on the allegations raised in other

claims in this Petition, which are incorporated herein by this specific reference.




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       A.      Cummings’ Sentence Violated Eddings and Tennard, And Is Entitled To Relief
               Because The Error Was Not Harmless.

       The trial court excluded evidence relevant to mitigation, which is a straightforward Eddings

violation. The court phrased its holding as having an alternative dimension—based on the

“reliability” of the expert testimony—but what it called “reliability” was plainly a holding as to

relevance. Assuming relevance in Cummings’ favor, the TCCA decided the question against him

on a cramped reliability rationale alone. The state courts therefore failed to adjudicate the merit of

the claim under the federal constitution, so this Court’s review is for harmless error, and is

unrestricted by 28 U.S.C. § 2254(d).

               1.      There was an Eddings violation.

       During the punishment phase of his trial, Cummings sought to present the testimony of

Amy Nguyen, a geographical information specialist, relating to the socio-economic circumstances

and crime rates of the local neighborhoods in which Cummings had been raised. Nguyen had been

involved in 23 cases at the state level and 11 at the federal level in which another expert had used

her maps, 40 RR 83, and she had testified in three capital cases in other jurisdictions. 40 RR 65.

Nguyen proposed to discuss “community risk factors, including lack of education, exposure to

violence, and the general unhealthiness of the community where [Cummings] lived.” 40 RR 62.

Her proffered testimony was based on studies—including one published by the U.S. Department

of Justice—identifying risk factors, census information, and other crime related data. 40 RR 63,

71.

       Nguyen explained that her expertise was in community risk factors, and that her testimony

would focus on the community in which Cummings grew up. 40 RR 66-67. When the prosecution

challenged the relevance of her proffered testimony, she explained that she relied on studies

reflecting that “community shapes who a young person will grow up to be . . . [and that] community



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risk factors go into the make-up of who a young person becomes.” 40 RR 69. Given her

specialization, Nguyen explained that she would not opine on how risk factors actually (as opposed

to probabilistically) affected Cummings’ development. 40 RR 70. Nguyen also discussed the slides

she intended to present and explained that they reflected data for the Waco neighborhoods in which

Cummings was raised. 40 RR 70-76. As compared to the rest of the county, the pertinent areas had

significantly higher rates of: single-mother households, poverty, adults lacking a ninth grade

education, and crime. 40 RR 72-76. All of this information met the low relevance threshold; it

had a “tendency to make the existence of [a] fact that is of consequence to the [mitigation question]

more probable or less probable than it would be without the evidence.” Tennard, 542 U.S. at 284.

       The trial court was clearly unwilling to accept the idea that testimony about risk factors

was relevant. Before viewing Nguyen’s slides, the judge asked skeptically, “Ma’am, are you telling

me that the village raises the child? Is that what you’re trying to say?” 40 RR 69. After Nguyen

went through her slides, he continued to express his view that risk assessment was not relevant:

       I grew up on a hardscrabble farm. Does that make - - you know, and I’m a judge.
       So what’s the connection between those two? I’m trying to - - I’m trying to
       understand how you’re going to use this and how you’re - - what you’re claiming.
       What is it are you’re trying to prove here.

40 RR 76. After more discussion, the trial judge challenged defense counsel to “tell me why this

is relevant and why it’s admissible.” 40 RR 78. Trial counsel urged the admission of Nguyen’s

testimony, contending that the community and environment where he grew up were relevant to the

mitigation issue. 40 RR 79. The State countered, “Our objection is that this is not relevant” because

“sentencing in a capital case is to be an individualized procedure,” and the study that focused on

risk factors in the area where Cummings grew up had “no relationship whatsoever to this

defendant.” 40 RR 80. Asked by the court to respond to the objection, the defense noted that

information specific to Cummings’ family and household circumstances had already been



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presented, so that Nguyen’s testimony would establish a link between that evidence and outcomes

in the community typically associated with such conditions. 40 RR 82.

        The trial court then excluded the testimony: “I’m going to sustain the State’s objection. I

don’t think this information was proven to be scientifically reliable. I don’t see any - - I don’t think

the methodology has been proven. I don’t think the standard of reliability is there.” 40 RR 83. The

court’s statement was confusing because it was sustaining the State’s objection—which had been

to relevance—but the court mentioned scientific reliability, which the State had not raised. The

trial court thereafter clarified that it was in fact making a relevance ruling, using the same terms

the prosecutor had used in his objection: “I might have a different opinion if this data were

individually tailored to this defendant, but it’s not. It’s a series of generalizations that you all are

asking the jury to apply specifically to this defendant, and there is no—there is really no

connection, so I’m not allowing it.” 40 RR 83 (emphasis added). Compare 40 RR 80 (“If she were

able somehow to tie any of these risk factors to this particular defendant, I might have a different

opinion, but simply to get up here and cite a study with no relationship whatsoever to this defendant

. . . . They are generalized information, and she’s unable to tie it to this particular defendant.”).

Despite having been asked to do so by the State, the trial court did not exclude the testimony on

the ground that the expert was not qualified. Compare 40 RR 81 (State’s objection based in part

on Nguyen being “not qualified as an expert in this matter”) with 40 RR 83 (trial court’s grounds

for sustaining State’s objection, which did not include any deficient qualifications).

       The court’s grounds for excluding the testimony—that “there really is no connection”

between a defendant’s criminal behavior and his disadvantaged background—was contrary to the

Supreme Court’s conclusion that there is a “belief, long held by this society” that a defendant’s

disadvantaged background diminishes his culpability. The trial court’s relevance determination




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was a straightforward violation of Tennard and Eddings. Under Eddings the jury has to be

permitted to hear any relevant mitigating evidence, 455 U.S. at 144, and under Tennard the test is

simply whether the evidence tends to “prove or disprove some fact or circumstance which a fact-

finder could reasonably deem to have mitigating value,” 542 U.S. at 284 (internal quotation marks

and citations omitted) (emphasis added). The mitigating value of a disadvantaged background was

so well-established by the time of Penry, 492 U.S. at 319 (1989), that the trial court’s holding was

beyond the range fairminded judicial disagreement.

                2.      Review is for harmless error because the TCCA did not decide the
                        Eddings claim on the merits.

        Although, as stated above, Cummings easily satisfies 28 U.S.C. § 2254(d)(1), the provision

does not apply. On appeal, Cummings squarely presented the Eddings claim to the TCCA. App.

268-288. In doing so, Cummings explained that the Court mislabeled what was clearly a relevance

ruling as a scientific reliability determination under the Texas rule for admitting expert evidence,

TEX. R. EVID. 702. “As a matter of caution” only, he addressed a Rule 702 reliability argument.

App. 281-284. That brief included no argument pertaining to Nguyen’s qualifications, because the

trial court had not ruled on that basis.

        Nonetheless, at the State’s urging, the TCCA assumed for the sake of argument that the

evidence was relevant and based its entire appellate opinion on defects in Nguyen’s qualifications.

App. 193. In so doing, it necessarily predicated its decision on things that had little to do with the

trial court’s decision: that, although “she has a degree in Physical Science and a Master-level

certification in Geographic Information Systems,” she did not have a degree in social work or

anthropology; that she did not “participate” in the DOJ study that produced some of the data

informing her expert opinion on community risk factors; and that she knew nothing about




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Cummings’ “family, his education, his income level, or background aside from the specific

addresses at which he resided from birth to present day.” App. 194.

       In short, the TCCA did not decide the merit of the constitutional question—whether

Nguyen’s planned testimony was relevant because it tended to prove or disprove some something

that a fact-finder could reasonably deem to have mitigating value. For that reason, the Eddings

claim was not “adjudicated on the merits” by the state courts, and it is unrestricted by 28 U.S.C. §

2254(d). And, also because the TCCA did not adjudicate the merits of the claim, this Court’s

review is for harmless error. See Brecht v. Abrahamson, 507 U.S. 619, 638 (1993).

               3.      The Eddings error was harmful.

       The Eddings error was not harmless because there was “actual prejudice” to the sentencing-

phase verdict. See Brecht, 507 U.S. at 637 (citing United States v. Lane, 474 U.S. 438, 449 (1986)).

Like cases involving counsel’s failure to present mitigation evidence at the sentencing phase of a

capital trial, the degree to which an error affected a sentencing-phase outcome in a jurisdiction

requiring unanimity is whether it is reasonably likely that the excluded evidence could have

influenced a single juror. See Wiggins, 539 U.S. at 537. Had the trial court’s personal views about

the subject of Nguyen’s testimony not resulted in the exclusion of “constitutionally relevant

mitigation evidence,” there is ample reason to believe that at least one juror would have found

Cummings insufficiently blameworthy under the Texas mitigation issue.

       As the Supreme Court explained in Penry, our society generally believes a defendant’s

disadvantaged background diminishes his culpability. See 492 U.S. at 319. Nguyen’s proffered

testimony would have presented empirical, scientifically assessed (by the U.S. Department of

Justice) information on the “community risk factors, including lack of education, exposure to

violence, and the general unhealthiness of the community where [Cummings] lived.” 40 RR 42,

63, 71. At the punishment phase, each individual juror determines for herself whether the capital


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defendant deserves death. Nguyen’s testimony would have contextualized the “who, what, where,

and why” surrounding Mr. Cumming’s offense and why he was deserving of a life sentence.

        Nguyen would have testified that Cummings’ community reflected significantly higher

rates of single-mother households, poverty, adults lacking a ninth grade education, and crime than

those of the county as a whole. 40 RR 72-76. A reasonable juror could have deduced that

Cummings was less culpable due to the impact those adverse conditions had on him as he grew

up. Nguyen would have provided an analytic framework for that juror to vote for Cummings on

the third special issue.

                                    REQUEST FOR RELIEF

        Wherefore, based on the foregoing, Mr. Cummings respectfully requests that the Court:

        (1) Issue an order to have him brought before it, to the end that he may be discharged from

            the unconstitutional confinement and restraint on the bases set forth in this Petition;

        (2) Allow Mr. Cummings to amend further his Petition after discovery and the

            investigation based thereon, and in the event of any other changes in the law or facts

            relevant to his case;

        (3) Allow Mr. Cummings to respond to any procedural or affirmative defenses, including

            assertions of procedural default, and to any other arguments that the Respondent might

            raise in this action;

        (4) Allow Mr. Cummings to submit further briefing and oral argument related to the

            precedential and statutory law relevant to his case in light of the record and the

            allegations raised by his Petition;

        (5) Entertain a motion to stay these proceedings and hold them in abeyance pending

            exhaustion of additional state-court remedies;




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     (6) Entertain a motion for discovery, pursuant to Rule 6, Rules Governing § 2254 Cases in

        the United States District Courts;

     (7) Entertain a motion to expand the record pursuant to Rule 7, Rules Governing § 2254

        Cases in the United States District Courts;

     (8) Entertain a motion for evidentiary hearing pursuant to Rule 8, Rules Governing § 2254

        Cases in the United States District Courts, and conduct a hearing at an appropriately

        scheduled time where proof may be offered and argument advanced concerning the

        allegations set forth in his Petition;

     (9) Grant such other relief as may be necessary and appropriate.




DATED: March 26, 2019                        Respectfully submitted,

                                             MAUREEN FRANCO
                                             FEDERAL PUBLIC DEFENDER

                                             /s/ Tivon Schardl

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                                               Attorneys for Petitioner




                                VERIFICATION OF PETITION

       I, the undersigned, am the attorney appointed by this Court pursuant to 18 U.S.C. § 3599

to represent Petitioner Rickey Donnell Cummings in these proceedings. Pursuant to that

appointment, I have met with Mr. Cummings, consulted with his co-counsel, Lee Kovarsky, and

retained and directed experts and investigators to inquire into the circumstances surrounding

judgements of conviction and death imposed on Mr. Cummings by the State of Texas. It is in that

capacity that I verify this Petition. I declare under penalty of perjury that the foregoing allegations

in this Petition are true and correct and that this Petition for Writ of Habeas Corpus is being filed

using this Court’s CM/ECF system on March 26, 2019.

       Subscribed by me this 26th day of March 2019 in Austin, Texas.

                                                                       /s/ Tivon Schardl

                                                                       Tivon Schardl




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of March, 2019, I electronically filed the foregoing

Petition with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

Stephen M. Hoffman
Assistant Attorney General
Office of the Attorney General
P.O. Box 12548, Capitol Station
Austin, TX 78711
                                                                   /s/ Tivon Schardl

                                                                   Tivon Schardl




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